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                           Exhibit F
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Jeffrey N. Leibell

From:                         Chanler A. Langham <clangham@SusmanGodfrey.com>
Sent:                         Saturday, November 2, 2019 10:20 PM
To:                           Jeffrey N. Leibell
Cc:                           Adam Zapala; Hollis Salzman (hsalzman@rkmc.com); Marc Seltzer
Subject:                      Auto Parts - EPP Ltr to Financial Recovery Strategies
Attachments:                  2019-11-02 - EPP Ltr to Financial Recovery Strategies.pdf



Counsel,

Please see the attached correspondence.

Regards,

CHANLER A. LANGHAM
PARTNER | SUSMAN GODFREY LLP
713‐653‐7839 (OFFICE)
713‐377‐2320 (MOBILE)
CLICK HERE FOR BIO

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                                                                                      1
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   840 Malcolm Road, Suite 200              399 Park Avenue, Suite 3600       1900 Avenue of the Stars, Suite 1400
      Burlingame, CA 94010                     New York, NY 10022                Los Angeles, CA 90067-6029
       Tel: (650) 697-6000                      Tel: (212) 980-7400                  Tel: (310) 789-3100
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                                                                                        Via E-Mail

     November 2, 2019

             Re: In re Automotive Parts Antitrust Litigation
                 (“Auto Parts Litigation”), Case No. 2:12-md-02311 (E.D. Mich.)

     Mr. Jeffrey N. Leibell
     Financial Recovery Strategies
     80 Wesley Street
     South Hackensack, NJ 07606
     jleibell@frsco.com

     Dear Jeffrey:

             In response to your draft letter, we wish to note at the outset that we have spent a
     considerable amount of time discussing with you and your colleagues the issues you raised
     in your letter concerning Financial Recovery Strategies’ stated desire to submit claims on
     behalf of auto insurers (“Auto Insurers”) based on the contention that they are equitably
     subrogated to the rights of class members who were their insureds at the time the Auto
     Insurers made indemnity payments for the current value of their insured’s used vehicles that
     were deemed a total loss as a result of a collision or accident involving those vehicles. In our
     conversations, we explained in great detail why Auto Insurers are not entitled to share in the
     settlements reached in this litigation based on any subrogation rights they might have. They
     may have subrogation rights against a third party who is at fault for the accidents in question,
     but not the defendants sued in this case.

             Indeed, there is no question that Auto Insurers are not class members and therefore
     have no rights as class members or as subrogees of class members. See Autoliv v. GEICO,
     No. 2:16-cv-13189-MOB-MKM, Dkt. 74 at 43-45 (E.D. Mich. Aug. 30, 2018) (finding
     GEICO lacks antitrust standing in its capacity as an insurer for “payments to insureds or
     third-party claimants for the full value of vehicles declared a total loss” because “Total Loss
     Payments are not made in connection with the purchase of auto parts” and “the injury
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     allegedly inflicted on GEICO [an auto insurer] does not occur in the auto part markets in
     which Defendants allegedly conspired”).

             You do not claim that the Auto Insurers are class members. Instead, the sole basis
     for your contention that Auto Insurers have a the right to file a claim to share in the
     settlements is that they are somehow equitably subrogated to the antitrust claims of their
     insureds because they have indemnified them for property damage losses they sustained
     when their vehicles were deemed to be total losses due to an accident. Your argument is also
     not based on any express contractual rights that an Auto Insurer may have under a policy it
     issued to an insured. Your argument is based on the incorrect contention that the property
     damage loss is the same “loss” that was sustained when an insured purchased a vehicle,
     possibly years before an accident took place, and was overcharged as a result of the antitrust
     violations at issue in this case. That contention is without merit because, among other things,
     the losses and injuries are not the same. The Auto Insurers indemnified their insureds for
     property damages claims. The insurance policies provide no coverage to an insured for the
     “loss” or “injury” sustained at the point of purchase due to an overcharge caused by an
     antitrust violation. The rights that an insurance carrier may have under the law of subrogation
     against the person who is at fault for an accident based on the payment it made to its insured
     have nothing to do with the antitrust claims an insured may have based on being overcharged
     for a part incorporated in a vehicle.

             Importantly, auto insurance policies limit coverage to property damage caused by
     auto accident, vehicle collision, or theft and do not insure against the same loss that class
     members suffered due to overcharges caused by price-fixing and other antitrust violations.
     Despite our request, however, you have not identified the auto insurers you claim to
     represent, and you have not provided us with copies of the automobile insurance policies
     you claim apply to their insureds. None of the auto insurance policies we have reviewed
     insure against losses or damages caused at the point of purchase by overcharges due to price-
     fixing or other antitrust violations.

              Further, you have not provided any evidence that any Auto Insurer actually
     compensated or reimbursed any insured for anticompetitive overcharges caused by price-
     fixing or other antitrust violations. The argument that the indemnity payments made to
     insureds must necessarily include compensation for those overcharges simply ignores the
     fact that those payments did not indemnify an insured for those overcharges. And in the
     cases discussed below, that fact means that there is no right of subrogation in these
     circumstances as to the claims of class members against the defendants in this litigation. In
     short, when Auto Insurers compensated their insureds for property damage to a vehicle
     deemed a total loss, Auto Insurers did not compensate their insureds for the same losses
     involved in this antitrust matter. Accordingly, Auto Insurers have no subrogation right
     (equitable or otherwise) to the unrelated antitrust claims of any class member in this
     litigation.

             Your letter does not identify any specific Auto Insurer client or auto insurance policy
     that purportedly applies to your claims in this matter, but the auto insurance policies of every
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     Auto Insurer we have reviewed clearly limit coverage to property damage caused by auto
     accident, vehicle collision, or theft. For example:

         •   Geico’s Personal Automobile Insurance Policy provides: 1

                  o “We will pay damages for ‘bodily injury’ or ‘property damage’ for which any
                    ‘insured’ becomes legally responsible because of an auto accident.”

                  o “We will pay for direct and accidental loss to ‘your covered auto’ or any ‘non-
                    owned auto’, including their equipment, minus any applicable deductible
                    shown in the Declarations.”

                  o “We will pay for loss to ‘your covered auto’ caused by: Other than ‘collision’
                    only if the Declarations indicate that Other Than Collision Coverage is
                    provided for that auto. ‘Collision’ only if the Declarations indicate that
                    Collision Coverage is provided for that auto.”

         •   Farmers’ Personal Auto Policy provides: 2

                  o “We will pay damages for bodily injury or property damage that any insured
                    person is legally liable to pay as a result of an accident to which this coverage
                    applies.”

                  o “Subject to the limits of liability, we will pay for a loss to your insured car,
                    its additional equipment and any non-owned car caused by any direct, sudden
                    and accidental means other than collision, less any applicable deductibles, if
                    Comprehensive Coverage is shown on your Declarations Page.”

                  o “Subject to the limits of liability, we will pay for loss to your insured car, its
                    additional equipment and any non-owned car caused by any direct, sudden
                    and accidental collision, less any applicable deductibles, if Collision
                    Coverage is shown on your Declarations Page.”

         •   State Farm’s Car Policy Booklet provides: 3

                  o “We will pay damages an insured becomes legally liable to pay because of:
                    (1) bodily injury to others; and (2) damage to property caused by an accident
                    that involves a vehicle for which that insured is provided Liability Coverage
                    by this policy.”



     1 X-1 at 4, 9.
     2
       X-2 at 3, 14.
     3
       X-3 at 6, 16, 17.
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                     o “We will pay for loss, except loss caused by collision, to a covered vehicle;
                       and transportation expenses incurred by an insured as a result of the total theft
                       of your car or a newly acquired car.”

                     o “We will pay for loss caused by collision to a covered vehicle.”

              The auto insurance policies make clear that the type of loss covered is limited to
     property damage caused by accidents, collisions, or theft—not antitrust injury. Even when
     an auto insurance policy references coverage for damages “other than collision,” that
     coverage is limited to property damage caused by “missiles or falling objects; fire; theft or
     larceny; explosion or earthquake; hail, water, flood; malicious mischief or vandalism; riot
     or civil commotion; or breakage of glass.” 4

             Nothing in your letter or the auto insurance policies themselves suggests that Auto
     Insurers extend coverage for anticompetitive overcharges caused by price-fixing, bid
     rigging, or market allocation. Indeed, had an insured filed a claim against an Auto Insurer to
     recover overcharges caused by price-fixing, nothing in your letter or any written auto
     insurance policy even remotely indicates that an Auto Insurer would have adjusted, accepted,
     allowed, or processed such a claim. In fact, your letter concedes this point and claims
     “[i]nsurance coverage is irrelevant to Auto Insurers’ rights to equitable subrogation” because
     payments “were not reduced for ‘uninsured’ Antitrust Losses.” Thus, you and the Auto
     Insurers you claim to represent seek equitable subrogation for a type of loss that you admit
     the Auto Insurers do not insure against, and which the specific terms of the auto insurance
     policies do not contemplate.

             As you know, and as expressly stated in your letter, equitable subrogation requires
     that “the insurer has compensated the insured in whole or in part for the same loss for which
     the defendant is primarily liable.” Fireman’s Fund Ins. Co. v. Maryland Cas. Co., 77 Cal.
     Rptr. 2d 296, 302-03 (1998). To establish a right to equitable subrogation, therefore, Auto
     Insurers bear the burden of establishing that the defendants are “primarily liable to the
     insured for a loss under a policy of insurance.” Phila. Indem. Ins. Co. v. Pace Suburban Bus
     Serv., 67 N.E.3d 556, 565 (Ill. App. 2016). See also Rausch v. Allstate Ins. Co., 882 A.2d
     801, 807 (Md. App. 2005) (explaining that rationale for equitable subrogation is “to prevent
     the party primarily liable on the debt from being unjustly enriched when someone pays his
     debt”). In this case, the defendants in this litigation are, to say the least, not primarily liable
     for the auto accidents, vehicle collisions, or theft that Auto Insurers insured under their
     insurance policies. Nor would any of the defendants in this case possibly be jointly or
     severally liable for any property damages caused by someone who was at fault for causing
     an accident or collision. And you do not contend that any Auto Insurer insured against
     antitrust injuries caused by the defendants. Thus, when Auto Insurers compensated insureds
     for property damage caused by auto accidents, vehicle collision, or theft, the Auto Insurers
     did not and could not extinguish any debts attributable to antitrust injuries caused by the
     defendants—because no applicable policy insured against antitrust injury.
     4
         X-1 at 9.
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             In addition, your letter incorrectly contends that “Auto Insurers, by paying Total Loss
     Insureds the market value of their Total Loss Vehicles, have already compensated Total Loss
     Insureds for their entire lost interests,” which you assume “necessarily included paying
     supra-competitive prices for auto parts.” This is wrong for multiple reasons. First, you rely
     on the incorrect premise that Auto Insurers actually compensated insureds for being charged
     supra-competitive prices when no auto insurance policy extends insurance coverage for
     supra-competitive prices. Because any payment to insureds whose vehicles were deemed a
     total loss would have been made solely for property damage, such compensation is
     completely unrelated to any antitrust violations. Second, you ignore the limited pricing
     terms upon which any Auto Insurer would have paid insureds for their property damage loss.

             As you know, every Auto Insurer limits payment to the actual current value of the
     damaged vehicle, which takes into account physical wear and tear, deterioration and
     depreciation. Thus, payments made to any insured greatly differ from (and are substantially
     less than) the price that same insured would have paid at the time the insured “purchased or
     leased a new Vehicle in the United States.” This is important because your letter incorrectly
     posits that “[a]s long as Total Loss Vehicles were Eligible Vehicles, it is irrelevant that,
     when Auto Insurers indemnified Total Loss Insureds for them, they were not ‘new.’” This
     of course ignores the class definition and is inconsistent with the purpose of restricting the
     class to those who “purchased or leased a new Vehicle.” 5 Under the class definition, each
     class member would have paid the entire purchase price of the new Vehicle at the time of
     sale, including the supra-competitive prices imposed by defendants and passed on by vehicle
     manufacturers and automobile dealers to class members. By contrast, Auto Insurers do not
     (and contractually could not) compensate insureds for the entire purchase price of a new
     Vehicle because—much like a used vehicle purchase which is excluded from the class—
     Auto Insurers only pay “actual cash value” at the time of the accident which is necessarily
     reduced by depreciation, physical deterioration, obsolescence, and repair costs for pre-
     existing damage. 6 Given these reductions, Auto Insurers’ payouts in no way compensate
     insureds for their “entire lost interests,” let alone compensate insureds for supra-competitive
     prices.

            An auto insurance subrogation claim in this antitrust action would not only allow
     subrogation against monies received by insureds for losses different than the property

     5
         For example, the “Heating Control Panels Settlement Class” is defined as:

                All persons and entities that, from January 1, 2000 through the Execution Date,
                purchased or leased a new Vehicle in the United States not for resale, which included
                one or more Heating Control Panel(s) as a component part, or indirectly purchased
                one or more Heating Control Panel(s) as a replacement part, which were
                manufactured or sold by a Defendant, any current or former subsidiary of a
                Defendant, or any co-conspirator of a Defendant.
     6
         See, e.g., X-1 at 11; X-2 at 14.
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     damage losses covered under auto insurance policies, it would also allow subrogation against
     monies received by insureds for a class of loss that Auto Insurers never insured, never paid,
     and never contemplated under any policy of insurance. Several courts have determined that
     such a claim would totally contravene the concept of subrogation and have rejected similar
     attempts to assert equitable subrogation. See Health Care Serv. Corp. v. Brown &
     Williamson Tobacco Corp., 208 F.3d 579, 581 (7th Cir. 2000) (Easterbrook, J.) (affirming
     dismissal of insurer subrogation claims because although insurers may have been subrogated
     to their insured’s tort claims “this complaint is dominated by claims under the antitrust laws”
     and further noting “[i]t is unclear why health insurers are entitled to pursue these claims,
     when (for example) the complaint does not give any reason to believe that the insurers have
     compensated the insured for antitrust injury or purchased the right to pursue smokers’
     antitrust claims”); Shockley v. Harleysville Mutual Ins. Co., 553 A.2d 973, 975-76 (Pa.
     Super. Ct. 1988) (rejecting insurer’s equitable subrogation claim because “although the
     insurer may ‘stand in the shoes of the insured’ upon paying a claim, it does so only to the
     extent and with regard to the loss it covered,” and because the insured’s settlement for breach
     of warranty was unrelated to the fire loss covered under the insurance policy, there were “no
     grounds for [insurer] to be subrogated to the proceeds of [insured’s] breach of warranty of
     title action” against the dealership that sold a stolen car); Fireman’s Fund Ins. Co. v. Morse
     Signal Devices, 198 Cal. Rptr. 756, 757 (Cal. App. 1984) (rejecting insurer’s equitable
     subrogation claim where insureds suffered property damage losses from fires and burglaries
     after fire alarm systems failed to function properly, and insureds brought separate antirust
     claims for anticompetitive price-fixing among the fire alarm companies; court found the
     insurer “has not compensated its insureds for the same losses contemplated under the
     antitrust claim,” because “[n]one of [insurer’s] compensation paid to its insured is related to
     pricing terms of the alarm systems”); Employers’ Liab. Assur. Corp., Ltd., of London v.
     Daley, 51 N.Y.S.2d 567, aff’d, 67 N.Y.S.2d 233 (N.Y. 1944) (rejecting insurer’s equitable
     subrogation claim where policy covered town’s statutory liability to volunteer firemen for
     medical services and lost time caused by injuries while performing firemen duties, but third-
     party settlement was for personal injuries unrelated to medical services and lost time; court
     found the insurer had no subrogation right because “[i]f the loss insured against is not the
     same loss for which defendants recovered against the Bramleys [in settlement], neither the
     Town of Amherst nor the plaintiff [insurer] has a right of subrogation”).

              While your letter references several cases that address the general concept of
     subrogation, none of your cited cases support equitable subrogation to an insured’s antitrust
     claims when no applicable insurance policy extended coverage for antitrust injuries. To the
     contrary, each of your cited cases involved subrogation of personal injury, property damage,
     or tort liability claims that were expressly insured under applicable insurance policies. See,
     e.g. Millennium Hold’g LLC v. Glidden Co., 53 N.E.3d 723, 725 (N.Y. 2016) (involving
     personal injury and property damage claims insured under applicable insurance policy);
     Roberts v. Electrolux Home Prods., 2014 WL 4568632, *5-6 (Sept. 11, 2014) (involving
     property and fire damage claims insured under applicable insurance policy); AAA Mid-
     Atlantic Ins. Co. v. Ryan, 84 A.3d 626, 628 (Pa. 2013) (involving personal injury and
     property damage claims insured under applicable auto insurance policy); In re Zurn Pex
     Plumbing Prods. Liab. Litig., 2012 WL 5055810 (D. Minn. Oct. 18, 2012) (involving
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     property damage and corrosion claims insured under applicable insurance policy); Jones v.
     Nationwide Prop. & Cas. Ins. Co., 32 A.3d 1261, 1264 (Pa. 2011) (involving collision and
     property damage claims insured under applicable auto insurance policy); Nat’l Sur. Corp. v.
     Hartford Cas. Ins. Co., 493 F.3d 752, 753 (6th Cir. 2007) (involving claims of excess insurer
     against primary insurer for bad faith in failing to settle a tort claim against their mutual
     insured); Allstate Ins. Co. v. Mazzola, 175 F.3d 255, 257 (2d Cir. 1999) (involving personal
     injury and medical benefit claims insured under applicable insurance policy); Sorge v. Nat’l
     Car Rental Sys., 512 N.W.2d 505, 506 (Wis. 1994) (involving personal injury claims insured
     under applicable insurance policy).

             Your reliance on the dissent in Shockley is further misplaced—not only because it is
     a dissent—but also because the anticompetitive overcharges suffered by EPPs and the
     property damage covered under auto insurance policies are completely unrelated, and not a
     “single loss.” The majority decision which you characterize as “absurd,” is in fact directly
     on point and correctly held that the fact that the same vehicle suffered harm by two very
     distinct violations of the law does not make them the same “loss” in the eyes of the law.

             As explained in State Farm’s insurance policy, the term “loss” means “direct, sudden,
     and accidental damage to” or “total or partial theft of a covered vehicle.” And “Loss Caused
     by Collision” means “a loss caused by a covered vehicle hitting or being hit by another
     vehicle or other object” or “the overturning of a covered vehicle.” 7 These property damage
     losses have nothing to do with and are completely unrelated to the overcharges that End-
     Payor Plaintiffs suffered due to price-fixing, bid rigging, and market allocation. Moreover,
     you rely on wholly inapposite cases that have no application to the present dispute and don’t
     even mention the words “insurance” or “subrogation.” See, e.g., Ambassador Hotel Co., Ltd.
     v. Wei-Chuan Inc., 189 F.3d 1017, 1031-32 (9th Cir. 1999) (involving securities fraud,
     fraudulent inducement, and breach of contract action in which the court reached the
     unremarkable conclusion that “the prevailing plaintiff may not recover tort damages and
     contract damages for the same wrong.”); Zenith Radio Corp. v. Hazeltine Res., Inc., 401 U.S.
     321, 348 (1971) (noting joint tortfeasor rule concerning recover from coconspirators; but not
     addressing situation here in which Antitrust Defendants are not joint tortfeasors with the
     persons or objects that caused auto accidents).

            In summary, the Auto Insurers you claim to represent do not have a basis for asserting
     equitable subrogation claims in this litigation. We would be happy to further discuss these
     matters if you would like, but we disagree with the statements made in your letter.

         Sincerely,


             /s/ Adam J. Zapala           /s/ Hollis Salzman            /s/ Marc M. Seltzer
               Adam J. Zapala               Hollis Salzman                Marc M. Seltzer

     7
         X-3 at 16.
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                                                             GEICO
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                                                             ONE GEICO PLAZA
                                                             Washington, D. C. 20076-0001
                                                             Telephone: 1-800-841-3000




                                                             Personal
                                                             Automobile
                                                             Insurance
                                                             Policy



                                             4300-60-55-59
*200001430060555945072004394*




                                A5 (07-06)                                                            Renewal Policy Page 15 of 44
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                                                       READ YOUR POLICY CAREFULLY
                                                                  YOUR POLICY INDEX


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                                                                                     AGREEMENT
                                In return for payment of the premium and subject to all the terms of this policy, we agree with you as follows:
                                                                                         DEFINITIONS
                                A. Throughout this policy, "you" and "your" refer to:                       c. Servicing;
                                     1.   The "named insured" shown in the Declarations;                    d. Loss; or
                                          and                                                               e. Destruction.
                                     2. The spouse if a resident of the same household.                 This Provision (J.4.) does not apply to Coverage
                                     If the spouse ceases to be a resident of the same                  For Damage To Your Auto.
                                     household during the policy period or prior to the              K. "Newly acquired auto":
                                     inception of this policy, the spouse will be considered             1. "Newly acquired auto" means any of the following
                                     "you" and "your" under this policy but only until the               types of vehicles you become the owner of during the
                                     earlier of:                                                         policy period:
                                     1.   The end of 90 days following the spouse's change                   a. A private passenger auto; or
                                          of residency;                                                      b. A pickup or van, for which no other in-
                                     2.   The effective date of another policy listing the                       surance policy provides coverage, that:
                                          spouse as a named insured; or                                          (1) Has a Gross Vehicle Weight Rating of
                                     3.   The end of the policy period.                                               10,000 lbs. or less; and
                                B. "We", "us" and "our" refer to the Company providing                           (2) Is not used for the delivery or trans-
                                   this insurance.                                                                    portation of goods and materials unless
                                C. For purposes of this policy, a private passenger type                              such use is:
                                   auto, pickup or van shall be deemed to be owned by                                 (a) Incidental to your "business" of
                                   a person if leased:                                                                    installing, maintaining or repairing
                                                                                                                          furnishings or equipment; or
                                   1. Under a written agreement to that person; and
                                                                                                                      (b) For farming or ranching.
                                   2. For a continuous period of at least 6 months.
                                                                                                         2.   Coverage for a "newly acquired auto" is provided
                                     Other words and phrases are defined. They are in
                                                                                                              as described below. If you ask us to insure a
                                     quotation marks when used.                                               "newly acquired auto" after a specified time
                                D. "Bodily injury" means bodily harm, sickness or                             period described below has elapsed, any
                                   disease, including death that results.                                     coverage we provide for a "newly acquired auto"
                                E. "Business" includes trade, profession or occupation.                       will begin at the time you request the coverage.
                                F. "Family member" means a person related to you by                           a.   For any coverage provided in this policy
                                   blood, marriage or adoption who is a resident of your                           except Coverage For Damage To Your Auto,
                                   household. This includes a ward or foster child.                                a "newly acquired auto" will have the
                                G. "Occupying" means:                                                              broadest coverage we now provide for any
                                                                                                                   vehicle shown in the Declarations. Coverage
                                     1.   In;                                                                      begins on the date you become the owner.
                                     2.   Upon; or                                                                 However, for this coverage to apply to a
                                     3.   Getting in, on, out or off.                                              "newly acquired auto" which is in addition to
                                H. "Property damage" means physical injury to,                                     any vehicle shown in the Declarations, you
                                   destruction of or loss of use of tangible property.                             must ask us to insure it within 14 days after
                                I.   "Trailer" means a vehicle designed to be pulled by a:                         you become the owner.
                                     1.   Private passenger auto; or                                          If a "newly acquired auto" replaces a vehicle
                                                                                                              shown in the Declarations, coverage is provided
                                     2.   Pickup or van.
                                                                                                              for this vehicle without your having to ask us to
                                     It also means a farm wagon or farm implement while                       insure it.
                                     towed by a vehicle listed in 1. or 2. above.
                                                                                                              b. Collision Coverage for a "newly acquired
                                J.   "Your covered auto" means:                                                  auto" begins on the date you become the
                                     1.   Any vehicle shown in the Declarations.                                 owner. However, for this coverage to apply,
                                     2.   A "newly acquired auto".                                               you must ask us to insure it within:
                                     3.   Any "trailer" you own.                                                   (1) 14 days after you become the owner if
                                     4.   Any auto or "trailer" you do not own while used                              the Declarations indicate that Collision
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                                          as a temporary substitute for any other vehicle                              Coverage applies to at least one auto. In
                                          described in this definition which is out of normal                          this case, the "newly acquired auto" will
                                          use because of its:                                                          have the broadest coverage we now
                                          a. Breakdown;                                                                provide for any auto shown in the
                                          b. Repair;                                                                   Declarations.


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              (2) Four days after you become the owner if                     (1) 14 days after you become the owner if the
                  the Declarations do not indicate that                           Declarations indicate that Other Than
                  Collision Coverage applies to at least one                      Collision Coverage applies to at least one
                  auto. If you comply with the 4 day                              auto. In this case, the "newly acquired auto"
                  requirement and a loss occurred before                          will have the broadest coverage we now
                  you asked us to insure the "newly                               provide for any auto shown in the
                  acquired auto", a Collision deductible of                       Declarations.
                  $500 will apply.                                            (2) Four days after you become the owner if the
         c.   Other Than Collision Coverage for a "newly                          Declarations do not indicate that Other Than
              acquired auto" begins on the date you                               Collision Coverage applies to at least one
              become the owner. However, for this                                 auto. If you comply with the 4 day re
              coverage to apply, you must ask us to insure                        quirement and a loss occurred before you
              it within:                                                          asked us to insure the "newly acquired auto",
                                                                                  an Other Than Collision deductible of $500
                                                                                  will apply.

                                                PART A - LIABILITY COVERAGE

INSURING AGREEMENT                                                       3.   Interest accruing after a judgment is entered in
                                                                              any suit we defend. Our duty to pay interest ends
A. We will pay damages for "bodily injury" or "property
   damage" for which any "insured" becomes legally                            when we offer to pay that part of the judgment
   responsible because of an auto accident. Damages                           which does not exceed our limit of liability for
   include prejudgment interest awarded against the                           this coverage.
   "insured". We will settle or defend, as we consider                   4.   Up to $200 a day for loss of earnings, but not
   appropriate, any claim or suit asking for these                            other income, because of attendance at hearings
   damages. In addition to our limit of liability, we will                    or trials at our request.
   pay all defense costs we incur. Our duty to settle or                 5.   Other reasonable expenses incurred at our
   defend ends when our limit of liability for this                           request.
   coverage has been exhausted by payment of
                                                                    These payments will not reduce the limit of liability.
   judgments or settlements. We have no duty to
   defend any suit or settle any claim for "bodily injury"          EXCLUSIONS
   or "property damage" not covered under this policy.              A. We do not provide Liability Coverage for any
B. "Insured" as used in this Part means:                               "insured":
    1.   You or any "family member" for the ownership,                   1.   Who intentionally causes "bodily injury" or
         maintenance or use of any auto or "trailer".                         "property damage".
    2.   Any person using "your covered auto".                           2.   For "property damage" to property owned or
                                                                              being transported by that "insured".
    3.   For "your covered auto", any person or or-
         ganization but only with respect to legal re-                   3.   For "property damage" to property:
         sponsibility for acts or omissions of a person for                   a. Rented to;
         whom coverage is afforded under this Part.                           b. Used by; or
    4.   For any auto or "trailer", other than "your covered                  c. In the care of;
         auto", any other person or organization but only                     that "insured".
         with respect to legal responsibility for acts or
         omissions of you or any "family member" for                          This Exclusion (A.3.) does not apply to "property
         whom coverage is afforded under this Part. This                      damage" to a residence or private garage.
         Provision (B.4.) applies only if the person or                  4.   For "bodily injury" to an employee of that
         organization does not own or hire the auto or                        "insured" during the course of employment. This
         "trailer".                                                           Exclusion (A.4.) does not apply to "bodily injury"
SUPPLEMENTARY PAYMENTS                                                        to a domestic employee unless workers'
                                                                              compensation benefits are required or available
We will pay on behalf of an "insured":                                        for that domestic employee.
    1.   Up to $250 for the cost of bail bonds required                  5.   For that "insured's" liability arising out of the
         because of an accident, including related traffic                    ownership or operation of a vehicle while it is
         law violations. The accident must result in                          being used as a public or livery conveyance.
         "bodily injury" or "property damage" covered
                                                                              This Exclusion (A.5.) does not apply to a
         under this policy.                                                   share-the-expense car pool.
    2.   Premiums on appeal bonds and bonds to release
         attachments in any suit we defend.

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                                    6.   While employed or otherwise engaged in the                          2.   Any vehicle, other than "your covered auto",
                                         "business" of:                                                           which is:
                                         a. Selling;                                                              a. Owned by you; or
                                         b. Repairing;                                                            b. Furnished or available for your regular use.
                                         c. Servicing;
                                         d. Storing; or                                                      3.   Any vehicle, other than "your covered auto",
                                         e. Parking;                                                              which is:
                                         vehicles designed for use mainly on public                               a. Owned by any "family member"; or
                                         highways. This includes road testing and                                 b. Furnished or available for the regular use of
                                         delivery. This Exclusion (A.6.) does not apply to                           any "family member".
                                         the ownership, maintenance or use of "your                               However, this Exclusion (B.3.) does not apply to
                                         covered auto" by:                                                        you while you are maintaining or "occupying"
                                         a. You;                                                                  any vehicle which is:
                                         b. Any "family member"; or                                               a. Owned by a "family member"; or
                                         c. Any partner, agent or employee of you or any                          b. Furnished or available for the regular use of
                                             "family member".                                                        a "family member".
                                    7.   Maintaining or using any vehicle while that                         4.   Any vehicle, located inside a facility designed
                                         "insured" is employed or otherwise engaged in                            for racing, for the purpose of:
                                         any "business" (other than farming or ranching)
                                         not described in Exclusion A.6.                                          a. Competing in; or
                                                                                                                  b. Practicing or preparing for;
                                         This Exclusion (A.7.) does not apply to the
                                         maintenance or use of a:                                                 any prearranged or organized racing or speed
                                                                                                                  contest.
                                         a.  Private passenger auto;
                                         b.  Pickup or van; or                                       LIMIT OF LIABILITY
                                         c.  "Trailer" used with a vehicle described in a.           A. The limit of liability shown in the Declarations for
                                             or b. above.                                               each person for Bodily Injury Liability is our max
                                    8.   Using a vehicle without a reasonable belief that               imum limit of liability for all damages, including
                                         that "insured" is entitled to do so. This Exclusion            damages for care, loss of services or death, arising
                                         (A.8.) does not apply to a "family member" using               out of "bodily injury" sustained by any one person in
                                         "your covered auto" which is owned by you.                     any one auto accident. Subject to this limit for each
                                                                                                        person, the limit of liability shown in the Declarations
                                    9.   For "bodily injury" or "property damage" for
                                                                                                        for each accident for Bodily Injury Liability is our
                                         which that "insured":
                                                                                                        maximum limit of liability for all damages for "bodily
                                         a. Is an insured under a nuclear energy li-                    injury" resulting from any one auto accident.
                                             ability policy; or
                                         b. Would be an insured under a nuclear energy                       The limit of liability shown in the Declarations for
                                             liability policy but for its termination upon                   each accident for Property Damage Liability is our
                                             exhaustion of its limit of liability.                           maximum limit of liability for all "property damage"
                                                                                                             resulting from any one auto accident.
                                         A nuclear energy liability policy is a policy
                                         issued by any of the following or their suc-                        This is the most we will pay regardless of the number
                                         cessors:                                                            of:
                                         a. Nuclear Energy Liability Insurance As-                           1.   "Insureds";
                                            sociation;                                                       2.   Claims made;
                                         b. Mutual Atomic Energy Liability Under-                            3.   Vehicles or premiums shown in the Decla-
                                            writers; or                                                           rations; or
                                         c. Nuclear Insurance Association of Canada.                         4.   Vehicles involved in the auto accident.

                                B. We do not provide Liability Coverage for the                      B. No one will be entitled to receive duplicate pay-
                                   ownership, maintenance or use of:                                    ments for the same elements of loss under this
                                                                                                        coverage and:
                                    1.   Any vehicle which:
                                                                                                             1.   Part B or Part C of this policy; or
                                         a. Has fewer than four wheels; or                                   2.   Any Underinsured Motorists Coverage provided
                                         b. Is designed mainly for use off public roads.                          by this policy.
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                                         This Exclusion (B.1.) does not apply:                       OUT OF STATE COVERAGE
                                         a. While such vehicle is being used by an                   If an auto accident to which this policy applies occurs in
                                            "insured" in a medical emergency;                        any state or province other than the one in which "your
                                         b. To any "trailer"; or                                     covered auto" is principally garaged, we will interpret
                                         c. To any non-owned golf cart.                              your policy for that accident as follows:


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A. If the state or province has:                                      FINANCIAL RESPONSIBILITY
   1. A financial responsibility or similar law                       When this policy is certified as future proof of financial
        specifying limits of liability for "bodily injury" or         responsibility, this policy shall comply with the law to
        "property damage" higher than the limit shown in              the extent required.
        the Declarations, your policy will provide the                OTHER INSURANCE
        higher specified limit.
                                                                      If there is other applicable liability insurance we will pay
   2. A compulsory insurance or similar law re-
                                                                      only our share of the loss. Our share is the proportion
        quiring a nonresident to maintain insurance
                                                                      that our limit of liability bears to the total of all
        whenever the nonresident uses a vehicle in that
                                                                      applicable limits. However, any insurance we provide
        state or province, your policy will provide at
                                                                      for a vehicle you do not own, including any vehicle while
        least the required minimum amounts and types
                                                                      used as a temporary substitute for "your covered auto",
        of coverage.
                                                                      shall be excess over any other collectible insurance.
B. No one will be entitled to duplicate payments for the
   same elements of loss.
                                               PART B - MEDICAL PAYMENTS
INSURING AGREEMENT                                                                 a. Owned by any "family member"; or
A. We will pay reasonable expenses incurred for nec-                               b. Furnished or available for the regular use of
   essary medical and funeral services because of                                      any "family member".
   "bodily injury":                                                                However, this Exclusion (6.) does not apply to
   1. Caused by accident; and                                                      you.
                                                                              7.   Sustained while "occupying" a vehicle without a
    2.   Sustained by an "insured".
                                                                                   reasonable belief that that "insured" is entitled to
   We will pay only those expenses incurred for                                    do so. This Exclusion (7.) does not apply to a
   services rendered within 3 years from the date of                               "family member" using "your covered auto"
   the accident.                                                                   which is owned by you.
B. "Insured" as used in this Part means:                                      8.   Sustained while "occupying" a vehicle when it is
    1.   You or any "family member":                                               being used in the "business" of an "insured".
         a. While "occupying"; or                                                  This Exclusion (8.) does not apply to "bodily
         b. As a pedestrian when struck by;                                        injury" sustained while "occupying" a:
             a motor vehicle designed for use mainly                               a. Private passenger auto;
             on public roads or a trailer of any type.                             b. Pickup or van; or
                                                                                   c. "Trailer" used with a vehicle described in a.
    2.   Any other person while "occupying" "your
                                                                                        or b. above.
         covered auto".
                                                                              9.   Caused by or as a consequence of:
EXCLUSIONS
We do not provide Medical Payments Coverage for any                                a. Discharge of a nuclear weapon (even if
"insured" for "bodily injury":                                                        accidental);
                                                                                   b. War (declared or undeclared);
    1.   Sustained while "occupying" any motorized                                 c. Civil war;
         vehicle having fewer than four wheels.                                    d. Insurrection; or
    2.   Sustained while "occupying" "your covered auto"                           e. Rebellion or revolution.
         when it is being used as a public or livery                          10. From or as a consequence of the following,
         conveyance. This Exclusion (2.) does not apply                           whether controlled or uncontrolled or however
         to a share-the-expense car pool.                                         caused:
    3.   Sustained while "occupying" any vehicle lo-                               a. Nuclear reaction;
         cated for use as a residence or premises.                                 b. Radiation; or
    4.   Occurring during the course of employment if                              c. Radioactive contamination.
         workers' compensation benefits are required or
                                                                              11. Sustained while "occupying" any vehicle lo-
         available for the "bodily injury".
                                                                                  cated inside a facility designed for racing, for
    5.   Sustained while "occupying", or when struck by,                          the purpose of:
         any vehicle (other than "your covered auto")                             a. Competing in; or
         which is:
                                                                                  b. Practicing or preparing for;
         a. Owned by you; or
         b. Furnished or available for your regular use.                           any prearranged or organized racing or speed
                                                                                   contest.
    6.   Sustained while "occupying", or when struck by,
         any vehicle (other than "your covered auto")
         which is:

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                                LIMIT OF LIABILITY                                                        1.   Part A or Part C of this policy; or
                                A. The limit of liability shown in the Declarations for                   2.   Any Underinsured Motorists Coverage provided
                                   this coverage is our maximum limit of liability for                         by this policy.
                                   each person injured in any one accident. This is the               OTHER INSURANCE
                                   most we will pay regardless of the number of:
                                                                                                      If there is other applicable auto medical payments in
                                     1.   "Insureds";                                                 surance we will pay only our share of the loss. Our share
                                     2.   Claims made;                                                is the proportion that our limit of liability bears to the
                                     3.   Vehicles or premiums shown in the Decla-                    total of all applicable limits. However, any insurance we
                                          rations; or                                                 provide with respect to a vehicle you do not own,
                                                                                                      including any vehicle while used as a temporary
                                     4.   Vehicles involved in the accident.                          substitute for "your covered auto", shall be excess over
                                B. No one will be entitled to receive duplicate pay-                  any other collectible auto insurance providing payments
                                   ments for the same elements of loss under this                     for medical or funeral expenses.
                                   coverage and:
                                                                     PART C - UNINSURED MOTORISTS COVERAGE
                                INSURING AGREEMENT                                                        4.   To which a bodily injury liability bond or policy
                                A. We will pay compensatory damages which an                                   applies at the time of the accident but the
                                   "insured" is legally entitled to recover from the owner                     bonding or insuring company:
                                   or operator of an "uninsured motor vehicle" because                         a. Denies coverage; or
                                   of "bodily injury":                                                         b. Is or becomes insolvent.
                                     1.   Sustained by an "insured"; and                                  However, "uninsured motor vehicle" does not include
                                     2.   Caused by an accident.                                          any vehicle or equipment:
                                     The owner's or operator's liability for these damages                1.   Owned by or furnished or available for the
                                     must arise out of the ownership, maintenance or use                       regular use of you or any "family member".
                                     of the "uninsured motor vehicle".                                    2.   Owned or operated by a self-insurer under any
                                     Any judgment for damages arising out of a suit                            applicable motor vehicle law, except a
                                     brought without our written consent is not binding                        self-insurer which is or becomes insolvent.
                                     on us.                                                               3.   Owned by any governmental unit or agency.
                                B. "Insured" as used in this Part means:                                  4.   Operated on rails or crawler treads.
                                     1.   You or any "family member".                                     5.   Designed mainly for use off public roads while
                                     2.   Any other person "occupying" "your covered                           not on public roads.
                                          auto".                                                          6.   While located for use as a residence or premises.
                                     3.   Any person for damages that person is entitled              EXCLUSIONS
                                          to recover because of "bodily injury" to which
                                                                                                      A. We do not provide Uninsured Motorists Coverage for
                                          this coverage applies sustained by a person
                                                                                                         "bodily injury" sustained:
                                          described in 1. or 2. above.
                                                                                                          1.   By an "insured" while "occupying", or when
                                C. "Uninsured motor vehicle" means a land motor
                                                                                                               struck by, any motor vehicle owned by that
                                   vehicle or trailer of any type:
                                                                                                               "insured" which is not insured for this coverage
                                     1.   To which no bodily injury liability bond or                          under this policy. This includes a trailer of any
                                          policy applies at the time of the accident.                          type used with that vehicle.
                                     2.   To which a bodily injury liability bond or policy               2.   By any "family member" while "occupying", or
                                          applies at the time of the accident. In this case its                when struck by, any motor vehicle you own
                                          limit for bodily injury liability must be less than                  which is insured for this coverage on a primary
                                          the minimum limit for bodily injury liability                        basis under any other policy.
                                          specified by the financial responsibility law of
                                                                                                      B. We do not provide Uninsured Motorists Coverage for
                                          the state in which "your covered auto" is
                                                                                                         "bodily injury" sustained by any "insured":
                                          principally garaged.
                                                                                                          1.   If that "insured" or the legal representative settles
                                     3.   Which is a hit-and-run vehicle whose operator or
                                                                                                               the "bodily injury" claim and such settlement
                                          owner cannot be identified and which hits:
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                                                                                                               prejudices our right to recover payment.
                                          a. You or any "family member";
                                                                                                          2.   While "occupying" "your covered auto" when it
                                          b. A vehicle which you or any "family member"
                                                                                                               is being used as a public or livery conveyance.
                                             are "occupying"; or
                                                                                                               This Exclusion (B.2.) does not apply to a
                                          c.   "Your covered auto".                                            share-the-expense car pool.

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    3.  Using a vehicle without a reasonable belief that               2.   Any insurance we provide with respect to a
        that "insured" is entitled to do so. This Exclusion                 vehicle you do not own, including any vehicle
        (B.3.) does not apply to a "family member" using                    while used as a temporary substitute for "your
        "your covered auto" which is owned by you.                          covered auto", shall be excess over any
C. This coverage shall not apply directly or indirectly to                  collectible insurance providing such coverage on
   benefit any insurer or self-insurer under any of the                     a primary basis.
   following or similar law:                                           3.   If the coverage under this policy is provided:
    1.   Workers' compensation law; or                                      a. On a primary basis, we will pay only our
    2.   Disability benefits law.                                                share of the loss that must be paid under
                                                                                 insurance providing coverage on a primary
D. We do not provide Uninsured Motorists Coverage for                            basis. Our share is the proportion that our
   punitive or exemplary damages.                                                limit of liability bears to the total of all
LIMIT OF LIABILITY                                                               applicable limits of liability for coverage
A. The limit of liability shown in the Declarations for                          provided on a primary basis.
   each person for Uninsured Motorists Coverage is our                      b. On an excess basis, we will pay only our
   maximum limit of liability for all damages, including                         share of the loss that must be paid under
   damages for care, loss of services or death, arising out                      insurance providing coverage on an excess
   of "bodily injury" sustained by any one person in any                         basis. Our share is the proportion that our
   one accident. Subject to this limit for each person,                          limit of liability bears to the total of all
   the limit of liability shown in the Declarations for                          applicable limits of liability for coverage
   each accident for Uninsured Motorists Coverage is                             provided on an excess basis.
   our maximum limit of liability for all damages for
                                                                   ARBITRATION
   "bodily injury" resulting from any one accident.
                                                                   A. If we and an "insured" do not agree:
    This is the most we will pay regardless of the number
                                                                      1. Whether that "insured" is legally entitled to
    of:
                                                                          recover damages; or
    1. "Insureds";                                                    2. As to the amount of damages which are re-
    2. Claims made;                                                       coverable by that "insured";
    3. Vehicles or premiums shown in the Decla-                       from the owner or operator of an "uninsured motor
        rations; or                                                   vehicle", then the matter may be arbitrated. However,
    4. Vehicles involved in the accident.                             disputes concerning coverage under this Part may not
B. No one will be entitled to receive duplicate pay-                  be arbitrated.
   ments for the same elements of loss under this                     Both parties must agree to arbitration. If so agreed,
   coverage and:                                                      each party will select an arbitrator. The two
                                                                      arbitrators will select a third. If they cannot agree
    1. Part A or Part B of this policy; or
                                                                      within 30 days, either may request that selection be
    2. Any Underinsured Motorists Coverage provided
                                                                      made by a judge of a court having jurisdiction.
       by this policy.
C. We will not make a duplicate payment under this                 B. Each party will:
   coverage for any element of loss for which payment                  1.   Pay the expenses it incurs; and
   has been made by or on behalf of persons or                         2.   Bear the expenses of the third arbitrator equally.
   organizations who may be legally responsible.                   C. Unless both parties agree otherwise, arbitration will
D. We will not pay for any element of loss if a person is             take place in the county in which the "insured" lives.
   entitled to receive payment for the same element of                Local rules of law as to procedure and evidence will
   loss under any of the following or similar law:                    apply. A decision agreed to by at least two of the
                                                                      arbitrators will be binding as to:
    1.   Workers' compensation law; or
    2.   Disability benefits law.                                      1.   Whether the "insured" is legally entitled to
                                                                            recover damages; and
OTHER INSURANCE
                                                                       2.   The amount of damages. This applies only if the
If there is other applicable insurance available under one                  amount does not exceed the minimum limit for
or more policies or provisions of coverage that is similar                  bodily injury liability specified by the financial
to the insurance provided under this Part of the policy:                    responsibility law of the state in which "your
    1.   Any recovery for damages under all such policies                   covered auto" is principally garaged. If the
         or provisions of coverage may equal but not                        amount exceeds that limit, either party may
         exceed the highest applicable limit for any one                    demand the right to a trial. This demand must be
         vehicle under any insurance providing coverage                     made within 60 days of the arbitrators' decision.
         on either a primary or excess basis.                               If this demand is not made, the amount of dam-
                                                                            ages agreed to by the arbitrators will be binding.


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                                                                         PART D - COVERAGE FOR DAMAGE TO YOUR AUTO
                                INSURING AGREEMENT                                                          1.   Temporary transportation expenses not ex-
                                                                                                                 ceeding $20 per day incurred by you in the event
                                A. We will pay for direct and accidental loss to "your
                                   covered auto" or any "non-owned auto", including                              of a loss to "your covered auto". We will pay for
                                   their equipment, minus any applicable deductible                              such expenses if the loss is caused by:
                                   shown in the Declarations. If loss to more than one                           a.   Other than "collision" only if the Decla-
                                   "your covered auto" or "non-owned auto" results from                               rations indicate that Other Than Collision
                                   the same "collision", only the highest applicable                                  Coverage is provided for that auto.
                                   deductible will apply. We will pay for loss to "your                          b. "Collision" only if the Declarations indicate
                                   covered auto" caused by:                                                         that Collision Coverage is provided for that
                                     1.   Other than "collision" only if the Declarations                           auto.
                                          indicate that Other Than Collision Coverage is                    2.   Expenses for which you become legally re-
                                          provided for that auto.                                                sponsible in the event of loss to a "non-owned
                                     2.   "Collision" only if the Declarations indicate that                     auto". We will pay for such expenses if the loss
                                          Collision Coverage is provided for that auto.                          is caused by:
                                     If there is a loss to a "non-owned auto", we will                           a.   Other than "collision" only if the Decla-
                                     provide the broadest coverage applicable to any "your                            rations indicate that Other Than Collision
                                     covered auto" shown in the Declarations.                                         Coverage is provided for any "your covered
                                B. "Collision" means the upset of "your covered auto" or                              auto".
                                   a "non-owned auto" or their impact with another                               b. "Collision" only if the Declarations indicate
                                   vehicle or object.                                                               that Collision Coverage is provided for any
                                     Loss caused by the following is considered other than                          "your covered auto".
                                     "collision":                                                                However, the most we will pay for any ex-
                                     1.   Missiles or falling objects;                                           penses for loss of use is $20 per day.
                                     2.   Fire;                                                        B. Subject to the provisions of Paragraph A., if the loss
                                     3.   Theft or larceny;                                               is caused by:
                                     4.   Explosion or earthquake;                                          1.   A total theft of "your covered auto" or a
                                                                                                                 "non-owned auto", we will pay only expenses
                                     5.   Windstorm;
                                                                                                                 incurred during the period:
                                     6.   Hail, water or flood;
                                                                                                                 a.   Beginning 48 hours after the theft; and
                                     7.   Malicious mischief or vandalism;
                                     8.   Riot or civil commotion;                                               b. Ending when "your covered auto" or the
                                                                                                                    "non-owned auto" is returned to use or we
                                     9. Contact with bird or animal; or
                                                                                                                    pay for its loss.
                                     10. Breakage of glass.
                                                                                                            2.   Other than theft of a "your covered auto" or a
                                   If breakage of glass is caused by a "collision", you                          "non-owned auto", we will pay only expenses
                                   may elect to have it considered a loss caused by                              beginning when the auto is withdrawn from use
                                   "collision".                                                                  for more than 24 hours.
                                C. "Non-owned auto" means:                                                  Our payment will be limited to that period of time
                                     1.   Any private passenger auto, pickup, van or                        reasonably required to repair or replace the "your
                                          "trailer" not owned by or furnished or available                  covered auto" or the "non-owned auto".
                                          for the regular use of you or any "family member"            EXCLUSIONS
                                          while in the custody of or being operated by you
                                                                                                       We will not pay for:
                                          or any "family member"; or
                                                                                                       1. Loss to "your covered auto" or any "non-owned auto"
                                     2.   Any auto or "trailer" you do not own while used                 which occurs while it is being used as a public or
                                          as a temporary substitute for "your covered auto"               livery conveyance. This Exclusion (1.) does not
                                          which is out of normal use because of its:                      apply to a share-the-expense car pool.
                                          a.   Breakdown;                                              2.   Damage due and confined to:
                                          b.   Repair;                                                      a. Wear and tear;
                                          c.   Servicing;
                                                                                                            b. Freezing;
                                          d.   Loss; or
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                                                                                                            c. Mechanical or electrical breakdown or failure; or
                                          e.   Destruction.
                                                                                                            d. Road damage to tires.
                                TRANSPORTATION EXPENSES
                                                                                                            This Exclusion (2.) does not apply if the damage
                                A. In addition, we will pay, without application of a                       results from the total theft of "your covered auto" or
                                   deductible, up to a maximum of $600 for:                                 any "non-owned auto".

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3.   Loss due to or as a consequence of:                              8.   Loss to any "non-owned auto" when used by you
     a. Radioactive contamination;                                         or any "family member" without a reasonable belief
     b. Discharge of any nuclear weapon (even if                           that you or that "family member" are entitled to do so.
        accidental);                                                  9.   Loss to equipment designed or used for the detection
     c. War (declared or undeclared);                                      or location of radar or laser.
     d. Civil war;                                                    10. Loss to any custom furnishings or equipment in or
     e. Insurrection; or                                                  upon any pickup or van. Custom furnishings or
     f. Rebellion or revolution.                                          equipment include but are not limited to:
4.   Loss to any electronic equipment that reproduces,                     a.   Special carpeting or insulation;
     receives or transmits audio, visual or data signals.
                                                                           b. Furniture or bars;
     This includes but is not limited to:
                                                                           c.   Height-extending roofs; or
     a.   Radios and stereos;
     b.   Tape decks;                                                      d. Custom murals, paintings or other decals or
     c.   Compact disk systems;                                               graphics.
     d.   Navigation systems;                                              This Exclusion (10.) does not apply to a cap, cover
     e.   Internet access systems;                                         or bedliner in or upon any "your covered auto" which
     f.   Personal computers;                                              is a pickup.
     g.   Video entertainment systems;                                11. Loss to any "non-owned auto" being maintained or
     h.   Telephones;                                                     used by any person while employed or otherwise
     i.   Televisions;                                                    engaged in the "business" of:
     j.   Two-way mobile radios;
     k.   Scanners; or                                                     a.   Selling;
     l.   Citizens band radios.                                            b.   Repairing;
                                                                           c.   Servicing;
     This Exclusion (4.) does not apply to electronic                      d.   Storing; or
     equipment that is permanently installed in "your                      e.   Parking;
     covered auto" or any "non-owned auto".
                                                                           vehicles designed for use on public highways. This
5.   Loss to tapes, records, disks or other media used                     includes road testing and delivery.
     with equipment described in Exclusion 4.
                                                                      12. Loss to "your covered auto" or any "non-owned auto",
6.   A total loss to "your covered auto" or any "non-                     located inside a facility designed for racing, for the
     owned auto" due to destruction or confiscation by                    purpose of:
     governmental or civil authorities.
                                                                           a.   Competing in; or
     This Exclusion (6.) does not apply to the interests of
     Loss Payees in "your covered auto".                                   b. Practicing or preparing for;

7.   Loss to:                                                              any prearranged or organized racing or speed contest.

     a.   A "trailer", camper body, or motor home, which              13. Loss to, or loss of use of, a "non-owned auto" rented
          is not shown in the Declarations; or                            by:

     b. Facilities or equipment used with such "trailer",                  a.   You; or
        camper body or motor home. Facilities or                           b. Any "family member";
        equipment include but are not limited to:                          if a rental vehicle company is precluded from
          (1) Cooking, dining, plumbing or refrigeration                   recovering such loss or loss of use, from you or that
              facilities;                                                  "family member", pursuant to the provisions of any
          (2) Awnings or cabanas; or                                       applicable rental agreement or state law.

          (3) Any other facilities or equipment used with             LIMIT OF LIABILITY
              a "trailer", camper body, or motor home.                A. Our limit of liability for loss will be the lesser of the:
     This Exclusion (7.) does not apply to a:                              1.   Actual cash value of the stolen or damaged
     a.   "Trailer", and its facilities or equipment, which                     property; or
          you do not own; or                                               2.   Amount necessary to repair or replace the
     b. "Trailer", camper body, or the facilities or                            property with other property of like kind and
        equipment in or attached to the "trailer" or                            quality.
        camper body, which you:                                            However, the most we will pay for loss to:
          (1) Acquire during the policy period; and                        1.   Any "non-owned auto" which is a trailer is
          (2) Ask us to insure within 14 days after you                         $1500.
              become the owner.


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                                    2.   Electronic equipment that reproduces, receives               OTHER SOURCES OF RECOVERY
                                         or transmits audio, visual or data signals, which            If other sources of recovery also cover the loss, we
                                         is permanently installed in the auto in locations            will pay only our share of the loss. Our share is the
                                         not used by the auto manufacturer for installation           proportion that our limit of liability bears to the total of all
                                         of such equipment, is $1,000.                                applicable limits. However, any insurance we provide
                                B. An adjustment for depreciation and physical                        with respect to a "non-owned auto" shall be excess over
                                   condition will be made in determining actual cash                  any other collectible source of recovery including, but not
                                   value in the event of a total loss.                                limited to:
                                C. If a repair or replacement results in better than like             1.      Any coverage provided by the owner of the
                                   kind or quality, we will not pay for the amount of the                     "non-owned auto";
                                   betterment.                                                        2.      Any other applicable physical damage insurance;
                                PAYMENT OF LOSS                                                       3.      Any other source of recovery applicable to the loss.
                                We may pay for loss in money or repair or replace the                 APPRAISAL
                                damaged or stolen property. We may, at our expense,
                                return any stolen property to:                                        A. If we and you do not agree on the amount of loss,
                                                                                                         either may demand an appraisal of the loss. In this
                                    1.   You; or                                                         event, each party will select a competent and
                                    2.   The address shown in this policy.                               impartial appraiser. The two appraisers will select
                                If we return stolen property we will pay for any damage                  an umpire. The appraisers will state seperately the
                                resulting from the theft. We may keep all or part of the                 actual cash value and the amount of loss. If they fail
                                property at an agreed or appraised value.                                to agree, they will submit their differences to the
                                                                                                         umpire. A decision agreed to by any two will be
                                If we pay for loss in money, our payment will include the                binding. Each party will:
                                applicable sales tax for the damaged or stolen property.
                                                                                                              1.   Pay its chosen appraiser; and
                                NO BENEFIT TO BAILEE
                                                                                                              2.   Bear the expenses of the appraisal and umpire
                                This insurance shall not directly or indirectly benefit any
                                                                                                                   equally.
                                carrier or other bailee for hire.
                                                                                                      B. We do not waive any of our rights under this policy
                                                                                                         by agreeing to an appraisal.



                                                                        PART E - DUTIES AFTER AN ACCIDENT OR LOSS

                                We have no duty to provide coverage under this policy if                      4.   Authorize us to obtain:
                                the failure to comply with the following duties is                                 a. Medical reports; and
                                prejudicial to us:                                                                 b. Other pertinent records.
                                A. We must be notified promptly of how, when and                              5.   Submit a proof of loss when required by us.
                                   where the accident or loss happened. Notice should
                                   also include the names and addresses of any injured                C. A person seeking Uninsured Motorists Coverage
                                   persons and of any witnesses.                                         must also:

                                B. A person seeking any coverage must:                                        1.   Promptly notify the police if a hit-and-run driver
                                                                                                                   is involved.
                                    1.   Cooperate with us in the investigation, set-
                                         tlement or defense of any claim or suit.                             2.   Promptly send us copies of the legal papers if a
                                                                                                                   suit is brought.
                                    2.   Promptly send us copies of any notices or legal
                                         papers received in connection with the accident              D. A person seeking Coverage For Damage To Your
                                         or loss.                                                        Auto must also:

                                    3.   Submit, as often as we reasonably require:                           1.   Take reasonable steps after loss to protect "your
                                                                                                                   covered auto" or any "non-owned auto" and their
                                         a.   To physical exams by physicians we select.                           equipment from further loss. We will pay
                                              We will pay for these exams.                                         reasonable expenses incurred to do this.
                                         b. To examination under oath and subscribe the                       2.   Promptly notify the police if "your covered auto"
                                            same.                                                                  or any "non-owned auto" is stolen.
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                                                                                                              3.   Permit us to inspect and appraise the damaged
                                                                                                                   property before its repair or disposal.




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                                           PART F - GENERAL PROVISIONS
BANKRUPTCY                                                          OUR RIGHT TO RECOVER PAYMENT
Bankruptcy or insolvency of the "insured" shall not                 A. If we make a payment under this policy and the
relieve us of any obligations under this policy.                       person to or for whom payment was made has a
CHANGES                                                                right to recover damages from another we shall be
                                                                       subrogated to that right. That person shall do:
A. This policy contains all the agreements between you
   and us. Its terms may not be changed or waived                           1.   Whatever is necessary to enable us to exercise
   except by endorsement issued by us.                                           our rights; and

B. If there is a change to the information used to                          2.   Nothing after loss to prejudice them.
   develop the policy premium, we may adjust your                           However, our rights in this Paragraph (A.) do not
   premium. Changes during the policy term that may                         apply under Part D, against any person using "your
   result in a premium increase or decrease include, but                    covered auto" with a reasonable belief that that
   are not limited to, changes in:                                          person is entitled to do so.
    1.   The number, type or use classification of insured          B. If we make a payment under this policy and the per
         vehicles;                                                     son to or for whom payment is made recovers
    2.   Operators using insured vehicles;                             damages from another, that person shall:

    3.   The place of principal garaging of insured                         1.   Hold in trust for us the proceeds of the recovery;
         vehicles;                                                               and
                                                                            2.   Reimburse us to the extent of our payment.
    4.   Coverage, deductible or limits.
    If a change resulting from A. or B. requires a pre-             POLICY PERIOD AND TERRITORY
    mium adjustment, we will make the premium ad-                   A. This policy applies only to accidents and losses
    justment in accordance with our manual rules.                      which occur:
C. If we make a change which broadens coverage under                        1.   During the policy period as shown in the
   this edition of your policy without additional                                Declarations; and
   premium charge, that change will automatically                           2.   Within the policy territory.
   apply to your policy as of the date we implement the
   change in your state. This Paragraph (C.) does not               B. The policy territory is:
   apply to changes implemented with a general                              1.   The United States of America, its territories or
   program revision that includes both broadenings and                           possessions;
   restrictions in coverage, whether that general                           2.   Puerto Rico; or
   program revision is implemented through
   introduction of:                                                         3.   Canada.

    1.   A subsequent edition of your policy; or                            This policy also applies to loss to, or accidents
                                                                            involving, "your covered auto" while being
    2.   An Amendatory Endorsement.                                         transported between their ports.
FRAUD                                                               TERMINATION
We do not provide coverage for any "insured" who has                A. Cancellation
made fraudulent statements or engaged in fraudulent
conduct in connection with any accident or loss for                 This policy may be cancelled during the policy period as
which coverage is sought under this policy.                         follows:

LEGAL ACTION AGAINST US                                                     1.   The named insured shown in the Declarations
                                                                                 may cancel by:
A. No legal action may be brought against us until there                         a. Returning this policy to us; or
   has been full compliance with all the terms of this                           b. Giving us advance written notice of the date
   policy. In addition, under Part A, no legal action may                             cancellation is to take effect.
   be brought against us until:
                                                                            2.   We may cancel by mailing to the named insured
    1.   We agree in writing that the "insured" has an                           shown in the Declarations at the address shown
         obligation to pay; or                                                   in this policy:
    2.   The amount of that obligation has been finally                          a. At least 10 days notice:
         determined by judgment after trial.                                        (1) If cancellation is for nonpayment of
B. No person or organization has any right under this                                    premium; or
   policy to bring us into any action to determine the                              (2) If notice is mailed during the first 60
   liability of an "insured".                                                            days this policy is in effect and this is
                                                                                         not a renewal or continuation policy; or
                                                                                 b. At least 20 days notice in all other cases.


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                                    3.   After this policy is in effect for 60 days, or if this                   If you obtain other insurance on "your covered auto",
                                         is a renewal or continuation policy, we will                             any similar insurance provided by this policy will
                                         cancel only:                                                             terminate as to that auto on the effective date of the
                                         a.   For nonpayment of premium; or                                       other insurance.

                                         b. If your driver's license or that of:                          D. Other Termination Provisions

                                              (1) Any driver who lives with you; or                               1.   We may deliver any notice instead of mailing it.
                                                                                                                       Proof of mailing of any notice shall be sufficient
                                              (2) Any driver who customarily uses "your                                proof of notice.
                                                  covered auto";
                                                                                                                  2.   If this policy is cancelled, you may be entitled to
                                         has been suspended or revoked. This must have                                 a premium refund. If so, we will send you the
                                         occurred:                                                                     refund. The premium refund, if any, will be
                                              (1) During the policy period; or                                         computed according to our manuals. However,
                                              (2) Since the last anniversary of the original                           making or offering to make the refund is not a
                                                  effective date if the policy period is other                         condition of cancellation.
                                                  than 1 year; or                                                 3.   The effective date of cancellation stated in the
                                         c.   If the policy was obtained through material                              notice shall become the end of the policy period.
                                              misrepresentation.                                          TRANSFER OF YOUR INTEREST IN THIS POLICY
                                B. Nonrenewal                                                             A. Your rights and duties under this policy may not be
                                    If we decide not to renew or continue this policy, we                    assigned without our written consent. However, if
                                    will mail notice to the named insured shown in the                       a named insured shown in the Declarations dies,
                                    Declarations at the address shown in this policy.                        coverage will be provided for:
                                    Notice will be mailed at least 20 days before the end                         1.   The surviving spouse if resident in the same
                                    of the policy period. Subject to this notice                                       household at the time of death. Coverage
                                    requirement, if the policy period is:                                              applies to the spouse as if a named insured
                                    1.   Less than 6 months, we will have the right not to                             shown in the Declarations; and
                                         renew or continue this policy every 6 months,                            2.   The legal representative of the deceased person
                                         beginning 6 months after its original effective                               as if a named insured shown in the Declarations.
                                         date.                                                                         This applies only with respect to the
                                    2.   6 months or longer, but less than one year, we                                representative's legal responsibility to maintain
                                         will have the right not to renew or continue this                             or use "your covered auto".
                                         policy at the end of the policy period.                          B. Coverage will only be provided until the end of the
                                    3.   1 year or longer, we will have the right not to                     policy period.
                                         renew or continue this policy at each an-                        TWO OR MORE AUTO POLICIES
                                         niversary of its original effective date.
                                                                                                          If this policy and any other auto insurance policy issued
                                C. Automatic Termination                                                  to you by us apply to the same accident, the maximum
                                    If we offer to renew or continue and you or your                      limit of our liability under all the policies shall not
                                    representative do not accept, this policy will                        exceed the highest applicable limit of liability under any
                                    automatically terminate at the end of the current                     one policy.
                                    policy period. Failure to pay the required renewal or
                                    continuation premium when due shall mean that you
                                    have not accepted our offer.




                                                    W. C. E. Robinson                                                             William E. Roberts
                                                        Secretary                                                                      President
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Personal Auto Policy

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Personal Auto Policy (continued)


Insuring Agreement                                                              a.	 For coverage to apply you must:
In return for your premium payment and based upon the                                (1) Acquire the car during the policy period; and
representations you made in the application for this insurance,                      (2) Notify us within thirty (30) days of its acquisition.
we agree to insure you for each of the coverages listed on the                  b.	 An additional car will have the broadest coverage we
Declarations Page subject to all the terms, limits and conditions                    provide for any car shown on the Declarations Page.
of the application, the Declarations Page, this policy and all of its           c.	 Coverage does not continue after thirty (30) days if
endorsements.                                                                        you fail to notify us of its acquisition.
                                                                          3.	   Bodily injury means accidentally sustained bodily harm
Definitions Used Throughout This Policy                                         to an individual including any resulting illness, disease or
A.	 Certain words and phrases are defined in this policy. Defined               death.
    words and phrases appear in boldface type and have special            4.	   Business means any full or part-time profession,
    meaning. Refer to the definition sections for the meanings.                 occupation, trade or commercial enterprise.
    The defined terms have the same meaning whether in the
                                                                          5.	   Car means a four-wheeled private passenger car of the
    singular, plural, or any other form of the same term.
                                                                                coupe, sedan, station wagon, pick-up truck, van or sport
B.	 We, us and our mean the Company named on the                                utility type, with gross vehicle weight of 14,000 pounds
    Declarations Page that provides this insurance.                             or less, and licensed for and used only upon public
C.	 You and your mean the named insured shown on the                            highways. It does not include a motorhome, a step van,
    Declarations Page and your spouse, if a resident of your                    parcel delivery van, cargo cutaway van, or other van with
    household.                                                                  the cab separate from the cargo area.
    1.	 Your spouse includes a registered domestic partner, civil         6.	   Commercial Ride-Sharing Program means an
        union or similar union under applicable state law:                      arrangement or activity through which persons or
        a.	 If the person is a resident of the same household with              property are transported for compensation, regardless of
             you during the policy period, and                                  the amount or form of compensation charged or paid and
        b.	 If the civil union or partnership was validly entered into          includes the time:
             under the laws of any state, municipality, or territory of         a.	 commencing when a driver of a car is available to
             the United States or any other country.                                 accept transportation requests for passengers or
    2.	 If your spouse or partner defined above is no longer a                       property for compensation;
        resident in the same household during the policy period,                b.	 between the driver accepting a transportation request
        the spouse or partner will be considered insured by this                     and the passengers or property entering into or being
        policy until the earlier of:                                                 loaded upon the car used for this request;
        a.	 The end of ninety (90) days following the change of                 c.	 passengers or property are in or upon the car used for
             residency;                                                              this request; and
        b.	 The effective date of another policy listing your                   d.	 between the passengers or property exiting or
             spouse or partner as a named insured;                                   unloading from the car and the driver is no longer
        c.	 The end of the policy period; or                                         available to accept transportation requests.
        d.	 Cancellation of this policy.                                  7.	   Damages mean compensation in the form of
D.	 Definitions                                                                 compensatory damages that can be recovered by those
    1.	 Accident means a sudden, unexpected and unintended                      who suffer bodily injury or property damage as a
        event. An accident must occur during the policy period,                 result of an accident. Damages do not mean punitive or
        arise out of the ownership, maintenance or use of a car                 exemplary damages or any restitution, fines or penalties
        and cause bodily injury or property damage.                             that are required to be paid as the result of any civil or
                                                                                criminal proceedings brought against any person.
    2.	 Additional car means a car that you acquire by purchase
        or by a written lease of at least six (6) continuous months.      8.	   Declarations Page means the document from us listing:
                                                                                a.	 The type of coverages you have elected;
                                                                                b.	 The limit for each coverage;



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Personal Auto Policy (continued)


      c.	 The premium for each coverage;                                 17.	Substitute car means a car not owned by you or a
      d.	 The cars insured by this policy;                                   family member, but being temporarily used by you or
      e.	 The named insured; and                                             a family member as a substitute for a car listed on the
                                                                             Declarations Page only when that listed car is withdrawn
      f.	 Other policy information.
                                                                             from normal use because of breakdown, repair, servicing,
  9.	 Family member means a person who resides with you                      loss or destruction.
      and who is related to you by blood, marriage or adoption,
                                                                         18.	Utility trailer means a non-motorized vehicle that is
      including a ward or foster child. This also includes a minor
                                                                             designed to be towed by your insured car and it includes
      in the custody of you or of a person related to you who
                                                                             a farm wagon or farm implement while towed by a car on
      resides with you.
                                                                             public roads. Utility trailer does not mean:
  10.	Named insured means the person or persons listed on
                                                                             a.	 A trailer used as an office, store, display or any other
      the Declarations Page as the named insured.
                                                                                 business for commercial purposes;
  11.	Non-owned car means any car or utility trailer, other
                                                                             b.	 A passenger trailer;
      than your insured car, which is not owned by, furnished
      or available for regular use by you or a family member                 c.	 A trailer used as a primary residence; or
      while in the custody of or being operated by you or a                  d.	 A travel trailer or camper trailer.
      family member.                                                     19.	Your insured car means:
  12.	Occupying means:                                                       a.	 Any car listed on the Declarations Page of this policy;
      a.	 In;                                                                b.	 A replacement car;
      b.	 On;                                                                c.	 A substitute car;
      c.	 Getting into; or                                                   d.	 A rental car;
      d.	 Getting out of.                                                    e.	 An additional car; and
  13.	Personal Car Sharing Program means a business                          f.	 Any utility trailer:
      in which persons or legal entities are engaged in the                      (1) that you own, or
      business of facilitating the sharing of cars for temporary                 (2) if not owned by you, while attached to your
      use by individuals.                                                            insured car.
  14.	Property damage means physical injury to or destruction
      of tangible property, including loss of its use.                Part I – Liability Coverage
  15.	Rental car means any car or a utility trailer that is rented    Coverage A - Bodily Injury
      by you on a daily or weekly basis not to exceed thirty (30)     Coverage B - Property Damage
      consecutive days, provided that this car or utility trailer     A.	 Insuring Agreement - Bodily Injury and Property Damage
      is not owned by, furnished or available for regular use by          Coverage
      you or a family member.                                            We will pay damages for bodily injury or property damage
  16.	Replacement car means a car that you acquire to                    that any insured person is legally liable to pay as a result of
      replace any car listed on the Declarations Page, either            an accident to which this coverage applies. We will defend an
      by purchase, or by a written lease of at least six (6)             insured person against any covered suit or settle any claim
      continuous months.                                                 or lawsuit as we deem appropriate. Subject to the limits of
      a.	 You must:                                                      liability, damages we pay will include prejudgment interest
                                                                         awarded in a judgment against an insured person. Our duty
          (1) acquire the car during the policy period; and
                                                                         to defend or settle any suit will end after we have exhausted
          (2) notify us within thirty (30) days of its acquisition.      the limits of liability through payment of judgments or
      b.	 A replacement car will have the same coverage as               settlements.
          your insured car that it replaces.
      c.	 Coverage does not continue after thirty (30) days if
          you fail to notify us of the replacement.




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Personal Auto Policy (continued)


B.	 Additional Payments                                                     Insured person does not mean:
    We will also pay the following benefits for an insured person:          1.	 The United States of America or any of its agencies;
    1.	 Premiums on appeal bonds and bonds to release                       2.	 Any person for bodily injury or property damage arising
        attachments in any suit we defend; however, we are not                  from the operation of a car by that person as an employee
        obligated to apply for, furnish, or provide collateral or               of the United States Government when the provisions of
        security for any of the above bonds. We are not required                the Federal Tort Claims Act apply;
        to purchase a bond in an amount greater than our limit of           3.	 Any named excluded driver; or
        liability.                                                          4.	 Any person while operating a car that is available for hire
    2.	 Up to $300 for the cost of bail bonds required because of               or while using a car that is part of a Personal Car Sharing
        an accident or traffic law violation arising out of the use of          Program, a Commercial Ride-Sharing Program or a
        your insured car; however, we are not obligated to apply                similar arrangement.
        for, furnish, or provide collateral or security for any bonds.       Listed driver means a driver expressly rated on this policy to
        We are not required to purchase a bond in an amount                  operate your insured car and for whom a premium has been
        greater than our limit of liability.                                 paid to operate your insured car.
    3.	 Actual loss of wages or salary up to $50 a day, but not          D.	 Exclusions - What is Not Insured in Part I
        other income, when we ask an insured person to attend                1.	 We do not insure bodily injury or property damage
        a trial or hearing.                                                      arising out of the ownership, maintenance or operation of
    4.	 Reasonable expenses incurred by an insured person for                    your insured car while it is being used to carry persons
        first aid provided by the insured person to others at the                or property for compensation or a fee, including but not
        time of an accident involving any car insured under Part                 limited to the pick up or delivery or return from a pick up
        I - Liability Coverage.                                                  or delivery of:
    5.	 Post judgment interest that accrues on any damages                       a.	 Products;
        awarded in any suit we defend, which interest has                        b.	 Documents;
        accrued after judgment is entered and before we have
                                                                                 c.	 Newspapers; or
        paid, offered to pay, or deposited with the court that
        portion of the judgment that is not in excess of our limit               d.	 Food.
        of liability. We will not pay post judgment interest on any               This exclusion does not apply to a share-the-expense car
        portion of the judgment that exceeds our limits of liability.             pool.
    6.	 All costs we incur in settling any claim or defending any           2.	   We do not insure bodily injury or property damage
        lawsuit.                                                                  caused intentionally by or at the direction of any insured
    7.	 Other reasonable expenses, if incurred at our request.                    person, whether or not any person intended to cause
                                                                                  damage or injury of any nature.
C.	 Additional Definitions Used in This Part Only
    Insured person in Part I means:                                         3.	   We do not insure bodily injury or property damage with
                                                                                  respect to which any person is insured under a nuclear
   1.	 You or any family member or a listed driver;                               energy insurance policy. This exclusion applies even if the
   2.	 Any person using your insured car with your permission;                    limits of that policy are exhausted.
       or                                                                   4.	   We do not insure bodily injury to an employee of an
   3.	 Any other person or organization with respect only to                      insured person arising in the course of employment. This
       legal liability for acts or omissions of:                                  exclusion does not apply to bodily injury to a domestic
       a.	 Any person insured under Part I while using your                       employee except when workers' compensation benefits
           insured car, or                                                        are required or available for that domestic employee.
       b.	 You or any family member insured under Part I while              5.	   We do not insure bodily injury or property damage
           using any car, other than your insured car, if not                     resulting from an insured person's employment, or other
           owned or hired by that person or organization.                         involvement, in the business or occupation of:




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Personal Auto Policy (continued)


      a.	 transporting,                                                  12.	We do not insure charges, fees and administrative
      b.	 selling,                                                           expenses for services performed by law enforcement and
      c.	 repairing,                                                         municipal personnel when responding to an accident.
      d.	 servicing,                                                     13.	We do not insure bodily injury or property damage
                                                                             for any insured person who is using a car without a
      e.	 storing, or
                                                                             reasonable belief the insured person is entitled to do so.
      f.	 parking                                                            This exclusion does not apply to a family member using
      cars. This exclusion includes road testing and delivery of             your insured car that is owned by you.
      the cars.                                                          14.	We do not insure loss due to theft or conversion of your
  6.	 We do not insure bodily injury or property damage                      insured car, a non-owned car, or trailer:
      resulting from the use of a car by an insured person in                a.	 By you, a family member, or any resident of your
      an emergency occupation on a full-time, part-time, or                      household;
      volunteer basis. Such occupations include, but are not
                                                                             b.	 Prior to its delivery to you or a family member; or
      limited to, fire-fighting, police or ambulance activities.
      However, this exclusion does not apply to a car listed on              c.	 While in the care, custody, or control of anyone
      the Declarations Page or any replacement car.                              engaged in the business of selling the car or trailer.
  7.	 We do not insure property damage to property:                      15.	We do not insure bodily injury or property damage:
      a.	 owned by;                                                          a.	 Caused by, or reasonably expected to result from, a
                                                                                 criminal act or omission of an insured person. This
      b.	 being transported by;
                                                                                 exclusion applies regardless of whether that insured
      c.	 rented to; or                                                          person is actually charged with or convicted of a
      d.	 in the charge of                                                       crime. For purposes of this exclusion, criminal acts or
      an insured person. This exclusion does not apply to                        omissions do not include traffic violations;
      property damage to a residence or private garage rented                b.	 Arising out of the use or operation by an insured
      by that person.                                                            person of any car while it is being used to flee a law
  8.	 We do not insure bodily injury or property damage                          enforcement agent or crime scene.
      arising out of the ownership, maintenance or use of any            16.	We do not insure bodily injury or property damage for
      motorized vehicle with less than four wheels.                          any accident that occurs while your insured car or any
  9.	 We do not insure bodily injury or property damage                      car is in a Personal Car Sharing Program, a Commercial
      arising out of the ownership, maintenance or use of any                Ride-Sharing Program or a similar arrangement. This
      car, other than your insured car, which is owned by,                   exclusion does not apply to a share-the-expense car pool.
      furnished or available for regular use by you or a family      E.	 Limits of Liability
      member.
                                                                        The limits of liability shown on your Declarations Page apply
  10.	We do not insure bodily injury or property damage                 subject to the following:
      resulting from liability assumed under any contract or
      agreement. This exclusion does not apply to liability you         1.	 The bodily injury liability limit for "Each Person" is
      assume in a written contract relating to the use of a rental          the maximum for bodily injury sustained by one
      car or a substitute car.                                              person in one accident. All claims of others derived
                                                                            from such bodily injury, including but not limited to,
  11.	We do not insure bodily injury or property damage
                                                                            emotional injury, mental anguish, loss of society, loss of
      resulting from an insured person participating, or your
                                                                            companionship, loss of services, loss of consortium and
      insured car being used, in any racing, speed, demolition,
                                                                            wrongful death are included in the "Each Person" limit.
      stunt or performance driving contest, demonstration,
      instruction or activity, or in practice or preparation for        2.	 Subject to the bodily injury liability limit for "Each
      any such activity or while operating on a driving track               Person", the bodily injury liability limit for "Each
      designed for racing or high performance driving.                      Accident" is the maximum combined amount for bodily
                                                                            injury sustained by two or more persons in one accident.




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Personal Auto Policy (continued)


   3.	 The property damage liability limit for "Each Accident"                b.	 the amount of that obligation has been finally
       is the maximum for all property damage sustained to all                    determined by judgment after trial.
       property in any one accident.                                      2.	 No person or organization has any right under this policy
   4.	 The limits of liability shown on the Declarations Page for             to bring us into any action brought to determine the
       bodily injury and property damage are the most we will                 liability of an insured person.
       pay regardless of the number of:                               G.	 Conformity with Financial Responsibility Laws
       a.	 Claims made;                                                   When we certify this policy as proof under any financial
       b.	 Your insured cars;                                             responsibility law, it will comply with the law to the extent of
       c.	 Insured persons;                                               the coverage required by law.
       d.	 Lawsuits brought;                                          H.	 Out of State Coverage
       e.	 Cars involved in the accident; or                              1.	 If an accident to which this policy applies occurs in
       f.	 Premiums paid.                                                     any state or province other than the one in which your
                                                                              insured car is principally garaged, and if a statute of
   5.	 If the Declarations Page shows that a combined single
                                                                              that accident state or province that is applicable to us
       limit or "CSL" applies, the amount shown is the most
                                                                              deems out-of-state vehicle liability policies issued by us to
       we will pay for all bodily injury and property damage
                                                                              provide particular forms or limits of coverage not provided
       resulting from any one accident regardless of the number
                                                                              for in this policy when your insured car is involved in an
       of:
                                                                              accident in that state, then for purposes of that accident
       a.	 Claims made;
                                                                              only, we will interpret your policy as providing the
       b.	 Your insured cars;                                                 additional minimum coverage(s) deemed to be provided,
       c.	 Insured persons;                                                   at the minimum amounts permitted by law, and subject to
       d.	 Lawsuits brought;                                                  the exclusions set forth in this policy.
       e.	 Cars involved in the accident; or                              2.	 Our obligation to pay such coverage shall be reduced by
       f.	 Premiums paid.                                                     all other available insurance, to the extent permitted by
                                                                              the law of the other state.
        All claims of others derived from such bodily injury,
        including, but not limited to, emotional injury, mental           3.	 Nothing contained herein constitutes a choice of law
        anguish, loss of society, loss of companionship, loss                 provision or consents to the application of the law of any
        of services, loss of consortium and wrongful death are                particular state or province.
        included in the "CSL" limit.                                  I.	 Other Insurance
    6.	 No person is entitled to duplicate payments for the same          1.	 If there is other applicable auto liability insurance on
        elements of damages from this policy or any other policy.             any other policy that applies to an accident insured
        Any amount payable to a person for liability coverage shall           under Part I, we will pay only our share. Our share is the
        be reduced by all sums paid or payable to that person or              proportion that our limits of liability bear to the total of
        for their benefit under any uninsured or underinsured                 all applicable limits. However, the total amount payable
        motorist coverage, medical payments coverage, or                      among all such policies will not exceed the limits provided
        physical damage coverage.                                             by the single policy with the highest limits of liability.
    7.	 Stacking or aggregation of liability coverage limits for          2.	 Any insurance we provide under this policy for a non-
        bodily injury or property damage is not permitted by                  owned car shall be excess over any other collectible
        this policy.                                                          insurance. The highest limits of liability shown on the
F.	 Legal Action Against Us                                                   Declarations Page of this policy for any one your
    1.	 Under Part I - Liability Coverage, no legal action may be             insured car will apply.
        brought against us until:
        a.	 we agree in writing that the insured person has an
             obligation to pay; or




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Personal Auto Policy (continued)


Part II - Uninsured Motorist Coverage                                            the insured person is legally entitled from the owner
Coverage C - Uninsured Motorist Coverage                                         or operator of that vehicle.
A.	 Insuring Agreement - Uninsured Motorist Bodily Injury                     An uninsured motor vehicle does not mean any vehicle:
    Coverage                                                                  a.	 Owned by you or a family member or furnished
    If a limit for this coverage is shown on your Declarations                    or available for the regular use of you or a family
    Page, we will pay damages an insured person is legally                        member;
    entitled to recover from the owner or operator of an                      b.	 That is your insured car;
    uninsured motor vehicle because of bodily injury sustained                c.	 Owned or operated by a self-insured as contemplated
    by an insured person, caused by an accident, and arising out                  by any financial responsibility law, or similar law,
    of the ownership, maintenance or use of an uninsured motor                    except
    vehicle.
                                                                                  i.	 a self-insured who is or becomes insolvent; or
B.	 Additional Definitions Used In This Part Only
                                                                                  ii.	 a self-insured which is a governmental unit or
    1.	 Insured person in Part II means:                                               agency;
          a.	 You or any family member;                                       d.	 Operated by a person who intentionally causes the
          b.	 Any person while occupying your insured car, or                     accident or occurrence and whose liability insurance
          c.	 Any person who is entitled to recover damages                       coverage is denied because of an intentional act
              covered by Part II because of bodily injury sustained               exclusion;
              by a person described in a or b above.                          e.	 Operated on rails or crawler treads;
       But, no person shall be considered an insured person if                f.	 That is a farm-type tractor or equipment designed
       the person uses a vehicle without having sufficient reason                 principally for use off public roads, except while being
       to believe that the use is with permission of the owner.                   used upon public roads;
       Insured person does not mean:                                          g.	 While located for use as a residence or premises or
       Any person while operating a car that is available for hire                office; or
       or while using a car that is part of a Personal Car Sharing            h.	 That is not required to be registered as a motor
       Program, a Commercial Ride-Sharing Program or a                            vehicle.
       similar arrangement.                                            C.	 Exclusions - What is Not Insured in Part II
   2.	 Uninsured motor vehicle means a motor vehicle of any               We do not provide uninsured motorist coverage for any
       type:                                                              insured person for:
       a.	 To which no bodily injury liability bond or policy             1.	 The direct or indirect benefit of any insurer or self-insurer
           applies at the time of the accident;                               under any of the following or similar laws or funds:
       b.	 To which a bodily injury liability bond or policy                  a.	 Workers' compensation law;
           applies at the time of the accident, but the bonding or
                                                                              b.	 Disability benefits law; or
           insuring company:
                                                                              c.	 The State Accident Insurance Fund.
           (1) denies coverage, or
                                                                          2.	 Bodily injury sustained by any family member while
           (2) is or becomes insolvent or otherwise unable to pay
                                                                              occupying or when struck by any vehicle owned by
               motor vehicle liability insurance claims;
                                                                              you that is insured for uninsured motorist coverage on a
       c.	 Which is a hit-and-run vehicle whose owner or                      primary basis under any other policy.
           operator cannot be identified and which causes an
                                                                          3.	 Bodily injury sustained by an insured person while
           accident resulting in bodily injury; or
                                                                              using, occupying or when struck by a car of any type that
       d.	 To which a bodily injury liability bond, policy, or                is designed to be operated on the public roads and that
           security applies at the time of the accident, but the              is owned by you or a family member or furnished for or
           sum of all applicable limits of liability under all valid          available for regular use if that car is uninsured for this
           and collectible bonds, policies and securities provides            coverage.
           coverage in amounts less than the damages to which



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Personal Auto Policy (continued)


  4.	 Bodily injury arising out of the ownership, maintenance           11.	Attorney's fees or litigation expenses including those
      or operation of your insured car while it is being used               that result from any lawsuit where punitive or exemplary
      to carry persons or property for compensation or a fee,               damages were awarded.
      including but not limited to the pick up or delivery or       D.	 Additional Duties for Part II - Uninsured Motorist
      return from a pick up or delivery of:                             Coverage
      a.	 Products;                                                     An insured person must comply with the following
      b.	 Documents;                                                    provisions:
      c.	 Newspapers; or                                                1.	 Any judgment or settlement for damages against an
      d.	 Food.                                                             owner or operator of an uninsured motor vehicle
      This exclusion does not apply to a share-the-expense car              that arises out of a lawsuit brought without our written
      pool.                                                                 consent is not binding on us unless we:
  5.	 Bodily injury when an insured person is using a car                   a.	 Received from the insured person reasonable notice
      without a reasonable belief that the person is entitled to                 of the suit that resulted in the judgment; and
      do so. This exclusion does not apply to a family member               b.	 Had a reasonable opportunity to protect our interests
      using your insured car that is owned by you.                               in the suit.
  6.	 Bodily injury for which insurance is afforded under a             2.	 When the insured person informs us of a settlement
      nuclear energy liability insurance policy or would be                 offer, if any, proposed by or on behalf of the owner or
      afforded under a nuclear energy liability insurance policy            driver of the uninsured motor vehicle, the insured
      but for its termination upon exhaustion of its limit of               person must request our written consent to accept such
      liability.                                                            settlement offer.
  7.	 Bodily injury resulting from an insured person                        a.	 If we consent in writing, then the insured person may
      participating in or your insured car being used in any                     accept such settlement offer.
      racing, speed, demolition, stunt or performance driving               b.	 If we inform the insured person in writing that we do
      contest, demonstration, instruction or activity, or in                     not consent, then the insured person may not accept
      practice or preparation for any such activity or while                     such settlement offer and:
      operating on a driving track designed for racing or high                   (1) We will make payment to the insured person in
      performance driving.                                                            an amount equal to such settlement offer. This
  8.	 Bodily injury:                                                                  payment is considered a payment made by or on
      a.	 Caused by, or reasonably expected to result from, a                         behalf of the owner or driver of the uninsured
          criminal act or omission of an insured person. This                         motor vehicle; and
          exclusion applies regardless of whether that insured                   (2) Any recovery from or on behalf of the owner or
          person is actually charged with, or convicted of, a                         driver of the uninsured motor vehicle shall first
          crime. For purposes of this exclusion, criminal acts or                     be used to repay us.
          omissions do not include traffic violations.                  3.	 An insured person must take all necessary steps to
      b.	 Arising out of the operation of any car by an insured             protect our right of subrogation, which may include the
          person while it is being used to flee a law enforcement           filing of a suit against an uninsured motorist. Any suit filed
          agent or crime scene.                                             by an insured person must be filed within the applicable
  9.	 Bodily injury for any accident that occurs while your                 statute of limitations. If we make a payment and the
      insured car or any car is in a Personal Car Sharing                   insured person recovers from another party, the insured
      Program, a Commercial Ride-Sharing Program or a                       person shall hold the proceeds in trust for us and pay us
      similar arrangement. This exclusion does not apply to a               back the amount we have paid.
      share-the-expense car pool.                                       4.	 A person seeking Uninsured Motorist Coverage under
  10.	Punitive or exemplary damages.                                        this policy must also submit to physical examinations at
                                                                            our expense by doctors we select as often as we may
                                                                            reasonably require.



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Personal Auto Policy (continued)


    5.	 Any action brought against us pursuant to this coverage          insured person that exceed this statutory limitation of
        must be brought in the county in which the person                liability.
        seeking benefits resides or in the United States District    4.	 No one will be entitled to duplicate payments for the
        Court serving that county.                                       same elements of damages under this or any other policy.
E.	 Limits of Liability                                                  Additionally, the limits of liability under Part II will be
    1.	 If your Declarations Page shows a "split limit" for              reduced by all sums paid or payable:
        Uninsured Motorist Coverage:                                     a.	 Because of bodily injury by or on behalf of any
        a.	 The amount shown for "Each Person" is the most we                persons or organizations that may be legally
             will pay for all damages due to bodily injury to an             responsible;
             insured person.                                             b.	 Under Part I - Liability Coverage;
        b.	 All claims of others derived from such bodily injury,        c.	 Under Part III - Medical Expense Coverage;
             including, but not limited to:                              d.	 As a result of bodily injury under any workers'
             (1) Emotional injury;                                           compensation law, disability benefits law or any
             (2) Mental anguish;                                             similar law.
             (3) Loss of society;                                    5.	 LIMITATIONS ON STACKING COVERAGES
             (4) Loss of companionship;                                  IF YOU HAVE MORE THAN ONE MOTOR VEHICLE
             (5) Loss of services;                                       INSURED WITH US AND, IF YOU OR ANY OTHER
                                                                         INSURED PERSON IS IN AN ACCIDENT:
             (6) Loss of consortium; and
             (7) Wrongful death                                         A) IN YOUR INSURED CAR - WE WILL NOT PAY MORE
             are included in the "Each Person" limit.                      THAN THE UNINSURED MOTORIST LIMIT OF
                                                                           COVERAGE SHOWN ON THE DECLARATIONS PAGE
       c.	 Subject to the "Each Person" limit, the amount shown            FOR THAT PARTICULAR INSURED CAR.
            for "Each Accident" is the most we will pay for all
                                                                        B) IN A MOTOR VEHICLE OTHER THAN YOUR INSURED
            damages due to bodily injury sustained by two or
                                                                           CAR OR WHILE A PEDESTRIAN - WE WILL NOT PAY
            more insured persons in any one accident.
                                                                           FOR MORE THAN THE UNINSURED MOTORIST LIMIT
       d.	 The limits of liability shown on the Declarations Page          OF COVERAGE WHICH YOU HAVE ON ANY ONE OF
            for Uninsured Motorist Coverage are the most we will           YOUR INSURED CARS.
            pay regardless of the number of:                            COVERAGE ON OTHER MOTOR VEHICLES INSURED
            (1) Claims made;                                            BY US CANNOT BE ADDED TO OR STACKED ON THE
            (2) Insured cars;                                           COVERAGE OF YOUR INSURED CAR THAT COVERS THE
            (3) Insured persons;                                        LOSS.
            (4) Lawsuits brought;                                       THESE LIMITS OF COVERAGE APPLY REGARDLESS
            (5) Motor vehicles involved in the accident; or             OF THE NUMBER OF POLICIES, INSURED PERSONS,
            (6) Premiums paid.                                          YOUR INSURED CARS, CLAIMS MADE, CLAIMANTS, OR
                                                                        MOTOR VEHICLES INVOLVED IN THE ACCIDENT.
   2.	 We will not pay under Part II any expenses paid or
       payable under any medical or disability benefits coverage        WE WILL PAY NO MORE THAN THE MAXIMUM LIMITS OF
       applicable to the uninsured motor vehicle and                    THIS COVERAGE, AS SHOWN IN THE DECLARATIONS
       collectible from the insurer of such vehicle.                    PAGE OF THIS POLICY, FOR ANY PERSON OR VEHICLE
   3.	 If an insured person suffers actual damages for bodily           INSURED UNDER THIS PART FOR ANY ONE ACCIDENT
       injury caused by an accident with a motor vehicle owned          OR OCCURRENCE REGARDLESS OF THE NUMBER OF:
       by a governmental unit or agency, whether self-insured or        1.	 VEHICLES OR PREMIUMS SHOWN IN THE
       not, that is subject to the statutory limitation of damages          DECLARATIONS PAGE;
       contained in NRS 41.035, then we will pay up to the limits       2.	 VEHICLES INSURED;
       of this coverage for the actual damages suffered by the          3.	 INSURED PERSONS;



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       4.	 CLAIMS OR CLAIMANTS;                                             a.	   Medical record reviews;
       5.	 POLICIES; OR                                                     b.	   Computer databases;
       6.	 VEHICLES INVOLVED IN THE ACCIDENT OR                             c.	   Published sources of medical expense information;
           OCCURRENCE.                                                      d.	   Utilization reviews;
       THE LIMITS PROVIDED BY THIS POLICY FOR THIS                          e.	   Peer reviews;
       COVERAGE MAY NOT BE STACKED, AGGREGATED, OR                          f.	   Medical bill reviews; or
       OTHERWISE COMBINED WITH THE LIMITS PROVIDED
                                                                            g.	   Medical examinations by physicians that we will
       BY ANY OTHER POLICY ISSUED TO YOU OR A FAMILY
                                                                                  select.
       MEMBER BY US OR BY ANY OTHER MEMBER OF THE
       FARMERS INSURANCE GROUP OF COMPANIES.                                At our expense, we may employ or enter into contract
                                                                            with an independent medical consultant(s) to assist us in
        THE LIMITS ARE NOT INCREASED BY INSURING                            determining whether all or any portion of any claim are
        ADDITIONAL VEHICLES, EVEN THOUGH A SEPARATE
                                                                            reasonable expenses and necessary medical services.
        PREMIUM FOR EACH VEHICLE IS SHOWN ON THE
                                                                            We may submit to such a consultant any medical
        DECLARATIONS PAGE.                                                  records, reports, bills, statements, results of tests and
F.	 Other Insurance                                                         examinations, and any other documentation or material
    1.	 If there is other applicable insurance available under one          we deem appropriate.
        or more policies or provisions of coverage that is similar       3.	 Additionally, we have the right to enter into a contract
        to the insurance being provided under Part II of this                with a third party who has an agreement with the insured
        policy, any recovery for damages under all such policies             person's medical provider to charge fees as determined
        or provisions of coverage may equal but not exceed the               by that agreement.
        highest applicable limit for any one motor vehicle under
                                                                     B.	 Unreasonable or Unnecessary Medical Expenses
        any one policy providing coverage on either a primary or
        excess basis.                                                    1.	 Upon conclusion of our review of medical expenses, we
                                                                             may refuse to pay for medical expenses that we determine
    2.	 The coverage provided by this policy is excess over any
                                                                             to be unreasonable or unnecessary because:
        other collectible auto uninsured motorist insurance
        coverage provided by any other policy which applies to               a.	 The fee for the services is greater than the fee for
        the same accident or occurrence.                                          reasonable expenses; or
                                                                             b.	 The services provided for the treatment of bodily
Part III - Medical Expense Coverage                                               injury are not necessary medical services.
A.	 Insuring Agreement - Medical Expense Coverage                        2.	 If a medical service provider files suit against an insured
    1.	 Subject to the limit of liability shown on your                      person after we have determined their fees are
        Declarations Page, if you have paid the premium for                  unreasonable or unnecessary, we will pay any resulting
        this coverage, we will pay the reasonable expenses for               defense costs, and any resulting judgment against the
        necessary medical services and funeral services:                     insured person, subject to the limit of liability for this
                                                                             coverage if:
        a.	 Because of bodily injury;
                                                                             a.	 The insured person has paid the entire disputed
        b.	 Caused by an accident; and
                                                                                  amount to the provider; or
        c.	 Sustained by an insured person.
                                                                             b.	 The provider has begun collection activity against the
       Medical services must be provided within three (3) years                   insured person for the amounts that we determined
       from the date of the accident.                                             were unnecessary or unreasonable.
   2.	 We have the right to review all medical expenses                     When we defend, we will choose counsel and we will pay
       submitted on behalf of an insured person and to                      reasonable expenses that the insured person incurs at
       determine what are reasonable expenses and                           our request, including loss of earnings up to $50 per day
       necessary medical services. We have the right to also                for the insured person to attend any court hearing.
       use third party sources of information selected by us, and
       sources may include, but are not limited to:



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C.	 Additional Definitions Used in This Part Only                               (5) Memberships in health clubs, or
    1.	 Insured person, in Part III, means:                                     (6) Medical reports unless requested by us.
        a.	 You or any family member:                                   3.	 Reasonable expenses mean an amount for a medical
            (1) While occupying any car; or                                 service that is the lowest of:
            (2) When struck as a pedestrian by a car; or                    a.	 The charges that are usual and customary among
        b.	 Any other person while occupying your insured car                   providers of similar necessary medical services in
            with permission of the owner.                                       the region in which those services are provided;
                                                                            b.	 Any fee schedule applicable to the type of necessary
       Insured person does not mean:
                                                                                medical services that were provided in the State
       Any person while operating a car that is available for hire              where the services were provided, including but
       or while using a car that is part of a Personal Car Sharing              not limited to, fee schedules applicable to no-fault
       Program, a Commercial Ride-Sharing Program or a                          benefits, personal injury protection benefits and
       similar arrangement.                                                     medical payments coverage;
   2.	 Necessary medical services mean prescribed medical                   c.	 The amount agreed upon between the insured
       services which are reasonable, customary and necessary                   person's medical provider and any third party
       for treatment of the bodily injury, including the number                 concerning charges for medical expenses, if we have a
       and duration of treatments in the region in which                        contract with that third party;
       those services are provided. The services are limited to
                                                                            d.	 The fees that are agreed to by the medical provider
       medical, surgical, dental, x-ray, ambulance, hospital and
                                                                                and us;
       professional nursing, and funeral services; and include
       the cost of pharmaceuticals, orthopedic and prosthetic               e.	 If applicable, the amount that Medicare paid to the
       devices, eyeglasses, and hearing aids. We will reimburse                 insured person's health care provider for medical
       you for any necessary medical services covered under                     expenses; or
       this Part already paid by you.                                       f.	 The amount that the insured person's medical
                                                                                provider agreed to accept from the insured person's
       Necessary medical services do not mean:
                                                                                health insurance carrier.
       a.	 Treatment, services, products, or procedures that are:           We will reimburse you for any reasonable expenses
           (1) Experimental in nature, for research, or not                 covered under this Part already paid by you.
               primarily designed to serve a medical purpose, or     D.	 Exclusions - What Is Not Insured In Part III
           (2) Not commonly and customarily recognized
                                                                        We do not provide Medical Expense Coverage for any
               throughout the medical profession and within the
                                                                        insured person for bodily injury:
               United States as appropriate for the treatment of
               bodily injury; or                                        1.	 Arising out of the ownership, maintenance or operation of
       b.	 The use of:                                                      your insured car while it is being used to carry persons
                                                                            or property for compensation or a fee, including but not
           (1) Thermography or other related procedures of a
                                                                            limited to the pick up or delivery or return from a pick up
               similar nature, or
                                                                            or delivery of:
           (2) Acupuncture or other related procedures of a
                                                                            a.	 Products;
               similar nature; or
                                                                            b.	 Documents;
       c.	 Purchase, rental cost, or use of:
                                                                            c.	 Newspapers; or
           (1) Hot tubs, spas, water beds,
                                                                            d.	 Food.
           (2) Exercise equipment,
                                                                            This exclusion does not apply to a share-the-expense car
           (3) Heating or vibrating devices,
                                                                            pool.
           (4) Furniture or equipment not primarily designed to
                                                                        2.	 Sustained while occupying any car while it is being used
               serve a medical purpose,
                                                                            as a residence or premises.




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  3.	 Sustained while occupying a motorized vehicle other               15.	Sustained by any person while occupying your insured
      than a car.                                                           car without the express or implied permission of you or a
  4.	 Sustained while occupying or when struck by any car                   family member. This exclusion does not apply to a family
      other than your insured car that is owned by you or a                 member using your insured car which is owned by you.
      family member or furnished or available for your or a             16.	Sustained by you or a family member while occupying
      family member's regular use.                                          a non-owned car without the express or implied
  5.	 Sustained while occupying any your insured car while                  permission of the owner.
      used in employment in an emergency occupation,                    17.	Sustained while your insured car or any car is in
      including but not limited to fire fighting, police, and               a Personal Car Sharing Program, a Commercial
      ambulance activities.                                                 Ride-Sharing Program or a similar arrangement. This
  6.	 Sustained while occupying any vehicle, other than a car               exclusion does not apply to a share-the-expense car pool.
      listed on the Declarations page, which is one of a fleet or       18.	Sustained while occupying a car other than a car listed
      pool of vehicles provided for the use of an insured person            on the Declarations Page while the car is being used in
      in the course of his or her employment.                               the business of an insured person.
  7.	 Due to medical conditions or illnesses not causally related   E.	 Additional Duties for Part III - Medical Expense Coverage
      to an accident.                                                   In addition to the terms and conditions of this policy and
  8.	 Occurring during the course and scope of employment if            in addition to compliance with Part V - Duties After an
      workers' compensation or disability benefits are required         Accident and General Conditions, an insured person
      or available for the bodily injury.                               seeking coverage under Part III of this policy must also comply
  9.	 Caused by:                                                        with the following provisions:
      a.	 war (declared or undeclared);                                1.	 Authorize us to obtain:
      b.	 civil war;                                                       a.	 Medical records or reports;
      c.	 insurrection;                                                    b.	 Any documents we indicate are necessary to
      d.	 rebellion;                                                           investigate and process the claim; and
      e.	 revolution;                                                      c.	 Event data recorders and/or sensing and diagnostic
                                                                               modules or any other recording device for the purpose
      f.	 nuclear reaction, radiation, or radioactive
                                                                               of retrieving data following an accident.
           contamination;
                                                                       2.	 Submit, as often as we reasonably require, to a request for
      g.	 chemical or biological contamination; or
                                                                           production of documents at the time of an examination
      as a consequence of any of these.                                    under oath and any other time, and allow the copying
  10.	Caused during active participation in any racing, speed,             of any documents we or our designated representative
      demolition, stunt or performance driving contest,                    requests. This includes, but is not limited to, all
      demonstration, instruction or activity, or in practice or            documents concerning your income (payroll records,
      preparation for any such activity or while operating on              profit and loss statements, etc.), finances, credit, and
      a driving track designed for racing or high performance              any other documents we indicate are reasonable and
      driving.                                                             necessary to investigate and process your claim. Such
  11.	When medical expenses are paid or payable by any                     documents must be provided to us or our designated
      governmental entity.                                                 representative in a timely manner, and if requested, prior
  12.	Caused by or resulting from mold, fungi or bacteria.                 to an examination under oath.
  13.	Caused intentionally by, or at the direction of, an insured      3.	 As required by the law of the state in which this policy was
      person, whether or not such person intended to cause                 issued, submit to physical examinations at our expense by
      damage or bodily injury of any nature.                               doctors we select as often as we may reasonably require.
  14.	To any person while in the commission of a felony or while       Any expense, if reasonable and incurred by an insured
      attempting to flee a law enforcement agent or crime              person at our request, will be paid by us.
      scene.



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F.	 Limits of Liability                                                            1.	   CARS DESCRIBED IN THE DECLARATIONS PAGE;
    1.	 The limit of liability for the coverage provided by Part                   2.	   YOUR INSURED CARS;
        III to any one insured person is the limit shown for this                  3.	   INSURED PERSON(S);
        coverage on the Declarations Page.                                         4.	   CLAIMS;
    2.	 The limit of liability for funeral expenses shall not exceed               5.	   CLAIMANTS;
        $2,000 per person.
                                                                                   6.	   POLICIES; OR
    3.	 No one will be entitled to receive duplicate payments for
                                                                                   7.	   CARS INVOLVED IN THE ACCIDENT OR
        the same elements of loss under this Part and any other
                                                                                         OCCURRENCE THAT TRIGGERS THIS COVERAGE.
        Part of this policy. Additionally, the limits of liability under
        Part III will be reduced by all sums paid and payable:                     THE LIMITS OF THIS COVERAGE INDICATED FOR THIS
                                                                                   COVERAGE IN THE DECLARATIONS PAGE MAY NOT BE
        a.	 Because of bodily injury by or on behalf of any
                                                                                   STACKED, AGGREGATED, OR OTHERWISE COMBINED
             persons or organizations that may be legally
                                                                                   WITH THE LIMITS OF THIS OR SIMILAR COVERAGE
             responsible;
                                                                                   PROVIDED BY ANY OTHER POLICY ISSUED TO ANY
        b.	 Under Part I - Liability Coverage;                                     INSURED PERSON BY US OR BY ANY OTHER MEMBER
        c.	 Under Part II - Uninsured Motorist Coverage; or                        OF THE FARMERS INSURANCE GROUP OF COMPANIES.
        d.	 As a result of bodily injury under any workers'                         THE LIMITS ARE NOT INCREASED BY INSURING
             compensation law, disability benefits law or any                       ADDITIONAL CARS, EVEN THOUGH A SEPARATE
             similar law.                                                           PREMIUM FOR EACH CAR IS SHOWN ON THE
    4.	 LIMITATIONS ON STACKING COVERAGES                                           DECLARATIONS PAGE.
        IF YOU HAVE MORE THAN ONE MOTOR VEHICLE                            G.	 Other Insurance
        INSURED WITH US AND, IF YOU OR ANY OTHER                               If there is other applicable medical insurance on any other
        INSURED PERSON IS IN AN ACCIDENT:                                      policy that applies to a loss insured under Part III, we will pay
        A) IN YOUR INSURED CAR - WE WILL NOT PAY MORE                          only our share. Our share is the proportion that our limit
                                                                               of liability bears to the total of all applicable limits for the
           THAN THE MEDICAL EXPENSE LIMIT OF COVERAGE
                                                                               Medical Expense Coverage. Any Medical Expense Coverage
           SHOWN ON THE DECLARATIONS PAGE FOR THAT
                                                                               we provide to any insured person for an accident involving
           PARTICULAR INSURED CAR.
                                                                               a non-owned car or trailer will be excess over any other
        B) IN A MOTOR VEHICLE OTHER THAN YOUR INSURED                          collectible insurance.
           CAR OR WHILE A PEDESTRIAN - WE WILL NOT PAY
                                                                               If any applicable insurance other than this policy is issued
           FOR MORE THAN THE MEDICAL EXPENSE LIMIT OF
                                                                               to an insured person by us or any other insurer, the total
           COVERAGE WHICH YOU HAVE ON ANY ONE OF
                                                                               amount payable among all such policies shall not exceed the
           YOUR INSURED CARS.                                                  limits provided by the single policy with the highest limit of
        COVERAGE ON OTHER MOTOR VEHICLES INSURED                               liability.
        BY US CANNOT BE ADDED TO OR STACKED ON THE                         H.	 Our Right to Recover Payment
        COVERAGE OF YOUR INSURED CAR THAT COVERS THE                           When an insured person has been paid medical expenses
        LOSS.                                                                  by us under this policy and also recovers medical expenses
        THESE LIMITS OF COVERAGE APPLY REGARDLESS                              from another, to the extent that state law permits, the amount
        OF THE NUMBER OF POLICIES, INSURED PERSONS,                            recovered from the other must be held by that insured
        YOUR INSURED CARS, CLAIMS MADE, CLAIMANTS, OR                          person in trust for us and reimbursed to us to the extent of
        MOTOR VEHICLES INVOLVED IN THE ACCIDENT.                               our payment.
        WE WILL PAY NO MORE THAN THE MAXIMUM LIMITS
        OF THIS COVERAGE INDICATED FOR THIS COVERAGE
        IN THE DECLARATIONS PAGE REGARDLESS OF THE
        NUMBER OF:




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Personal Auto Policy (continued)


Part IV - Damage to Your Car                                                          (5) Fluid delivery, including the cost of fuel, oil, water
A.	 Insuring Agreement                                                                    or other fluids. We will pay for the cost of fuel,
                                                                                          once per your insured car per policy period.
    1.	 Coverage F - Comprehensive Coverage
                                                                                  b.	 Service Call Conditions are as follows:
       Subject to the limits of liability, we will pay for a loss to
                                                                                      (1) Towing to dislodge the car from its place of
       your insured car, its additional equipment and
                                                                                          disablement must be within 100 feet of a public
       any non-owned car caused by any direct, sudden and                                 street or highway;
       accidental means other than collision, less any applicable                     (2) Labor must be performed at the place of
       deductibles, if Comprehensive Coverage is shown on                                 mechanical disablement;
       your Declarations Page. Any deductible amount will
                                                                                      (3) We do not pay for the cost of fuel that exceeds
       apply separately to each loss. If loss to more than one
                                                                                          more than once per your insured car per policy
       your insured car or non-owned car results from the
                                                                                          period;
       same insured loss, only the lowest applicable deductible
       will apply.                                                                    (4) We do not pay for the cost for tires, fuel, belts,
                                                                                          keys, parts or tools associated with the service or
       If breakage of glass results, you may elect to have it                             labor being performed; and
       treated as loss caused by collision.
                                                                                      (5) Any service costs in an amount in excess of our
   2.	 Coverage G - Collision Coverage                                                    maximum per disablement limit must be paid
       Subject to the limits of liability, we will pay for loss to your                   directly to the service provider by you at the time
       insured car, its additional equipment and any non-                                 of service.
       owned car caused by any direct, sudden and accidental                      c.	 Towing and Road Service Coverage does not apply to:
       collision, less any applicable deductibles, if Collision                       (1) recreational vehicles,
       Coverage is shown on your Declarations Page. Any
                                                                                      (2) motorhomes,
       deductible amount will apply separately to each loss. If
       loss to more than one your insured car or non-owned                            (3) towed cars,
       car results from the same collision, only the lowest                           (4) motorcycles, or
       applicable deductible will apply.                                              (5) stored cars
       In addition, we will pay, without applying the deductible,                     even if the car is considered to be your insured car.
       the reasonable cost to replace any child safety seat               B.	 Additional Definitions Used in This Part Only
       damaged in an accident to which this coverage applies.                 1.	 Actual Cash Value means the fair and reasonable cash
   3.	 Coverage H - Towing and Road Service Coverage                              price for which property can be repaired or replaced in
       a.	 If your Declarations Page shows Towing and Road                        the marketplace at the time of loss. The price includes an
           Service Coverage, then subject to a maximum limit                      allowance for depreciation, physical deterioration and
           of $150 for each disablement and subject to the                        obsolescence.
           Service Call Conditions and exceptions in this Insuring            2.	 Additional equipment means any furnishing or
           Agreement, if your insured car becomes disabled                        equipment that is permanently attached to your insured
           and you need help, we are providing you access                         car and common to its use, but is not the car's factory
           to 24-hour toll-free assistance. Service includes                      available furnishing or equipment.
           the towing and labor costs related to a mechanical                     a.	 This includes, but is not limited to:
           disablement for:                                                           (1) Any video, electronic sound reproducing or
           (1) Towing;                                                                    transmitting equipment, and its component
           (2) Jump starts;                                                               parts, media and data, including but not limited to
           (3) Tire changes;                                                              DVD, Game System or MP3 player;
           (4) Lock-out service; and                                                  (2) Any painted, chrome or finished surface, whether
                                                                                          refinished in whole or in part, of any car insured




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              under this Part where the claim exceeds the cost of                    (d) breakage, except breakage to glass
              duplicating the car's factory applied surface finish;                       permanently attached to your insured car or
          (3) Tires, wheels, rims, spinners, grilles, louvers,                            breakage of internal additional equipment,
              side pipes, hood scoops or spoilers or any                                  whether attached or not; or
              exterior surface, body or exhaust equipment, or                   (6) Newly acquired additional equipment unless
              modification thereto, which exceeds the cost of                        you report such items to us within thirty (30) days
              repairing or replacing the car's factory available                     after you have taken delivery and we agree to
              equipment;                                                             provide coverage.
          (4) Any engine, transmission or suspension parts, or        3.	   Collision means the upset of your insured car or non-
              modification thereto, which exceeds the cost of               owned car or its impact with another car or object.
              repairing or replacing the car's factory available            Collision does not mean loss caused by or due to:
              equipment;                                                    a.	 Missiles;
          (5) GPS navigational systems;                                     b.	 Falling objects;
          (6) Special carpeting, insulation, wall paneling,                 c.	 Fire;
              furniture or bars;                                            d.	 Theft or larceny;
          (7) Facilities for cooking or sleeping including                  e.	 Explosion;
              enclosures or bathroom facilities;
                                                                            f.	 Earthquake;
          (8) Height-extending roofs; or
                                                                            g.	 Windstorm;
          (9) Custom murals, paintings or other decals or
                                                                            h.	 Hail, water or flood;
              graphics.
                                                                            i.	 Malicious mischief or vandalism;
      b.	 Additional equipment does not mean:
                                                                            j.	 Riot or civil commotion;
          (1) Additional equipment not permanently installed
              that is designed for the reproduction of sound,               k.	 Colliding with a bird or animal; or
              or any radio receiving or radio receiving and                 l.	 Breakage of glass.
              transmitting equipment. This applies to such            4.	   Diminution in value means the actual or perceived loss
              equipment as a tape player, tape recorder, citizens           in market or resale value that results from a sudden, direct
              band radio and two-way mobile radio, telephone,               and accidental loss.
              television, or equipment designed or used for           5.	   Equipment means equipment permanently attached to
              the detection or location of radar or laser. It also          your insured car and common to its use.
              applies to any electronic device incorporating          6.	   Household Pet means a fully domesticated animal owned
              any of this equipment, as well as accessories,                by you for personal companionship, such as a dog, a
              component parts and antennae;                                 cat, a reptile, a bird or a rodent. Household Pet does not
          (2) Tapes, discs, records, reels, cassettes, cartridges,          include any type of horse, cow, pig, sheep, goat, chicken,
              media, data, carrying cases or other devices for              turkey, or captive fur-bearing animal, or any animal
              the use with equipment designed to reproduce,                 commonly kept for food or profit.
              record, receive, play or transmit audio, visual or      7.	   Like kind and quality parts means parts similar in type,
              data signals;                                                 condition and quality to those parts made for or by the
          (3) A camper body or trailer;                                     original car manufacturer. These parts may be made for or
          (4) Awnings, cabanas, or equipment designed to                    by the original car manufacturer or may come from other
              create additional living facilities;                          sources such as manufacturers or suppliers of rebuilt
          (5) Wear and tear losses to additional equipment                  parts, quality recycled (used) parts suppliers and non-
              including, but not limited to:                                original equipment manufacturers.
              (a) scorching,
              (b) marring,
              (c) scratching, or



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C.	 Supplementary Payments                                                     a.	   Products;
    1.	 Transportation Expense Due to Theft                                    b.	   Documents;
        If your Declarations Page shows Comprehensive                          c.	   Newspapers; or
        Coverage, we will pay for transportation expenses                      d.	   Food.
        incurred by you because of the total theft of your insured             This exclusion does not apply to a share-the-expense car
        car. We will pay up to $30 per day, but no more than $900              pool.
        each loss. This coverage begins 48 hours after the theft
                                                                         2.	   Caused by:
        has been reported to us and to the police and ends when
        the car is returned to use or when we offer settlement for             a.	 war (declared or undeclared);
        the loss.                                                              b.	 civil war;
    2.	 Clothing or Luggage                                                    c.	 insurrection;
        We will pay up to, but not more than, $200 for loss of                 d.	 rebellion;
        clothing or luggage in your insured car and belonging to               e.	 revolution;
        you or a family member if the loss is caused by:                       f.	 nuclear radiation exposure or contamination;
        a.	 Collision of your insured car, if Collision Coverage is            g.	 radioactive contamination or exposure;
            shown on your Declarations Page;                                   h.	 biological contamination, exposure or attack; or
        b.	 Fire, lightning, flood, earthquake, explosion, falling             any consequence of any of these.
            aircraft, or the entire theft of your insured car; if loss   3.	   Caused by theft to equipment designed for the
            occurs to your insured car from the same cause                     reproduction of sound, or any radio receiving or radio
            and Comprehensive Coverage is shown on your                        receiving and transmitting equipment.
            Declarations Page.                                                 a.	 This applies to such equipment as a tape player, tape
    3.	 Household Pets                                                             recorder, citizens band radio and two-way mobile
        a.	 If your Household Pets are inside your insured car                     radio, telephone, television, or equipment designed
            during a total theft and Comprehensive Coverage                        or used for the detection or location of radar or laser.
            is shown on your Declarations Page for that your                   b.	 It also applies to any electronic device incorporating
            insured car, we will pay reasonable amounts up to                      any of this equipment, as well as accessories and
            $600 for the loss of any and all such Household Pets                   antennas.
            because of that covered total theft loss.                          c.	 This exclusion does not apply to that equipment
        b.	 If your Household Pets are inside of your insured                      which is permanently installed in your insured car.
            car at the time of a loss due to collision, and Collision    4.	   Consisting of the theft of tapes, records, reels, cassettes,
            Coverage is shown on your Declarations Page                        cartridges, discs, carrying cases or other devices for use
            for that your insured car, we will pay reasonable                  with equipment designed for the reproduction of sound.
            amounts up to a total of $600 for the veterinary care,       5.	   To a utility trailer owned by you or a family member and
            burial, and/or disposal of all such Household Pets                 not listed on the Declarations Page. But, coverage does
            arising out of their injury or death during an insured             apply to a utility trailer ownership of which you acquire
            loss.                                                              during the policy period if you ask us to insure it within
D.	 Exclusions - What is Not Insured in Part IV                                thirty (30) days after you acquire it.
    We do not insure loss:                                               6.	   Due and confined to:
    1.	 Arising out of the ownership, maintenance or operation                 a.	 wear and tear;
        of your insured car or non-owned car while it is being                 b.	 freezing; or
        used to carry persons or property for compensation or a                c.	 mechanical or electrical breakdown or failure.
        fee, including but not limited to the pick up or delivery or
                                                                               This exclusion does not apply if damage results from the
        return from a pick up or delivery of:
                                                                               total theft of your insured car or the burning of wiring.




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  7.	 To permanently attached or detachable camper body,                      another party for the purpose of selling or leasing your
      slide-on camper, tonneau covers, or a camper shell.                     insured car.
  8.	 To your insured car or non-owned car due to increased               15.	To tires, unless caused by fire, malicious mischief,
      cost of repair or replacement of the following furnishings              vandalism, theft, or unless the damage occurs at the same
      or equipment:                                                           time and from the same cause as other covered damage.
      a.	 Special carpeting, insulation, wall paneling, furniture         16.	Caused intentionally by, or at the direction of, an insured
          or bars;                                                            person, whether or not such person intended to cause
      b.	 Dining, kitchen and sleeping facilities including                   damage of any nature. However, this exclusion does not
          enclosures or bathroom facilities;                                  apply to a loss to your insured car to the extent of the
      c.	 Height-extending roofs;                                             legal interest of you or a family member who:
      d.	 Murals, special paint and/or methods of painting,                   a.	 Sustains the loss as the result of family violence by:
          decals or graphics.                                                      (1) You,
  9.	 Due to lack of routine maintenance including but not                         (2) A family member,
      limited to lack of lubricant, coolant, or loss resulting from                (3) A former spouse or person who entered into a civil
      seepage of water.                                                                union with the named insured, or
  10.	To any non-owned car being maintained or used by                             (4) Any person who resides in or has resided in your
      any person while employed or otherwise engaged in the                            household;
      business of:                                                            b.	 Did not direct, participate in, or consent to the
      a.	 selling,                                                                 intentional act causing the loss; and
      b.	 repairing,                                                          c.	 Filed a family violence complaint against the person
      c.	 servicing,                                                               who caused the violence resulting in the loss.
      d.	 storing, or                                                     17.	Due to destruction or confiscation by governmental or
      e.	 parking                                                             civil authorities.
      cars. This includes the road testing and delivery of any            18.	To any non-owned car with less than four wheels.
      non-owned car.                                                      19.	To Household Pets that are injured or die from heat,
  11.	Resulting from an insured person participating in, or your              dehydration, or exposure to weather or to other animals
      insured car or non-owned car being used in racing,                      from any covered loss under Part IV.
      speed, demolition, stunt or performance driving contest,            20.	To car parts and equipment that are illegal. There is also
      demonstration, instruction or activity, or in practice or               no coverage for parts and equipment that are installed at
      preparation for any such activity or while operating on                 a location on the insured car that would make the use of
      a driving track designed for racing or high performance                 such parts or equipment illegal. However, we will pay for
      driving.                                                                the legal version of such parts or equipment if they are
  12.	Caused by or consisting of mold, fungi or bacteria                      necessary for the safe operation of the insured car.
      regardless of the factors causing or contributing to its            21.	To your insured car or any car while that car is in
      growth.                                                                 a Personal Car Sharing Program, a Commercial
  13.	Due to theft or conversion of your insured car:                         Ride-Sharing Program or a similar arrangement. This
                                                                              exclusion does not apply to a share-the-expense car pool.
      a.	 By you, a family member or any resident of your
          household;                                                      22.	To your insured car due to diminution in value.
      b.	 Prior to its delivery to you or a family member; or             23.	To your insured car while it is leased or rented to others.
      c.	 While in the care, custody or control of anyone             E.	 Additional Duties for Part IV - Damage to Your Car
          engaged in the business of selling cars.                       In addition to the terms and conditions of this policy a person
  14.	From theft or unlawful conversion by any person after              seeking coverage under Part IV of this policy must also
      custody of your insured car has been entrusted to                  comply with the following provisions:




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    1.	 Take reasonable steps after loss to protect your insured      3.	 The limits of liability shall be reduced by any amount of
        car, or any non-owned car, and its equipment from                 loss that has been paid under any other insurance that
        further loss. We will pay reasonable expenses incurred to         insured this same loss.
        do this.                                                      4.	 The most we will pay for
    2.	 Notify the police within 24 hours or as soon as practicable       a.	 Loss to a utility trailer not owned by you or a family
        if your insured car or any non-owned car is stolen.                    member is $500;
    3.	 Permit us to inspect and appraise the damaged property            b.	 Loss to additional equipment is a total of $1,000
        before it is repaired or disposed of.                                  for repair or replacement for any one loss, unless
F.	 Payment of Loss                                                            indicated otherwise on the Declarations Page.
    1.	 We will pay the loss in money, or repair or replace                    Multiple items of additional equipment lost or
        damaged or stolen property.                                            damaged in the same event are considered to be one
        a.	 We may, at any time before the loss is paid or the                 loss;
             property is replaced, return, at our expense, any            c.	 Loss to Household Pets for any one insured loss is
             stolen property either to you or to the address shown             $600 regardless of how many Household Pets were
             on the Declarations Page with payment for the                     stolen, injured or killed as a result of that insured loss.
             resulting damage.                                        5.	 We will pay reasonable and necessary storage costs
        b.	 We may keep all or part of the property at the agreed         for your insured car, its equipment and additional
             or appraised value.                                          equipment following an insured loss.
        c.	 If we pay for loss in money, our payment will include,    6.	 If you purchased coverage for additional equipment
             where required by law, the applicable sales tax and          that is identified on a Customization Report, our limits of
             fees for the damaged or stolen property.                     liability for loss to that covered additional equipment
    2.	 We may settle any loss with you, the owner, or the                shall be the lesser of:
        lienholder of the property shown on the Declarations              a.	 The amount of coverage shown on the Customization
        Page.                                                                  Report;
G.	 Limits of Liability                                                   b.	 The actual cash value of the stolen or damaged
    1.	 Our limits of liability for an insured loss to your insured            additional equipment; or
        car, non-owned car or its equipment will not exceed the           c.	 The amount necessary to repair or replace that stolen
        cost that is necessary to repair or replace the damaged                or damaged additional equipment.
        or stolen property or parts with like kind and quality            The amount you receive will not include any reduction
        parts less an adjustment for physical deterioration and           in the value of that additional equipment after it has
        depreciation. The limits are also subject to all other            been repaired, as compared to the value before it was
        adjustments set forth in this section.                            damaged.
    2.	 The cost to repair or replace will be calculated based on     7.	 If repair or replacement results in better than like kind
        the lowest of:                                                    and quality parts, we will not pay for the amount of the
        a.	 The actual cash value of the stolen or damaged                betterment. Betterment for which you will be responsible
             property at the time of the loss, reduced by the             includes the value relating to the increase in the useful
             applicable deductible; or                                    life of replaced parts that have a limited useful life and
        b.	 The amount necessary to repair or replace the stolen          the increase in value from the repair of the prior damage.
             or damaged property, reduced by the applicable               Any deductions that we take for betterment will be taken
             deductible.                                                  only for parts or a specific repair process normally subject
                                                                          to repair or replacement during the useful life of your
       Any amount payable by us to repair or replace damaged
                                                                          insured car. Deductions will be limited to an amount
       property or parts will be reduced by the cost of labor,
                                                                          equal to the proportion that the expired life of the part or
       parts, and materials to repair prior damage, deterioration
                                                                          specific repair process to be repaired or replaced bears to
       and defects to the property or parts that had not been
       repaired prior to the loss.                                        the normal useful life of that part or repair process.



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    8.	 If a loss to auto safety glass is repaired rather than           L.	 Appraisal
        replaced, the deductible applying to this coverage is               If we and you do not agree on the amount of loss, then
        waived. If the auto safety glass is replaced, the deductible        we and you may agree to an appraisal of the loss. If we
        applying to this coverage will remain in force.                     and you agree to an appraisal, each party will select a
    9.	 Any payment we make will be reduced by the value of                 competent appraiser and notify the other party in writing of
        the salvage when you or the owner of the car retains the            the appraiser's identity within thirty (30) days of the request
        salvage.                                                            for appraisal. The two appraisers will select an umpire. The
    10.	No one will be entitled to duplicate payments for the same          appraisers will state separately the amount of loss. If they fail
        elements of loss.                                                   to agree, they will submit their differences to the umpire. A
                                                                            written decision agreed to by any two will be binding.
    11.	Payments for loss covered under Part IV are subject to no
        more than one deductible for any one insured loss. If two           Each party will:
        or more deductibles apply to any one insured loss, only             1.	 Pay its chosen appraiser; and
        the lowest deductible will apply.                                   2.	 Bear the expenses of the appraisal and umpire equally.
    12.	A car and attached utility trailer for which coverage is            We and you do not waive any of our rights under this policy
        provided under this Part are considered one your insured            by agreeing to an appraisal.
        car, and for any insured loss to such car you will only pay
        one applicable deductible.                                       Part V - Duties After an Accident and General
H.	 Preservation of Salvage                                              Conditions
    If we retain the salvage after a loss, we have no duty to            A.	 Duties After an Accident
    preserve or otherwise retain the salvage for any purpose,
    including evidence for any civil or criminal proceeding.                In addition to the terms and conditions of this policy, an
                                                                            insured person claiming any coverage under any Part of this
I.	 No Benefit to Bailee
                                                                            policy must:
    This coverage shall not directly or indirectly benefit any carrier
                                                                            1.	 Upon our request at any time before or during the policy
    or other bailee for hire.
                                                                                term, make any car, or utility trailer that you insure
J.	 Legal Action Against Us                                                     or intend to insure available for inspection by us to the
    No legal action related to this policy or the claims that you               extent permitted by law.
    have presented may be brought against us under Part IV                  2.	 Refrain from voluntarily making any payment, assuming
    unless filed within two (2) years of the date of the accident.              any obligation, or incurring any expenses except for bail
K.	 Other Insurance                                                             bonds and first aid expenses for others.
   If other insurance also insures the loss, we will pay only our           3.	 Report all theft losses to the police within 24 hours or as
   share of the loss. Our share is the proportion that our limit of             soon as reasonably practicable.
   liability bears to the total of all applicable insurance, self-          4.	 As soon as reasonably practicable, inform us of any
   insurance, and/or protection limits or amounts regardless of                 accident or loss and of all details, including the date
   source. However, any insurance we provide with respect to a                  and time it occurred, the location where it occurred, the
   rental car, substitute car, or non-owned utility trailer shall
                                                                                facts and circumstances of the accident, the identity of
   be excess over any other collectible insurance, self-insurance,
                                                                                persons involved, the license plate information of the cars
   and any other source of recovery applicable to the loss.
                                                                                involved, and injury and witness information.
   If there is other applicable insurance available under one or            5.	 Protect your insured car from further loss. We will pay
   more policies or provisions of coverage that is similar to the
                                                                                reasonable expenses to guard against further loss. If
   insurance being provided under Part IV of this policy, the total
                                                                                you don't protect your insured car, further loss is not
   amount payable among all such policies shall not exceed the
                                                                                covered.
   limit of liability of the single policy providing the highest limit
   of liability.                                                            6.	 Cooperate with us and assist us in the investigation and
                                                                                settlement of any claim or defense of any claim or lawsuit.
                                                                                If we ask, that insured person must also help us obtain




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        payment from anyone who may be jointly responsible for         2.	 Your Duty To Report Changed Circumstances
        the accident.                                                      a.	 Your policy was issued in reliance on the information
    7.	 Allow us to inspect and appraise the damaged property                  you provided us at time of application, including
        before it is repaired, destroyed or discarded.                         information concerning any cars and persons insured
    8.	 Allow us, with your consent, to move your insured car,                 by the policy. You agree to cooperate with us in
        at our expense, to a storage facility of our choice. If you            determining if the information you provided and
        do not give us your consent, we will pay only the storage              upon which we relied to issue this policy is correct and
        costs which would have resulted if we had moved your                   complete. You agree by acceptance of this policy that
        insured car to a storage facility of our choice.                       all information shown on the Declarations Page of
    9.	 Submit to statements and or examinations under oath as                 your policy and on the Application is accurate.
        often as we reasonably require, separately and apart from          b.	 You agree that if any information changes, is
        others, and to sign the transcript.                                    incorrect or incomplete, you will notify us as soon as
    10.	Provide us with copies of any documents that we                        reasonably practicable to change it. If we determine
        reasonably require at the time of the examination under                any information is incorrect or incomplete, we may
        oath and any other time, and allow the copying of                      change it. Based upon any new information you
        any documents we or our designated representative                      report or we may discover we may adjust your
        requests. This includes producing any documents that we                coverage and premium accordingly during the policy
        identify as being reasonable and necessary to investigate              period. Any recalculation by us of your premium, or
        and process your claims. Such documents must be                        any changes we make to your coverage, based on
        provided to us or our designated representative in a                   new information acquired, will be made using the
        timely manner, and if requested, prior to an examination               rules, rates and forms used in your state as of the date
        under oath.                                                            of the change.
    11.	Authorize us to obtain:                                            c.	 Some of the types of information you must notify us
                                                                               about include but are not limited to:
        a.	 Medical reports and records;
                                                                               (1) A change of your mailing address or the principal
        b.	 Any documents we indicate are necessary to
                                                                                    garaging of any your insured car;
             investigate and process your claim; and
                                                                               (2) New drivers residing in your household;
        c.	 Event data recorders and/or sensing and diagnostic
             modules or any other recording device for the purpose             (3) Any persons who become new regular users of
             of retrieving data following an accident or loss.                      your insured car(s);
    12.	Provide any written sworn proofs of loss we require,                   (4) You or any family member obtains a driver's
        including all details we may need to determine the                          license or operator's permit;
        amounts payable.                                                       (5) Changes in the use of your insured cars; or
    13.	Send or provide us, as soon as reasonably practicable,                 (6) Changes in your discount eligibility.
        copies of all legal papers you receive relating to any claim   3.	 Coverage Changes
        or suit.                                                           When we broaden coverage during the policy period
    14.	If Claiming Medical Expense Coverage under Part III,               without charge, the policy will automatically provide the
        submit receipts or bills for these services no later than 60       broadened coverage when effective in your state. We
        days following treatment date.                                     may make other changes or replace this policy, to conform
B.	 General Conditions                                                     to coverage currently in use at the next policy period.
    1.	 Policy Period and Territory                                    4.	 Legal Action Against Us
       This policy applies only to accidents occurring during             No legal action may be brought against us until there has
       the policy period shown on the Declarations Page if the            been full compliance with all the terms and conditions
       accidents occur within the United States, its territories          of this policy. No person or organization has any right
       or possession, Puerto Rico and Canada, or while your               under this policy to bring us into any action brought to
       insured car is being shipped between their ports.                  determine the liability of an insured person.



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Personal Auto Policy (continued)


  5.	 Transfer of Your Interest                                      7.	 Bankruptcy
      Interest in this policy may not be assigned without our            We are not relieved of any obligation under this policy
      written consent. But, if the named insured on the                  because of the bankruptcy or insolvency of any insured
      Declarations Page dies, the policy will insure, until the          person.
      end of the policy period:                                      8.	 Termination
      a.	 Any family member;                                             a.	 Cancellation
      b.	 The legal representative of the deceased named                    This policy may be cancelled during the policy period
          insured while acting within the scope of duties of a              as follows:
          legal representative; or                                          (1) The named insured shown on your Declarations
      c.	 Any person having proper custody of your insured                      Page may cancel by:
          car until a legal representative is appointed.                        (a) Returning this policy to us or the named
  6.	 Our Right to Recover Payment                                                   insured's agent; or
      a.	 If we make a payment under this policy and the                        (b) Giving us or the named insured's agent
          person to or for whom payment was made has a                               advance notice of the date cancellation is to
          right to recover damages from another we shall be                          take effect.
          subrogated to that right. That person shall do:                   (2) We may cancel this policy for any reason if the
          (1) whatever is necessary to enable us to exercise our                notice is mailed within the first 69 days of the initial
              rights, and                                                       policy period.
          (2) nothing after loss to prejudice our rights.                   (3) After this policy is in effect for 69 days, or if this is
          However, our rights in this paragraph do not apply                    a renewal or continuation policy, we may cancel
          under Part IV, against any person using your insured                  only for the following reasons:
          car with a reasonable belief that the person is entitled              (a) Failure to pay a premium when due;
          to do so.
                                                                                (b) Conviction of the insured of a crime arising
      b.	 If we make a payment under this policy and the                             out of acts increasing the hazard insured
          person to or for whom payment is made recovers                             against;
          damages from another, that person shall:
                                                                                (c) Discovery of fraud or material
          (1) hold in trust for us the proceeds of the recovery;                     misrepresentation in the obtaining of the
              and                                                                    policy or in the presentation of a claim
          (2) reimburse us to the extent of our payment.                             thereunder;
      c.	 If we exercise our right to recovery against another,                 (d) Discovery of:
          we will also attempt to recover any deductible                             (1) An act or omission; or
          incurred by an insured person under this policy.
                                                                                     (2) A violation of any condition of the policy,
          We reserve the right to compromise or settle the
                                                                                     which occurred after the first effective date
          deductible and property damage claims against the
                                                                                     of the current policy and substantially and
          responsible parties for less than the full amount. We
                                                                                     materially increases the hazard insured
          reserve the right to reduce reimbursement of the                           against;
          deductible by the proportion that the amount we
                                                                                (e) A material change in the nature or extent
          recover bears to the total amount of our subrogated
                                                                                     of the risk, occurring after the first effective
          claim. We will also reduce reimbursement of the
                                                                                     date of the current policy, which causes the
          deductible by the proportionate share of the collection
                                                                                     risk of loss to be substantially and materially
          expenses including attorney fees incurred with our
                                                                                     increased beyond that contemplated at the
          recovery efforts. We will not recover the deductible if
                                                                                     time the policy was issued or last renewed;
          you instruct us not to.
                                                                                (f) A determination by the Commissioner that
                                                                                     continuation of the insurer's present volume



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Personal Auto Policy (continued)


                of premiums would jeopardize the insurer's                    (2) Any cancellation will be effective for all coverages
                solvency or be hazardous to the interests of                      for all persons and cars insured under this policy.
                policyholders of the insurer, its creditors or                (3) If this policy is canceled, you may be entitled to
                the public; or                                                    a premium refund. If we cancel the policy, any
            (g) A determination by the Commissioner that                          refund due will be computed on a daily pro rata
                the continuation of the policy would violate,                     basis. If you cancel the policy, any refund due will
                or place the insurer in violation of, any                         be computed in accordance with the customary
                provision of the Code.                                            short rate table and procedure, except as provided
      b.	 Nonrenewal                                                              for in subsection (d).
          If we decide not to renew or continue this policy, we               (4) Our making or offering to make a refund is not a
          will mail notice to you at the address shown in our                     condition of cancellation.
          records. Notice will be mailed at least 30 days before      9.	 Misrepresentation or Fraud
          the end of the policy period.                                   a.	 This policy was issued in reliance on the information
      c.	 Automatic Termination                                               provided on your insurance application, including,
          (1) If we offer to renew or continue this policy and you            but not limited to information regarding the license
               or your representatives do not accept, this policy             and driving history of you; family members; all
               will automatically terminate at the end of the                 persons of driving age residing in your household;
               current policy period.                                         the description of the cars to be insured; the location
          (2) Failure to pay the required renewal or continuation             of the principal place of garaging; and your place of
               premium when due will mean that you have not                   residence.
               accepted our offer.                                        b.	 We may void this policy if you or any insured
          (3) If you obtain other insurance on your insured car,              person have engaged in fraudulent conduct or have
               any similar insurance provided by this policy will             concealed, omitted, or misrepresented any material
               terminate as to your insured car on the effective              fact or circumstance concerning the application,
               date of the other insurance.                                   issuance, renewal or continuation of this policy.
          (4) If your insured car is sold or transferred to               c.	 We may void this policy or deny coverage for an
               someone other than you or a family member, any                 accident if you or any insured person have concealed,
               insurance provided by this policy will terminate as            omitted or misrepresented any material fact or
               to that your insured car on the effective date of              circumstance, or engaged in fraudulent conduct, in
               the sale or transfer.                                          connection with the presentation or settlement of a
                                                                              claim.
      d.	 Reduction of Coverage
                                                                          d.	 Each and every statement of fact made by any
          We may reduce coverage limits, increase any                         insured person in the application or any subsequent
          deductible, or increase the premium rate of all or
                                                                              application for insurance or renewal, which is made
          any portion of the policy at the time of renewal. We
                                                                              part hereof, is agreed to be material.
          will provide you the offer to renew with these altered
          terms at least 30 days prior to renewal. You shall have         e.	 We may void this policy for fraud or misrepresentation
          30 days from the date you receive notice of the altered             even after the occurrence of an accident. This means
          terms of the policy to cancel the policy. If you elect to           that we will not be liable for any claims or damages
          cancel under these circumstances, we will refund the                that would otherwise be covered, except to the extent
          pro rata premium of the unexpired portion of the new                we are required to provide coverage under this state's
          term.                                                               minimum Financial Responsibility laws.
      e.	 Other Termination Provisions                                    f.	 If we void this policy, it will be void from its inception
          (1) The effective date and time of cancellation stated              (void ab initio), and no coverage will be provided
               in the notice shall become the end of the policy               whatsoever.
               period.




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Personal Auto Policy (continued)


      g.	 To the extent that we make payments to you under               to reflect this updated address and/or we may address
          this policy and our subsequent investigation reveals           future policy notices to this updated address. Except
          your involvement in fraud or misrepresentation in the          where prohibited by law, a policy notice under this Policy
          presentation of a claim, you must indemnify us for all         Notices condition will be deemed "mailed" or "delivered"
          payments made.                                                 if it is delivered by electronic transmittal or facsimile.
  10.	Terms Conformed to Statutes                                    15.	Payment
      a.	 This policy shall be deemed amended to conform to              At the policy's inception, if you make a premium payment
          the statutes of the state listed in your application if        using a nonnegotiable instrument such as a check or debit
          any provision fails to conform to such statutes. Any           card with insufficient funds, the policy is null and void and
          dispute as to coverages or the provisions of this policy       is not subject to the Cancellation provisions of the policy.
          shall be determined and governed by the law of the             If you make a premium payment for a renewal of your
          state listed in your application as your residence.            policy using a nonnegotiable instrument, our offer of
      b.	 Policy terms, which conflict with the laws of the state        policy renewal is deemed rejected by you and the policy
          in which this policy issued, are hereby amended to             terminated without renewal.
          conform to such laws.                                      16.	Joint and Individual Interests
  11.	Proof of Mailing                                                   If there is more than one named insured on this policy,
      We may deliver any notice instead of mailing it. Proof of          any named insured may cancel or change this policy.
      mailing of any notice shall be sufficient proof of notice.         The action of one named insured will be binding on all
                                                                         persons provided coverage under this policy.
  12.	Membership Fee
                                                                     17.	Loss Payable Provisions
      A Membership Fee applies to this policy, if set forth on
                                                                         a.	 It is agreed that at our option, any payment for
      the Declarations Page. The fees are fully earned and are
                                                                              damage to the car listed in this policy shall be paid
      not refundable, unless required by state law. However,
                                                                              as interest may appear to the named insured and
      if we cancel your policy during the initial policy period,
                                                                              the lienholder shown on the Declarations Page, or
      membership fees will be refunded to you in full.
                                                                              through the repair of the damaged car.
  13.	Additional Benefits and Services
                                                                              (1) When we provide payment to the lienholder, the
      We may work with independent merchants to try to                             payment will be the lowest of the actual cash value
      provide you with the best possible value for services and                    of your insured car or the existing loan balance,
      replacement of your property. If we are able to negotiate                    whichever is less.
      any benefits or discounts with these merchants, we                      (2) Any change in title or ownership of the car, or
      may extend those benefits to you by advising you of                          error in its description shall not void coverage
      their availability. You will have to contact any identified                  afforded to the lienholder.
      merchants yourself and deal directly with them. We would
                                                                         b.	 The policy does not insure you or any lienholder for
      never provide any information about you to them. You are
      under no obligation to ever contact any of the merchants.               damages due to:
      We are not obligated to expand or continue to make                      (1) conversion;
      available any such benefits.                                            (2) embezzlement;
  14.	Policy Notices                                                          (3) secretion;
      We may mail or, unless prohibited by law, deliver policy                (4) fraudulent acts;
      notices to you. If a lienholder is named in this policy,                (5) material misrepresentation or omission; or
      any notices we give to the lienholder may be mailed or                  (6) intentional damages
      delivered. When mailed, the United States Postal Service                by you, any family member or anyone acting under
      or its licensed agents or vendors may forward such notices              the direction of either of you.
      to an updated address per any change of address that you
                                                                         c.	 When a payment is made to the lienholder, we are
      have presented to or filed with the United States Postal
                                                                              entitled to all the rights of the lienholder to the extent
      Service. In addition, we may update our policy records
                                                                              of such payment.



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Personal Auto Policy (continued)


          (1) The lienholder shall do whatever is necessary to                      c.	 Your insured car is garaged only in the
              secure such rights.                                                       United States;
          (2) No subrogation shall impair the right of the                          d.	 Your insured car is maintained, operated,
              lienholder to recover the full amount of its claim.                       driven or used in Mexico only by you or a
      d.	 We reserve the right to cancel this policy at any time                        family member who lives in the United
          as provided by its terms.                                                     States; and
          (1) In case of cancellation or lapse we will give notice                  e.	 Your insured car is returned to the United
              to the lienholder as required under the law.                              States after a loss for our inspection. Any cost
          (2) Cancellation will terminate the policy and this                           for towing and transportation that is required
              agreement as to any interest of the lienholder.                           to return your insured car to the United
                                                                                        States for our inspection, or for salvage
                                                                                        operations of the car while within Mexican
  18.	Limited Material Damage Coverage in Mexico                                        territory, are not covered under this policy.
      WARNING - LIMITED COVERAGE IN MEXICO - READ THIS                      The insurance provided by this provision will be excess
      WARNING CAREFULLY                                                     over any other collectible insurance.
      A.	 Car accidents in Mexico are subject to the laws of            19.	Car Sharing
          Mexico only - NOT the United States of America.
                                                                            You must disclose in writing to us your participation as
          1.	 With respect to car accidents, the laws of the
                                                                            either a driver or car owner, in any Personal Car Sharing
              United States and of Mexico are different. For
                                                                            Program, Commercial Ride-Sharing Program or other
              example, in Mexico all car accidents are a criminal
                                                                            similar arrangement. Failure to do so may result in the
              matter. In the United States, most car accidents
                                                                            rescission, cancellation or nonrenewal of your policy. This
              are only a civil matter. If you do not have valid
                                                                            duty does not apply to a share-the-expense car pool.
              Mexican automobile liability insurance and you
              have an accident, you may spend time in a
              Mexican jail or have your car impounded.
                                                                     Reciprocal Provisions - Farmers Insurance
          2.	 This policy does not provide liability insurance       Exchange
              in Mexico. You only have coverage for material         This policy is made and issued in consideration of your
              damage to your insured car. It does not provide        premium payment to us. It is also issued in consideration of
              valid automobile liability coverage in Mexico.         the information you gave to us during the application process,
              You should purchase valid automobile liability         some of which is set out on the Declarations Page, and in
              coverage from a licensed Mexican insurance             consideration of the Subscription Agreement, which is provided
              company before driving into Mexico.                    to you and incorporated herein by reference. You acknowledge
      B.	 Limited Mexico Coverage                                    that you have read, understood and agree to all the terms and
                                                                     conditions of the Subscription Agreement. Among other things,
          1.	 If your insured car includes Coverage F -
                                                                     the Subscription Agreement appoints your Attorney-in-Fact,
              Comprehensive Coverage and Coverage G -
                                                                     authorizes your Attorney-in-Fact to execute interinsurance
              Collision Coverage as shown on the Declarations
                                                                     policies between you and other subscribers and to perform
              Page, then Coverage F and Coverage G are
                                                                     various functions, and addresses compensation of the Attorney-
              extended on a limited basis when your insured
                                                                     in-Fact. Membership fees which you pay as a subscriber are not
              car is within Mexico.
                                                                     part of the premium and are not returnable.
          2.	 This limited coverage applies only when:
                                                                     We hold the Annual Meeting of the members of the Farmers
              a.	 The loss occurs while your insured car is
                                                                     Insurance Exchange at our Home Office at Los Angeles,
                   within 50 miles of the United States border;
                                                                     California, on the first Monday following the 15th day of March
              b.	 Your insured car is in Mexico for infrequent
                                                                     of each year at 2:00 p.m. The Board of Governors may elect to
                   trips that do not exceed five (5) consecutive
                                                                     change the time and place of the meeting. If they do so, you will
                   days at any one time, and do not exceed
                                                                     be mailed a written or printed notice at your last known address
                   twenty-three (23) days in any calendar month;



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Personal Auto Policy (continued)


at least ten (10) days before such time. Otherwise, no notice will   Your premium for this policy and all payment made for its
be sent to you.                                                      continuance shall be payable to us at our Home Office or such
The Board of Governors shall be chosen by subscribers from           location named by us in your premium notice.
among yourselves. This will take place at the Annual Meeting or      This policy is non-assessable.
at any special meeting which is held for that purpose. The Board
of Governors shall have full power and authority to establish such
rules and regulations for our management as are not inconsistent
with the Subscription Agreement.

Special Provisions
The Company named on the Declarations Page has caused this policy to be signed by the officers shown below.




                                Secretary                                                     Vice President




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                    EXHIBIT 3
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   Please read the policy carefully. If there is
   an accident, contact your State Farm agent
   or one of our Claim Offices at once. (See
   “INSURED’S DUTIES” in this policy booklet.)




                                                   State Farm®
                                                   Car Policy
                                                   Booklet




                                                   Nevada
                                                   Policy Form 9828A
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                                                                  THIS POLICY
     1.    This policy consists of:                                                        (2) Neither you nor any member of your
           a. the most recently issued Declarations                                             household has, within the past three
                                                                                                years, had:
               Page;
                                                                                                (a) vehicle insurance canceled or
           b. the policy booklet version shown on that                                               nonrenewed by an insurer; or
               Declarations Page; and
                                                                                                (b) either:
           c. any endorsements that apply, including
               those listed on that Declarations Page as                                             (i) a license to drive; or
               well as those issued in connection with any                                           (ii) a vehicle registration
               subsequent renewal of this policy.                                                    suspended, revoked, or refused.
     2.    This policy contains all of the agreements be-                                  (3) Your car is used for pleasure and
           tween all named insureds and applicants and:                                         business.
           a. us; and                                                          4.      All named insureds and applicants agree by
           b. any of our agents.                                                       acceptance of this policy that:
     3.    We agree to provide insurance according to the                              a. the statements in 3.b. above are made by
           terms of this policy:                                                           the named insured or applicant and are
                                                                                           true; and
           a. based on payment of premium for the cov-
               erages chosen; and                                                      b.   we provide this insurance on the basis
                                                                                            those statements are true.
           b. unless otherwise stated in EXCEPTIONS,
               POLICY BOOKLET, AND ENDORSE-                                    5.      Your purchase of this policy may allow you to
               MENTS on the Declarations Page, in reliance                             purchase certain coverages, coverage options,
                                                                                       coverage deductibles, coverage limits, or cov-
               on the following statements:                                            erage terms on other policies from the State
               (1) The named insured is the sole owner                                 Farm Companies, subject to their applicable
                    of your car.                                                       eligibility rules.




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                                                   DEFINITIONS
     We define certain words and phrases below for use        Non-Owned Car means a car that is in the lawful
     throughout the policy. Each coverage includes ad-        possession of you or any resident relative and that
     ditional definitions only for use with that coverage.    neither:
     These definitions apply to the singular, plural, and     1. is owned by:
     possessive forms of these words and phrases. De-
     fined words and phrases are printed in boldface               a. you;
     italics.                                                      b. any resident relative;
     Bodily Injury means bodily injury to a person and             c. any other person who resides primarily in
     sickness, disease, or death that results from it.                  your household; or
     Car means a land motor vehicle with four or more              d. an employer of any person described in a.,
     wheels, designed for use primarily on public roads.                b., or c. above; nor
     It does not include:                                     2. has been operated by, rented by, or in the pos-
     1. Any vehicle while located for use as a dwelling            session of:
           or other premises; or                                   a. you; or
     2. A truck-tractor designed to pull any type of               b. any resident relative
           trailer.
                                                                   during any part of each of the 31 or more con-
     Car Business means a business or job where the                secutive days immediately prior to the date of
     purpose is to sell, lease, rent, repair, service, mod-        the accident or loss.
     ify, transport, store, or park land motor vehicles or
     any type of trailer.                                     Occupying means in, on, entering, or exiting.
     Fungi means any type or form of fungus or fungi          Our means the Company issuing this policy as
     and includes:                                            shown on the Declarations Page.
     1. Mold;                                                 Owned By means:
     2. Mildew; and                                           1. owned by;
     3. Any of the following that are produced or re-         2. registered to; or
           leased by fungi:                                   3. leased, if the lease is written for a period of 31
           a. Mycotoxins;                                          or more consecutive days, to.
           b. Spores;                                         Pedestrian means a person who is not occupying:
           c. Scents; or                                      1. a motorized vehicle; or
           d. Byproducts.                                     2. a vehicle designed to be pulled by a motorized
                                                                   vehicle.
     Newly Acquired Car means a car newly owned by            Person means a human being.
     you. A car ceases to be a newly acquired car on
     the earlier of:                                          Private Passenger Car means:
     1. the effective date and time of a policy, includ-      1. a car of the private passenger type, other than a
           ing any binder, issued by us or any other com-          pickup truck, van, minivan, or sport utility ve-
           pany that describes the car as an insured               hicle, designed primarily to carry persons and
           vehicle; or                                             their luggage; or
     2. the end of the 14th calendar day immediately          2. a pickup truck, van, minivan, or sport utility
                                                                   vehicle:
           following the date the car is delivered to you.
                                                                   a. that is not used for:
     If a newly acquired car is not otherwise afforded                  (1) wholesale; or
     comprehensive coverage or collision coverage by
     this or any other policy, then this policy will pro-               (2) retail
     vide Comprehensive Coverage or Collision Cover-                    pick up or delivery; and
     age for that newly acquired car, subject to a                 b. that has a Gross Vehicle Weight Rating of
     deductible of $500. Any coverage provided as a                     10,000 pounds or less.
     result of this paragraph will apply only until the end   Resident Relative means a person, other than you,
     of the 5th calendar day immediately following the        who resides primarily with the first person shown as a
     date the newly acquired car is delivered to you.         named insured on the Declarations Page and who is:
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     1.   related to that named insured or his or her          1.   only those trailers:
          spouse by blood, marriage, or adoption, includ-           a. designed to be pulled by a private passen-
          ing an unmarried and unemancipated child of                    ger car;
          either who is away at school and otherwise
          maintains his or her primary residence with               b. not designed to carry persons; and
          that named insured; or                                    c. while not used as premises for office,
     2.   a ward or a foster child of that named insured,                store, or display purposes; or
          his or her spouse, or a person described in 1.       2. a farm implement or farm wagon while being
          above.                                                    pulled on public roads by a car.
     State Farm Companies means one or more of the             Us means the Company issuing this policy as
                                                               shown on the Declarations Page.
     following:
                                                               We means the Company issuing this policy as
     1. State Farm Mutual Automobile Insurance                 shown on the Declarations Page.
          Company;
                                                               You or Your means the named insured or named
     2. State Farm Fire and Casualty Company; and              insureds shown on the Declarations Page. If a
     3. Subsidiaries or affiliates of either 1. or 2. above.   named insured shown on the Declarations Page is a
                                                               person, then “you” or “your” includes the spouse of
     Temporary Substitute Car means a car that is in the       the first person shown as a named insured if the
     lawful possession of the person operating it and that:    spouse resides primarily with that named insured.
     1. replaces your car for a short time while your          Your Car means the vehicle shown under YOUR
          car is out of use due to its:                        CAR on the Declarations Page. Your Car does not
                                                               include a vehicle that you no longer own or lease.
          a. breakdown;
          b. repair;                                           If a car is shown on the Declarations Page under
                                                               YOUR CAR, and you ask us to replace it with a car
          c. servicing;                                        newly owned by you, then the car being replaced
          d. damage; or                                        will continue to be considered your car until the
          e. theft; and                                        earliest of:
     2. neither you nor the person operating it own or         1. the end of the 30th calendar day immediately
          have registered.                                          following the date the car newly owned by you
                                                                    is delivered to you;
     If a car qualifies as both a non-owned car and a
     temporary substitute car, then it is considered a         2. the date this policy is no longer in force; or
     temporary substitute car only.                            3. the date you no longer own or lease the car
     Trailer means:                                                 being replaced.

                                             LIABILITY COVERAGE
     This policy provides Liability Coverage if “A” is                   (2) a temporary substitute car;
     shown under “SYMBOLS” on the Declarations Page.           2.   the first person shown as a named insured on the
     Additional Definition                                          Declarations Page and that named insured’s
     Insured means:                                                 spouse who resides primarily with that named
                                                                    insured for the maintenance or use of a car that
     1. you and resident relatives for:                             is owned by, or furnished by an employer to, a
         a. the ownership, maintenance, or use of:                  person who resides primarily in your household,
              (1) your car;                                         but only if such car is neither owned by, nor fur-
                                                                    nished by an employer to, the first person shown
              (2) a newly acquired car; or                          as a named insured on the Declarations Page or
              (3) a trailer; and                                    that person’s spouse;
         b. the maintenance or use of:                         3.   any other person for his or her use of:
              (1) a non-owned car; or                               a. your car;

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         b.    a newly acquired car;                          1.   Interest on damages owed by the insured that
         c.    a temporary substitute car; or                      accrues:
         d.    a trailer while attached to a car described         a. before a judgment, where owed by law, but
               in a., b., or c. above.                                  only on that part of the judgment we pay;
                                                                        and
          Such vehicle must be used within the scope of
          your consent; and                                        b. after a judgment. We will not pay interest
                                                                        on damages paid or payable by a party
     4. any other person or organization vicariously                    other than the insured or us.
          liable for the use of a vehicle by an insured as
          defined in 1., 2., or 3. above, but only for such        We have no duty to pay interest that accrues after
          vicarious liability. This provision applies only         we deposit in court, pay, or offer to pay, the amount
          if the vehicle is neither owned by, nor hired by,        due under this policy’s Liability Coverage;
          that other person or organization.                  2. Premiums for bonds, provided by a company
     Insured does not include the United States of                 chosen by us, required to appeal a decision in a
     America or any of its agencies.                               lawsuit against an insured. We have no duty to:
     Insuring Agreement                                            a. pay for bonds that exceed this policy’s ap-
                                                                        plicable Liability Coverage limit;
     1. We will pay:
                                                                   b. furnish or apply for any bonds; or
          a. damages an insured becomes legally liable             c. pay premiums for bonds purchased after
               to pay because of:                                       we deposit in court, pay, or offer to pay,
               (1) bodily injury to others; and                         the amount due under this policy’s Liabil-
               (2) damage to property                                   ity Coverage; and
               caused by an accident that involves a vehi-    3. The following costs and expenses if related to
               cle for which that insured is provided Li-          and incurred after a lawsuit has been filed
               ability Coverage by this policy;                    against an insured:
          b. attorney fees for attorneys chosen by us to           a. Loss of wages or salary, but not other in-
               defend an insured who is sued for such                   come, up to $200 for each day an insured
               damages; and                                             attends, at our request:
          c. court costs charged to an insured and re-                  (1) an arbitration;
               sulting from that part of a lawsuit:                     (2) a mediation; or
               (1) that seeks damages payable under this                (3) a trial of a lawsuit; and
                    policy’s Liability Coverage; and               b. Reasonable expenses incurred by an in-
               (2) against which we defend an insured                   sured at our request other than loss of
                    with attorneys chosen by us.                        wages, salary, or other income.
          We have no duty to pay attorney fees and court           The amount of any of the costs or expenses
          costs incurred after we deposit in court or pay          listed above that are incurred by an insured
          the amount due under this policy’s Liability             must be reported to us before we will pay such
          Coverage.                                                incurred costs or expenses.
     2. We have the right to:                                 Limits
          a. investigate, negotiate, and settle any claim     The Liability Coverage limits for bodily injury are
               or lawsuit;                                    shown on the Declarations Page under “Liability
          b. defend an insured in any claim or lawsuit,       Coverage – Bodily Injury Limits – Each Person,
               with attorneys chosen by us; and               Each Accident.”
          c. appeal any award or legal decision               The limit shown under “Each Person” is the most
          for damages payable under this policy’s Liabil-     we will pay for all damages resulting from bodily
          ity Coverage.                                       injury to any one person injured in any one acci-
     Supplementary Payments                                   dent, including all damages sustained by other per-
                                                              sons as a result of that bodily injury. The limit
     We will pay, in addition to the damages, fees, and       shown under “Each Accident” is the most we will
     costs described in the Insuring Agreement above,         pay, subject to the limit for “Each Person”, for all
     the interest, premiums, costs, and expenses listed       damages resulting from bodily injury to two or
     below that result from such accident:                    more persons injured in the same accident.
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     The Liability Coverage limit for damage to property      5.   FOR DAMAGES ARISING OUT OF THE
     is shown on the Declarations Page under “Liability            OWNERSHIP, MAINTENANCE, OR USE OF
     Coverage – Property Damage Limit – Each Acci-                 A VEHICLE WHILE IT IS RENTED TO OR
     dent”. The limit shown is the most we will pay for            LEASED TO OTHERS BY AN INSURED;
     all damages resulting from damage to property in
                                                              6.   FOR DAMAGES ARISING OUT OF THE
     any one accident.                                             OWNERSHIP, MAINTENANCE, OR USE OF
     These Liability Coverage limits are the most we               A VEHICLE WHILE IT IS BEING USED TO
     will pay regardless of the number of:                         CARRY PERSONS FOR A CHARGE. This
                                                                   exclusion does not apply to the use of a private
     1.   insureds;
                                                                   passenger car on a share-the-expense basis;
     2.   claims made;
                                                              7.   WHILE MAINTAINING OR USING A VE-
     3.   vehicles insured; or                                     HICLE IN CONNECTION WITH THAT IN-
                                                                   SURED’S    EMPLOYMENT           IN      OR
     4.   vehicles involved in the accident.
                                                                   ENGAGEMENT OF ANY KIND IN A CAR
     Nonduplication                                                BUSINESS. This exclusion does not apply to:
     We will not pay any damages or expenses under                 a.   you;
     Liability Coverage:                                           b.   any resident relative; or
     1.   that have already been paid as expenses under            c.   any agent, employee, or partner of a. or b.
          Medical Payments Coverage of any policy is-                   above
          sued by the State Farm Companies to you or
          any resident relative; or                                while maintaining or using your car, a newly
                                                                   acquired car, a temporary substitute car, or a
     2.   that have already been paid under Uninsured              trailer;
          Motor Vehicle Coverage of any policy issued
          by the State Farm Companies to you or any           8.   WHILE THAT INSURED IS VALET PARK-
          resident relative.                                       ING A VEHICLE;
     Exclusions                                               9.   WHILE MAINTAINING OR USING ANY
                                                                   VEHICLE OTHER THAN YOUR CAR, A
     THERE IS NO COVERAGE FOR AN INSURED:                          NEWLY ACQUIRED CAR, A TEMPORARY
                                                                   SUBSTITUTE CAR, OR A TRAILER IN ANY
     1.   WHO INTENTIONALLY CAUSES BODILY                          BUSINESS OR OCCUPATION OTHER
          INJURY OR DAMAGE TO PROPERTY;                            THAN A CAR BUSINESS OR VALET PARK-
     2.   OR FOR THAT INSURED’S INSURER FOR                        ING. This exclusion does not apply to the main-
          ANY OBLIGATION UNDER ANY TYPE OF                         tenance or use of a private passenger car;
          WORKERS’ COMPENSATION, DISABIL-                     10. FOR DAMAGE TO PROPERTY WHILE IT
          ITY, OR SIMILAR LAW;                                    IS:
     3.   FOR BODILY INJURY TO THAT IN-                            a.   OWNED BY;
          SURED’S EMPLOYEE WHICH ARISES
          OUT OF THAT EMPLOYEE’S EMPLOY-                           b.   RENTED TO;
          MENT. This exclusion does not apply to that              c.   USED BY;
          insured’s household employee who is neither
          covered, nor required to be covered, under               d.   IN THE CARE OF; OR
          workers’ compensation insurance;                         e.   TRANSPORTED BY
     4.   FOR BODILY INJURY TO THAT IN-                            YOU, A RESIDENT RELATIVE, OR THE
          SURED’S FELLOW EMPLOYEE WHILE                            PERSON WHO IS LEGALLY LIABLE FOR
          THE FELLOW EMPLOYEE IS IN THE                            THE DAMAGE. This exclusion does not ap-
          COURSE AND SCOPE OF HIS OR HER EM-                       ply to either damage to a residence while
          PLOYMENT. This exclusion does not apply to               rented to or leased to an insured or damage to a
          you and resident relatives who are legally liable        private garage while rented to or leased to an
          for bodily injury to fellow employees;                   insured;
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     11. FOR LIABILITY ASSUMED UNDER ANY                                  State Farm Companies that provides
         CONTRACT OR AGREEMENT;                                           Liability Coverage which applies to
     12. FOR ANY ORDER OF RESTITUTION IS-                                 the accident as primary coverage; and
         SUED BY A COURT IN A CRIMINAL PRO-                          (2) liability coverage provided by one or
         CEEDING OR EQUITABLE ACTION;                                     more sources other than the State
     13. WHILE USING A TRAILER WITH A MO-                                 Farm Companies also applies as pri-
         TOR VEHICLE IF THAT INSURED IS NOT                               mary coverage for the same accident,
         PROVIDED LIABILITY COVERAGE BY                              then we will pay the proportion of dam-
         THIS POLICY FOR THE USE OF THAT                             ages payable as primary that our applica-
         MOTOR VEHICLE;                                              ble limit bears to the sum of our applicable
     14. FOR THE OWNERSHIP, MAINTENANCE,                             limit and the limits of all other liability
         OR USE OF ANY VEHICLE WHILE IT IS:                          coverage that apply as primary coverage.
         a. OFF PUBLIC ROADS AND BEING PRE-                      b. If:
             PARED FOR, USED IN PRACTICE FOR,                        (1) more than one Car Policy issued to
             OR OPERATED IN ANY RACING CON-                               you or any resident relative by the
             TEST,       SPEED      CONTEST,       HILL-                  State Farm Companies provides Li-
             CLIMBING CONTEST, JUMPING CON-                               ability Coverage which applies to the
             TEST, OR ANY SIMILAR CONTEST; OR                             accident as primary coverage; and
         b. ON A TRACK DESIGNED PRIMARILY                            (2) liability coverage provided by one or
             FOR RACING OR HIGH SPEED DRIVING.                            more sources other than the State
             This exclusion (14.b.) does not apply if the                 Farm Companies also applies as pri-
             vehicle is being used in connection with an                  mary coverage for the same accident,
             activity other than racing, high speed driv-            then the State Farm Companies will pay the
             ing, or any type of competitive driving;                proportion of damages payable as primary
     15. WHO IS AN EMPLOYEE OF THE UNITED                            that the maximum amount that may be paid
         STATES OF AMERICA OR ANY OF ITS                             by the State Farm Companies as determined
         AGENCIES, IF THE PROVISIONS OF THE                          in 1. above bears to the sum of such amount
         FEDERAL TORT CLAIMS ACT APPLY.                              and the limits of all other liability coverage
                                                                     that apply as primary coverage.
     If Other Liability Coverage Applies                    3.   Except as provided in 2. above, the Liability
     1. If Liability Coverage provided by this policy            Coverage provided by this policy applies as
         and one or more other Car Policies issued to            excess coverage.
         you or any resident relative by one or more of
         the State Farm Companies apply to the same              a. If:
         accident, then:                                             (1) this is the only Car Policy issued to
         a. the Liability Coverage limits of such poli-                   you or any resident relative by the
             cies will not be added together to deter-                    State Farm Companies that provides
             mine the most that may be paid; and                          Liability Coverage which applies to
                                                                          the accident as excess coverage; and
         b. the maximum amount that may be paid
             from all such policies combined is the sin-             (2) liability coverage provided by one or
             gle highest applicable limit provided by                     more sources other than the State
             any one of the policies. We may choose                       Farm Companies also applies as ex-
             one or more policies from which to make                      cess coverage for the same accident,
             payment.                                                then we will pay the proportion of dam-
     2. The Liability Coverage provided by this policy               ages payable as excess that our applicable
         applies as primary coverage for the ownership,              limit bears to the sum of our applicable
         maintenance, or use of your car or a trailer at-            limit and the limits of all other liability
         tached to it, and for the use of a temporary                coverage that apply as excess coverage.
         substitute car, which is loaned by a garageman          b. If:
         engaged in the business of repairing or servic-
         ing motor vehicles.                                         (1) more than one Car Policy issued to
         a. If:                                                           you or any resident relative by the
                                                                          State Farm Companies provides Li-
             (1) this is the only Car Policy issued to                    ability Coverage which applies to the
                  you or any resident relative by the                     accident as excess coverage; and
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              (2) liability coverage provided by one or              and as a nonresident becomes subject to its motor
                   more sources other than the State                 vehicle compulsory insurance law, financial
                   Farm Companies also applies as ex-                responsibility law, or similar law; and
                   cess coverage for the same accident,         2. this policy does not provide at least the mini-
              then the State Farm Companies will pay the             mum liability coverage required by such law
              proportion of damages payable as excess                for such nonresident,
              that the maximum amount that may be paid
              by the State Farm Companies as determined         then this policy will be interpreted to provide the
                                                                minimum liability coverage required by such law.
              in 1. above bears to the sum of such amount
              and the limits of all other liability coverage    This provision does not apply to liability coverage
              that apply as excess coverage.                    required by law for motor carriers of passengers or
     Required Out-of-State Liability Coverage                   motor carriers of property.
     If:                                                        Financial Responsibility Certification
     1. an insured is in another state of the United            When this policy is certified under any law as proof
         States of America, a territory or possession of        of future financial responsibility, and while required
         the United States of America, the District of Co-      during the policy period, this policy will comply
         lumbia, or any province or territory of Canada,        with such law to the extent required.


                                      MEDICAL PAYMENTS COVERAGE

     This policy provides Medical Payments Coverage if          Medical Services mean treatments, procedures,
     “C” is shown under “SYMBOLS” on the Declara-               products, and other services that are:
     tions Page.                                                1. necessary to achieve maximum medical im-
     Additional Definitions                                          provement for the bodily injury;
     Insured means:                                             2. rendered by a healthcare provider:
     1. you and resident relatives:                                  a. who is licensed as a healthcare provider if
          a. while occupying:                                             a license is required by law; and
              (1) your car;                                          b. within the legally authorized scope of that
                                                                          healthcare provider’s practice;
              (2) a newly acquired car;                         3. commonly and customarily recognized
              (3) a temporary substitute car;                        throughout the medical profession and within
                                                                     the United States of America as appropriate for
              (4) a non-owned car; or                                the treatment of the bodily injury;
              (5) a trailer while attached to a car de-         4. primarily designed to serve a medical purpose;
                   scribed in (1), (2), (3), or (4) above; or   5. not experimental; and
          b. if struck as a pedestrian by a motor vehi-         6. not for research purposes.
              cle or any type of trailer; and
                                                                Reasonable Expenses mean the lowest one of the
     2. any other person while occupying:                       following charges:
          a. your car;                                          1. The usual fees charged by a majority of health-
          b. a newly acquired car;                                   care providers who provide similar medical
          c. a temporary substitute car; or                          services in the geographical area in which the
                                                                     charges were incurred;
          d. a trailer while attached to a car described
              in a., b., or c. above.                           2. The fee specified in any fee schedule:
          Such vehicle must be used within the scope of              a. applicable to medical payments coverage,
          your consent.                                                   no-fault coverage, or personal injury pro-
                                                                          tection coverage included in motor vehicle
     Medical Expenses mean reasonable expenses for                        liability policies issued in the state where
     medical services.                                                    medical services are provided; and
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         b.   as prescribed or authorized by the law of the   MOST WE WILL PAY FROM THIS POLICY FOR
              state where medical services are provided;      THE MEDICAL EXPENSES AND FUNERAL
     3. The fees agreed to by both the insured’s              EXPENSES COMBINED, INCURRED BY OR
         healthcare provider and us; or                       ON BEHALF OF ANY ONE INSURED AS A RE-
                                                              SULT OF ANY ONE ACCIDENT, REGARDLESS
     4. The fees agreed upon between the insured’s            OF THE NUMBER OF:
         healthcare provider and a third party when we        1. POLICIES;
         have a contract with such third party.
     Insuring Agreement                                       2. INSUREDS;
     We will pay:                                             3. CLAIMS MADE;
     1. medical expenses incurred because of bodily           4. CARS OR MOTOR VEHICLES INSURED;
         injury that is sustained by an insured and               OR
         caused by a motor vehicle accident. We will          5. CARS OR MOTOR VEHICLES INVOLVED
         only pay such medical expenses:                          IN THE ACCIDENT.
         a. if any of the medical services are provided       Subject to the limit shown on the Declarations
              within one year immediately following the       Page, the most we will pay for funeral expenses
              date of the accident; and                       incurred for any one insured is $3,000.
         b. for medical services provided within three        Exclusions
              years immediately following the date of         THERE IS NO COVERAGE FOR AN INSURED:
              the accident; and
     2. funeral expenses incurred for an insured who          1. WHO IS STRUCK AS A PEDESTRIAN BY A
         dies within three years immediately following            CAR OR MOTOR VEHICLE, OWNED BY
         the date of a motor vehicle accident if the death        THAT INSURED OR YOU, IF IT IS NOT
         is a direct result of bodily injury sustained in         YOUR CAR OR A NEWLY ACQUIRED CAR;
         such accident.                                       2. IF ANY WORKERS’ COMPENSATION LAW
     Determining Medical Expenses                                 OR ANY SIMILAR LAW APPLIES TO THAT
     We have the right to:                                        INSURED’S BODILY INJURY. This exclu-
                                                                  sion applies whether or not the required benefit
     1. obtain and use:                                           has been reimbursed to the payer in whole or in
         a. utilization reviews;                                  part by or on behalf of the injured person;
         b. peer reviews; and                                 3. WHO IS OCCUPYING A VEHICLE WHILE
         c. medical bill reviews                                  IT IS RENTED TO OR LEASED TO OTH-
                                                                  ERS BY AN INSURED;
         to determine if the incurred charges are medi-
         cal expenses;                                        4. WHO IS OCCUPYING A VEHICLE WHILE IT
                                                                  IS BEING USED TO CARRY PERSONS FOR
     2. use a medical examination of the insured to               A CHARGE. This exclusion does not apply to:
         determine if:
                                                                  a. the use of a private passenger car on a
         a. the bodily injury was caused by a motor                    share-the-expense basis; or
              vehicle accident; and
                                                                  b. an insured while occupying a non-owned
         b. the expenses incurred are medical ex-                      car as a passenger;
              penses; and
                                                              5. WHILE MAINTAINING OR USING A
     3. enter into a contract with a third party that has         VEHICLE IN CONNECTION WITH THAT
         an agreement with the insured’s healthcare               INSURED’S EMPLOYMENT IN OR
         provider to charge fees as determined by that            ENGAGEMENT OF ANY KIND IN A CAR
         agreement.                                               BUSINESS. This exclusion does not apply to:
     Limit                                                        a. you; or
     The Medical Payments Coverage limit is shown on              b. any resident relative
     the Declarations Page under “Medical Payments
     Coverage – Limit – Each Person”.                             while maintaining or using your car, a newly ac-
                                                                  quired car, a temporary substitute car, or a trailer;
     SUBJECT TO IF OTHER MEDICAL PAY-
     MENTS COVERAGE OR SIMILAR VEHICLE                        6. WHILE THAT INSURED IS VALET PARK-
     INSURANCE APPLIES, THIS LIMIT IS THE                         ING A VEHICLE;
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     7.  WHILE MAINTAINING OR USING A NON-                        OR MORE OTHER VEHICLE POLICIES IS-
         OWNED CAR IN ANY BUSINESS OR OC-                         SUED TO YOU OR ANY RESIDENT RELA-
         CUPATION OTHER THAN A CAR BUSI-                          TIVE BY ONE OR MORE OF THE STATE
         NESS OR VALET PARKING. This exclusion                    FARM COMPANIES APPLY TO THE SAME
         does not apply to the maintenance or use of a            BODILY INJURY, THEN:
         private passenger car;                                   a. THE MEDICAL PAYMENTS COVER-
     8. WHO IS EITHER OCCUPYING OR STRUCK                              AGE LIMITS OF SUCH POLICIES
         AS A PEDESTRIAN BY ANY MOTOR VEHI-                            SHALL NOT BE ADDED TOGETHER
         CLE OR ANY TYPE OF TRAILER THAT IS                            (NOT STACKED) TO DETERMINE THE
         LOCATED FOR USE AS A DWELLING OR                              MOST THAT MAY BE PAID; AND
         OTHER PREMISES;                                          b. THE MOST WE WILL PAY IF AN IN-
     9. WHO IS STRUCK AS A PEDESTRIAN BY                               SURED SUSTAINS BODILY INJURY IN
         ANY MOTOR VEHICLE OR ANY TYPE OF                              AN ACCIDENT WHILE OCCUPYING:
         TRAILER THAT:                                                 (1) YOUR CAR, IS THE MEDICAL
         a. IS DESIGNED FOR USE PRIMARILY                                  PAYMENTS COVERAGE LIMIT
              OFF PUBLIC ROADS WHILE OFF                                   SHOWN ON THE DECLARATIONS
              PUBLIC ROADS; OR                                             PAGE OF THIS POLICY; OR
         b. RUNS ON RAILS OR CRAWLER-TREADS;                           (2) A CAR OTHER THAN YOUR CAR
     10. WHOSE BODILY INJURY RESULTS FROM                                  OR WHILE A PEDESTRIAN, IS
         WAR OF ANY KIND;                                                  THE MEDICAL PAYMENTS COV-
                                                                           ERAGE LIMIT WHICH YOU HAVE
     11. WHOSE BODILY INJURY RESULTS FROM:                                 ON ANY ONE CAR OR MOTOR
         a. NUCLEAR REACTION;                                              VEHICLE OWNED BY YOU. WE
         b. RADIATION OR RADIOACTIVE CON-                                  WILL MAKE PAYMENT FROM
              TAMINATION FROM ANY SOURCE; OR                               THE POLICY WHICH PROVIDES
                                                                           THE HIGHEST MEDICAL PAY-
         c. THE ACCIDENTAL OR INTENTIONAL                                  MENTS COVERAGE LIMITS.
              DETONATION OF, OR RELEASE OF
              RADIATION FROM, ANY NUCLEAR                    3.   The Medical Payments Coverage provided by
              OR RADIOACTIVE DEVICE;                              this policy applies as primary coverage for an
                                                                  insured who sustains bodily injury while oc-
     12. WHOSE BODILY INJURY RESULTS FROM                         cupying your car or a trailer attached to it.
         THE DISCHARGE OF A FIREARM;
     13. WHOSE BODILY INJURY RESULTS FROM                         IF MEDICAL PAYMENTS COVERAGE OR
         EXPOSURE TO FUNGI; OR                                    OTHER SIMILAR VEHICLE INSURANCE
                                                                  PROVIDED BY ONE OR MORE SOURCES
     14. WHO IS OCCUPYING A VEHICLE WHILE IT IS:                  OTHER THAN THE STATE FARM COM-
         a. BEING PREPARED FOR, USED IN                           PANIES ALSO APPLIES AS PRIMARY
              PRACTICE FOR, OR OPERATED IN                        COVERAGE, THEN WE WILL PAY THE
              ANY RACING CONTEST, SPEED                           PROPORTION OF MEDICAL EXPENSES
              CONTEST, HILL-CLIMBING CON-                         AND FUNERAL EXPENSES PAYABLE AS
              TEST, JUMPING CONTEST, OR ANY                       PRIMARY THAT OUR APPLICABLE LIMIT
              SIMILAR CONTEST; OR                                 BEARS TO THE SUM OF OUR APPLICA-
         b. ON A TRACK DESIGNED PRIMARILY                         BLE LIMIT AND THE LIMITS OF ALL
              FOR RACING OR HIGH SPEED DRIVING.                   OTHER MEDICAL PAYMENTS COVER-
                                                                  AGE OR SIMILAR VEHICLE INSURANCE
              This exclusion (14.b.) does not apply if the        THAT APPLY AS PRIMARY.
              vehicle is being used in connection with an
              activity other than racing, high speed driv-   4.   Except as provided in 3. above, the Medical
              ing, or any type of competitive driving.            Payments Coverage provided by this policy
                                                                  applies as excess coverage.
     If Other Medical Payments Coverage or Similar
     Vehicle Insurance Applies                                    IF MEDICAL PAYMENTS COVERAGE OR
                                                                  OTHER SIMILAR VEHICLE INSURANCE
     1. An insured shall not recover for the same                 PROVIDED BY ONE OR MORE SOURCES
         medical expenses or funeral expenses under               OTHER THAN THE STATE FARM COM-
         both this coverage and other medical payments            PANIES ALSO APPLIES AS EXCESS
         coverage or similar vehicle insurance.                   COVERAGE, THEN WE WILL PAY THE
     2. IF MEDICAL PAYMENTS COVERAGE                              PROPORTION OF MEDICAL EXPENSES
         PROVIDED BY THIS POLICY AND ONE                          AND FUNERAL EXPENSES PAYABLE AS
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        EXCESS THAT OUR APPLICABLE LIMIT                      1.   The insured;
        BEARS TO THE SUM OF OUR APPLICA-
        BLE LIMIT AND THE LIMITS OF ALL                       2.   The insured’s surviving spouse;
        OTHER MEDICAL PAYMENTS COVER-                         3.   A parent or guardian of the insured, if the in-
        AGE OR SIMILAR VEHICLE INSUR-                              sured is a minor or an incompetent person;
        ANCE THAT APPLY AS EXCESS
        COVERAGE.                                             4.   A person authorized by law to receive such
     Our Payment Options                                           payment; or
     We may, at our option, make payment to one or            5.   Any person or organization that provides the
     more of the following:                                        medical services or funeral services.


                               UNINSURED MOTOR VEHICLE COVERAGE
     This policy provides Uninsured Motor Vehicle             2.  the owner and driver of which remain unknown
     Coverage if “U” is shown under “SYMBOLS” on                  and which strikes:
     the Declarations Page.                                       a. the insured; or
     Additional Definitions                                       b. the vehicle the insured is occupying,
     Insured means:                                               and causes bodily injury to the insured; or
     1. you;                                                  3. an underinsured motor vehicle.
     2. resident relatives;                                   Uninsured Motor Vehicle that is not an underinsured
     3. any other person while occupying:                     motor vehicle does not include a land motor vehicle:
          a. your car;                                        1. whose ownership, maintenance, or use is pro-
                                                                  vided Liability Coverage by this policy;
          b. a newly acquired car; or
          c. a temporary substitute car.                      2. owned by, rented to, or furnished or available for
                                                                  the regular use of you or any resident relative;
          Such vehicle must be used within the scope of       3. owned by, rented to, or operated by a self-
          your consent. Such other person occupying a             insurer under any motor vehicle financial re-
          vehicle used to carry persons for a charge is           sponsibility law, any motor carrier law, or any
          not an insured; and                                     similar law;
     4. any person entitled to recover compensatory           4. owned by or rented to any government or any
          damages as a result of bodily injury to an in-          of its political subdivisions or agencies;
          sured as defined in 1., 2., or 3. above.            5. designed for use primarily off public roads
     Uninsured Motor Vehicle means a land motor ve-               except while on public roads; or
     hicle:                                                   6. while located for use as a dwelling or other
     1. the ownership, maintenance, and use of which              premises.
          is:                                                 Underinsured Motor Vehicle means a land motor
          a. not insured or bonded for bodily injury li-      vehicle:
               ability at the time of the accident; or        1. the ownership, maintenance, or use of which is
          b. insured or bonded for bodily injury liabil-          either:
               ity at the time of the accident; but               a. insured or bonded for bodily injury liabil-
               (1) the limits are less than required by the            ity at the time of the accident; or
                    Nevada Motor Vehicle Safety Respon-           b. self-insured under any motor vehicle financial
                    sibility Act; or                                   responsibility law, a motor carrier law, or any
               (2) the insuring company:                               similar law; and
                    (a) denies that its policy provides li-   2. for which the total limits of insurance or self-
                         ability coverage for compensatory        insurance for bodily injury liability from all
                         damages that result from the ac-         sources is less than the amount needed to com-
                         cident; or                               pensate the insured for the compensatory dam-
                                                                  ages the insured is legally entitled to collect
                    (b) is or becomes insolvent;                  from the owner or operator of the other vehicle.
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     Underinsured Motor Vehicle does not include a                        what is the amount of the compensa-
     land motor vehicle:                                                  tory damages that the insured is le-
     1. insured under Liability Coverage of this policy;                  gally entitled to recover from the
                                                                          owner or driver of the uninsured mo-
     2. owned by, rented to, or furnished or available for                tor vehicle?
          the regular use of you or any resident relative;      b. If there is no agreement on the answer to
     3. designed for use primarily off public roads                  either question in 1.a. above, then:
          except while on public roads;
                                                                     (1) if the amount in issue does not exceed
     4. while located for use as a dwelling or other                      $50,000, the insured shall submit the
          premises; or                                                    disagreement to nonbinding arbitration
     5. defined as an uninsured motor vehicle in 1.                       in accordance with the provisions of
          and 2. under “Uninsured Motor Vehicle                           NRS 38.250 through NRS 38.259; or
          means:”.                                                   (2) if the amount in issue exceeds
     Insuring Agreement                                                   $50,000 or if there is no agreement af-
                                                                          ter submission to nonbinding arbitra-
     We will pay compensatory damages for bodily in-                      tion, the insured shall:
     jury an insured is legally entitled to recover from
     the owner or driver of an uninsured motor vehicle.                   (a) file a lawsuit, in a state or federal
     The bodily injury must be:                                                court that has jurisdiction, against:
     1. sustained by an insured; and                                           (i) us;
     2. caused by an accident that involves the opera-                         (ii) the owner and driver of the
          tion, maintenance, or use of an uninsured mo-                              uninsured motor vehicle
          tor vehicle as a motor vehicle.                                            unless we have consented to
                                                                                     a settlement offer proposed
     Consent to Settlement                                                           by or on behalf of such
     The insured must inform us of a settlement offer, if                            owner or driver; and
     any, proposed by or on behalf of the owner or driver                      (iii) any other party or parties
     of the uninsured motor vehicle, and the insured                                 who may be legally liable for
     must request our written consent to accept such                                 the insured’s damages;
     settlement offer.
                                                                          (b) consent to a jury trial if requested
     If we:                                                                    by us;
     1. consent in writing, then the insured may accept                   (c) agree that we may contest the issues
          such settlement offer.                                               of liability and the amount of dam-
     2. inform the insured in writing that we do not                           ages; and
          consent, then the insured may not accept such                   (d) secure a judgment in that action.
          settlement offer and:                                                The judgment must be the final
          a. we will make payment to the insured in an                         result of an actual trial and any
               amount equal to such settlement offer.                          appeals, if any appeals are taken.
               This payment is considered a payment          2. We are not bound by any:
               made by or on behalf of the owner or
               driver of the uninsured motor vehicle; and       a. judgment obtained without our written
                                                                     consent; and
          b. any recovery from or on behalf of the
               owner or driver of the uninsured motor           b. default judgment against any person or
               vehicle shall first be used to repay us.              organization other than us.
     Deciding Fault and Amount                               3. Regardless of the amount of any award, includ-
                                                                ing any judgment or default judgment, we are
     1. a. The insured and we must agree to the answers         not obligated to pay any amount in excess of
               to the following two questions:                  the available limits under this coverage of this
               (1) Is the insured legally entitled to re-       policy.
                    cover compensatory damages from the      Limits
                    owner or driver of the uninsured mo-
                    tor vehicle?                             1. The Uninsured Motor Vehicle Coverage limits
                                                                are shown on the Declarations Page under “Un-
               (2) If the insured and we agree that the         insured Motor Vehicle Coverage – Bodily In-
                    answer to 1.a.(1) above is yes, then        jury Limits – Each Person, Each Accident”.
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        SUBJECT TO IF OTHER UNINSURED MO-                             a.  as expenses under Medical Payments Cov-
        TOR VEHICLE COVERAGE APPLIES,                                     erage of this policy, the medical payments
        THE LIMIT SHOWN UNDER “EACH PER-                                  coverage of any other policy, or other
        SON” IS THE MOST WE WILL PAY FROM                                 similar vehicle insurance.
        THIS POLICY FOR ALL DAMAGES RESULT-                           b. as benefits under any disability insurance
        ING FROM BODILY INJURY TO ANY ONE                                 including Loss of Earnings Coverage of
        INSURED INJURED IN ANY ONE ACCI-                                  this or any policy issued by the State Farm
        DENT, INCLUDING ALL DAMAGES SUS-                                  Companies.
        TAINED BY OTHER INSUREDS AS A
        RESULT OF THAT BODILY INJURY. THE                         Exclusions
        LIMIT SHOWN UNDER “EACH ACCIDENT”                         THERE IS NO COVERAGE:
        IS THE MOST WE WILL PAY FROM THIS
        POLICY, SUBJECT TO THE LIMIT FOR                          1. FOR AN INSURED WHO, WITHOUT OUR
        “EACH PERSON”, FOR ALL DAMAGES RE-                            WRITTEN CONSENT, SETTLES WITH ANY
        SULTING FROM BODILY INJURY TO TWO                             PERSON OR ORGANIZATION WHO MAY
        OR MORE INSUREDS INJURED IN THE                               BE LIABLE FOR THE BODILY INJURY;
        SAME ACCIDENT.                                            2. FOR AN INSURED WHO SUSTAINS BOD-
     2. THESE UNINSURED MOTOR VEHICLE COV-                            ILY INJURY WHILE OCCUPYING A CAR
        ERAGE LIMITS ARE THE MOST WE WILL                             OR MOTOR VEHICLE OWNED BY YOU
        PAY REGARDLESS OF THE NUMBER OF:                              OR ANY RESIDENT RELATIVE IF IT IS
                                                                      NOT YOUR CAR OR A NEWLY ACQUIRED
        a. POLICIES;                                                  CAR. TO THE EXTENT THE LIMITS OF
        b. INSUREDS;                                                  THIS COVERAGE EXCEED THE MINI-
        c. CLAIMS MADE;                                               MUM LIMITS REQUIRED BY LAW FOR
                                                                      BODILY INJURY LIABILITY COVERAGE.
        d. CARS OR MOTOR VEHICLES IN-                                 THE MINIMUM LIMITS REQUIRED BY
              SURED; OR                                               LAW FOR BODILY INJURY LIABILITY
        e. CARS OR MOTOR VEHICLES IN-                                 COVERAGE IN NEVADA IS $15,000 PER
              VOLVED IN THE ACCIDENT.                                 PERSON AND, SUBJECT TO THE PER
                                                                      PERSON LIMIT $30,000 PER ACCIDENT.
     3. Any amount payable under Uninsured Motor
        Vehicle Coverage will be reduced by amounts                   This exclusion does not apply to the first
        that:                                                         person shown as a named insured on the
                                                                      Declarations Page and that named insured’s
        a. have already been paid;                                    spouse who resides primarily with that
        b. could have been paid; or                                   named insured, while occupying a motor ve-
                                                                      hicle not owned by one or both of them;
        c. could be paid
                                                                  3. FOR AN INSURED WHOSE BODILY IN-
        to or for the insured under any workers’ compen-              JURY RESULTS FROM THE DISCHARGE
        sation law, disability benefits law, or similar law. If       OF A FIREARM;
        the insured is your employee, this does not apply
        to workers’ compensation insurance purchased by           4. TO THE EXTENT IT BENEFITS:
        you, or provided by you, if you are a self-insurer            a. ANY WORKERS’ COMPENSATION OR
        under any workers’ compensation law.                              DISABILITY BENEFITS INSURANCE
     Nonduplication                                                       COMPANY; OR
     We will not pay under Uninsured Motor Vehicle                    b. A SELF-INSURER UNDER ANY
     Coverage any damages:                                                WORKERS’ COMPENSATION LAW,
                                                                          DISABILITY BENEFITS LAW, OR
     1. that have already been paid to or for the in-                     SIMILAR LAW.
        sured:
                                                                      This exclusion does not apply to workers’
        a. by or on behalf of any person or organiza-                 compensation insurance purchased by you, or
              tion who is or may be held legally liable               provided by you, if you are self-insured under
              for the bodily injury to the insured; or                any workers’ compensation law, for an insured
        b. for bodily injury under Liability Coverage                 who is your employee;
              of any policy issued by the State Farm              5. TO THE EXTENT IT BENEFITS ANY GOV-
              Companies to you or any resident relative;              ERNMENT OR ANY OF ITS POLITICAL
     2. that have already been paid:                                  SUBDIVISIONS OR AGENCIES;

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     6.   FOR PUNITIVE OR EXEMPLARY DAM-                      IF UNINSURED MOTOR VEHICLE COV-
          AGES; OR                                            ERAGE PROVIDED BY ONE OR MORE
     7. FOR ANY ORDER OF RESTITUTION IS-                      SOURCES OTHER THAN THE STATE
          SUED BY A COURT IN A CRIMINAL PRO-                  FARM COMPANIES ALSO APPLIES AS
          CEEDING OR EQUITABLE ACTION.                        PRIMARY COVERAGE FOR THE SAME
                                                              ACCIDENT, THEN WE WILL PAY THE
     If Other Uninsured Motor Vehicle Coverage Applies        PROPORTION OF DAMAGES PAYABLE AS
     1. IF UNINSURED MOTOR VEHICLE COV-                       PRIMARY THAT OUR APPLICABLE LIMIT
          ERAGE PROVIDED BY THIS POLICY AND                   BEARS TO THE SUM OF OUR APPLICA-
          ONE OR MORE OTHER VEHICLE POLI-                     BLE LIMIT AND THE LIMITS OF ALL
          CIES ISSUED TO YOU OR ANY RESIDENT                  OTHER UNINSURED MOTOR VEHICLE
          RELATIVE BY ONE OR MORE OF THE                      COVERAGE THAT APPLY AS PRIMARY
          STATE FARM COMPANIES APPLY TO THE                   COVERAGE.
          SAME BODILY INJURY, THEN:
          a. THE UNINSURED MOTOR VEHICLE                   3. Except as provided in 2. above, the Uninsured
              COVERAGE LIMITS OF SUCH POLI-                   Motor Vehicle Coverage provided by this pol-
              CIES WILL NOT BE ADDED TO-                      icy applies as excess coverage.
              GETHER        (NOT      STACKED)       TO       IF UNINSURED MOTOR VEHICLE COV-
              DETERMINE THE MOST THAT MAY                     ERAGE PROVIDED BY ONE OR MORE
              BE PAID; AND                                    SOURCES OTHER THAN THE STATE
          b. THE MOST WE WILL PAY IF AN IN-                   FARM COMPANIES ALSO APPLIES AS
              SURED SUSTAINS BODILY INJURY IN                 EXCESS COVERAGE FOR THE SAME AC-
              AN ACCIDENT WHILE OCCUPYING:                    CIDENT, THEN WE WILL PAY THE PRO-
              (1) YOUR CAR, IS THE UNINSURED                  PORTION OF DAMAGES PAYABLE AS
                   MOTOR VEHICLE COVERAGE                     EXCESS THAT OUR APPLICABLE LIMIT
                   LIMITS SHOWN ON THE DECLA-                 BEARS TO THE SUM OF OUR APPLICA-
                   RATIONS PAGE OF THIS POLICY.               BLE LIMIT AND THE LIMITS OF ALL
              (2) A CAR OTHER THAN YOUR CAR                   OTHER UNINSURED MOTOR VEHICLE
                   OR WHILE A PEDESTRIAN, IS                  COVERAGE THAT APPLY AS EXCESS
                   THE HIGHEST UNINSURED MO-                  COVERAGE.
                   TOR VEHICLE COVERAGE LIM-
                   ITS WHICH YOU HAVE ON ANY               Our Payment Options
                   ONE CAR OR MOTOR VEHICLE                We may, at our option, make payment to one or
                   OWNED BY YOU. WE WILL                   more of the following:
                   MAKE PAYMENT FROM THE
                   POLICY WHICH PROVIDES THE               1. The insured;
                   HIGHEST UNINSURED MOTOR
                   VEHICLE COVERAGE LIMITS.                2.   The insured’s surviving spouse;
     2. The Uninsured Motor Vehicle Coverage pro-          3.   A parent or guardian of the insured, if the in-
          vided by this policy applies as primary cover-        sured is a minor or an incompetent person; or
          age for an insured who sustains bodily injury    4.   A person authorized by law to receive such
          while occupying your car.                             payment.

                                   PHYSICAL DAMAGE COVERAGES

     The physical damage coverages are Comprehensive       3. Emergency Road Service Coverage if “H”;
     Coverage, Collision Coverage, Emergency Road          4. Car Rental and Travel Expenses Coverage if “R1”
     Service Coverage, and Car Rental and Travel Ex-
     penses Coverage.                                      is shown under “SYMBOLS” on the Declarations Page.
     This policy provides:                                 If a deductible applies to Comprehensive Coverage,
                                                           then it is shown on the Declarations Page. The de-
     1. Comprehensive Coverage if “D”;                     ductible that applies to Collision Coverage is shown
     2. Collision Coverage if “G”;                         on the Declarations Page.
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     Additional Definitions                                         a.   an insured;
     Covered Vehicle means:                                         b.   any other person who resides primarily in
     1. your car;                                                        your household; or
     2. a newly acquired car;                                       c. an employer of any person described in a.
                                                                         or b. above; nor
     3. a temporary substitute car;
                                                                2. has been used by, rented by, or in the posses-
     4. a camper that is designed to be mounted on a                sion of an insured during any part of each of
           pickup truck and shown on the Declarations Page;         the 31 or more consecutive days immediately
     5. a non-owned car while it is:                                prior to the date of the loss.
           a. being driven by an insured; or                    Non-Owned Trailer means a trailer that is in the
                                                                lawful possession of an insured and that neither:
           b. in the custody of an insured if at the time
                of the loss it is:                              1. is owned by:
                (1) not being driven; or                            a. an insured;
                (2) being driven by a person other than an          b. any other person who resides primarily in
                     insured and being occupied by an in-                your household; or
                     sured; and                                     c. an employer of any person described in a.
     6. a non-owned trailer and a non-owned camper                       or b. above; nor
           while it is being used by an insured;                2. has been used by, rented by, or in the posses-
     including its parts and its equipment that are com-            sion of an insured during any part of each of
     mon to the use of the vehicle as a vehicle. How-               the 31 or more consecutive days immediately
     ever, parts and equipment of trailers and campers              prior to the date of the loss.
     must be securely fixed as a permanent part of the          Insuring Agreements
     trailer or camper.
                                                                1. Comprehensive Coverage
     Daily rental charge means the sum of:
                                                                    We will pay:
     1. the daily rental rate;                                      a. for loss, except loss caused by collision, to
     2. mileage charges; and                                             a covered vehicle; and
     3. related taxes.                                              b. transportation expenses incurred by an in-
     Insured means you and resident relatives.                           sured as a result of the total theft of your
                                                                         car or a newly acquired car. These trans-
     Loss means:                                                         portation expenses are payable:
     1. direct, sudden, and accidental damage to; or                     (1) during the period that:
     2. total or partial theft of                                             (a) starts on the date you report the
     a covered vehicle. Loss does not include any re-                             theft to us; and
     duction in the value of any covered vehicle after it                     (b) ends on the earliest of:
     has been repaired, as compared to its value before it
     was damaged.                                                                 (i) the date the vehicle is re-
                                                                                        turned to your possession in
     Loss Caused By Collision means a loss caused by:                                   a drivable condition;
     1. a covered vehicle hitting or being hit by an-                             (ii) the date we offer to pay you
           other vehicle or other object; or                                            for the loss if the vehicle has
     2. the overturning of a covered vehicle.                                           not yet been recovered; or
     Any loss caused by missiles, falling objects, wind-                          (iii) the date we offer to pay you
     storm, hail, fire, explosion, earthquake, water, flood,                            for the loss if the vehicle is
     total or partial theft, malicious mischief, vandalism,                             recovered, but is a total loss
     riot, civil commotion, or hitting or being hit by a bird                           as determined by us; and
     or an animal is not a Loss Caused By Collision.
                                                                         (2) during the period that:
     Non-Owned Camper means a camper designed to                              (a) starts on the date the vehicle is
     be mounted on a pickup truck that is in the lawful                           left at a repair facility if the stolen
     possession of an insured and that neither:                                   vehicle is recovered, returned to
     1. is owned by:                                                              your possession in a drivable
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                         condition, and has unrepaired                          (b) the date we offer to pay you for the
                         damage that resulted from the to-                            loss if the vehicle is repairable but
                         tal theft; and                                               you choose to delay repairs; or
                   (b) ends on the date the vehicle is re-                      (c) five days after we offer to pay
                         paired.                                                      you for the loss if the vehicle is:
              These transportation expenses must be re-                               (i) a total loss as determined by
              ported to us before we will pay such in-                                     us; or
              curred expenses.                                                        (ii) stolen and not recovered.
     2.   Collision Coverage                                               The amount of any such daily rental
          We will pay for loss caused by collision to a                    charge incurred by you must be reported
          covered vehicle.                                                 to us before we will pay such amount.
     3.   Emergency Road Service Coverage                              b. Travel Expenses
          We will pay the fair cost incurred by an insured for:            We will pay expenses for commercial trans-
          a. up to one hour of labor to repair a covered                   portation, lodging, and meals if your car or
              vehicle at the place of its breakdown;                       a newly acquired car is not drivable as a re-
                                                                           sult of a loss which would be payable under
          b. towing to the nearest repair facility where                   Comprehensive Coverage or Collision
              necessary repairs can be made if a covered                   Coverage. The loss must occur more than
              vehicle is not drivable;                                     50 miles from your home. We will only
          c. towing a covered vehicle out of a location                    pay these expenses if they are incurred by:
              where it is stuck if the vehicle is on or                    (1) an insured during the period that:
              immediately next to a public road;
                                                                                (a) starts after the loss occurs; and
          d. delivery of gas, oil, battery, or tire neces-
              sary to return a covered vehicle to driving                       (b) ends on the earlier of:
              condition. We do not pay the cost of the                                (i) the insured’s arrival at his or
              gas, oil, battery, or tire; and                                              her destination or home if the
          e. up to one hour of labor for locksmith ser-                                    vehicle is left behind for re-
              vices to unlock a covered vehicle if its key                                 pairs; or
              is lost, stolen, or locked inside the vehicle.                          (ii) the repair of the vehicle if the
     4.   Car Rental and Travel Expenses Coverage                                          insured waits for repairs be-
                                                                                           fore continuing on to his or
          a. Car Rental Expense                                                            her destination or returning
              We will pay the daily rental charge in-                                      home; and
              curred when you rent a car from a car                        (2) you, or any person you choose, to
              business while your car or a newly ac-                            travel to retrieve the vehicle and drive
              quired car is:                                                    it to either the original destination or
              (1) not drivable; or                                              your home if the vehicle was left be-
                                                                                hind for repairs.
              (2) being repaired
                                                                           These expenses must be reported to us be-
              as a result of a loss which would be pay-                    fore we will pay such incurred expenses.
              able under Comprehensive Coverage or
              Collision Coverage.                                      c. Rental Car – Repayment of Deductible
                                                                           Expense
              We will pay the daily rental charge in-
              curred during a period that:                                 We will pay the comprehensive deductible
                                                                           or collision deductible an insured is re-
              (1) starts on the date:                                      quired to pay the owner of a car rented
                   (a) the vehicle is not drivable as a re-                from a car business.
                         sult of the loss; or
                                                                  Supplementary Payments – Comprehensive
                   (b) the vehicle is left at a repair facil-     Coverage and Collision Coverage
                         ity if the vehicle is drivable; and
              (2) ends on the earliest of:                        If Symbol “D” is shown on the Declarations Page
                                                                  and the covered vehicle sustains loss for which we
                   (a) the date the vehicle has been re-          make a payment under Comprehensive Coverage,
                         paired or replaced;                      or if Symbol “G” is shown on the Declarations Page
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     and the covered vehicle sustains loss for which we                           (i) the prevailing competitive price;
     make a payment under Collision Coverage, then we                             (ii) the lower of paintless dent
     will pay reasonable expenses incurred to:                                          repair pricing established by
     1. tow the covered vehicle immediately after the loss:                             an agreement we have with a
          a. for a reasonable distance from the location of                             third party or the paintless
               the loss to any one repair facility chosen by                            dent repair price that is com-
               an insured or the owner of the covered vehi-                             petitive in the market; or
               cle, if the covered vehicle is not drivable; or                    (iii) a combination of (i) and (ii)
          b. to any one repair facility or commercial                                   above.
               storage facility, neither of which was cho-                        The prevailing competitive price
               sen by an insured or the owner of the cov-                         means prices charged by a ma-
               ered vehicle. We will also pay reasonable                          jority of the repair market in the
               expenses incurred to tow the covered vehi-                         area where the covered vehicle is
               cle for a reasonable distance from this facil-                     to be repaired as determined by a
               ity to any one repair facility chosen by an                        survey made by us. If asked, we
               insured or the owner of the covered vehicle,                       will identify some facilities that
               if the covered vehicle is not drivable.                            will perform the repairs at the
     2. store the covered vehicle, if it is not drivable                          prevailing competitive price. The
          immediately after the loss, at:                                         estimate will include parts suffi-
                                                                                  cient to restore the covered vehi-
          a. any one repair facility or commercial stor-                          cle to its pre-loss condition.
               age facility, neither of which was chosen                     You agree with us that the repair esti-
               by an insured or the owner of the covered                     mate may include new, used, recycled,
               vehicle; and                                                  and reconditioned parts. Any of these
          b. any one repair facility chosen by the owner                     parts may be either original equipment
               of the covered vehicle, and we determine                      manufacturer parts or non-original
               such vehicle is a total loss.                                 equipment manufacturer parts.
          If the owner of the covered vehicle consents,                      You also agree that replacement glass
          then we may move the covered vehicle at our                        need not have any insignia, logo,
          expense to reduce storage costs. If the owner                      trademark, etching, or other marking
          of the covered vehicle does not consent, then                      that was on the replaced glass.
          we will pay only the storage costs that would
          have resulted if we had moved the damaged                      (2) The cost to repair the covered vehicle
          covered vehicle; and                                               does not include any reduction in the
                                                                             value of the covered vehicle after it
     3. clean up debris from the covered vehicle at the                      has been repaired, as compared to its
          location of the loss. The most we will pay to
          clean up the debris is $250 for any one loss.                      value before it was damaged.
     Limits and Loss Settlement – Comprehensive                          (3) If the repair or replacement of a part
     Coverage and Collision Coverage                                         results in betterment of that part, then
     1. We have the right to choose to settle with you                       you or the owner of the covered vehi-
          or the owner of the covered vehicle in one of                      cle must pay for the amount of the
          the following ways:                                                betterment.
          a. Pay the cost to repair the covered vehicle                  (4) If you and we agree, then windshield
               minus any applicable deductible.                              glass will be repaired instead of replaced.
               (1) We have the right to choose one of the           b.   Pay the actual cash value of the covered
                     following to determine the cost to re-              vehicle minus any applicable deductible.
                     pair the covered vehicle:                           (1) The owner of the covered vehicle and
                     (a) The cost agreed to by both the                      we must agree upon the actual cash
                          owner of the covered vehicle and us;               value of the covered vehicle. If there is
                     (b) A bid or repair estimate approved                   disagreement as to the actual cash value
                          by us; or                                          of the covered vehicle, then the dis-
                                                                             agreement will be resolved by appraisal
                     (c) A repair estimate that is written                   upon written request of the owner or us,
                          based upon or adjusted to:                         using the following procedures:
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                  (a) The owner and we will each se-              a.    The limit shown under “Each Day” is the
                       lect a competent appraiser.                      most we will pay for the daily rental
                  (b) The two appraisers will select a                  charge. If:
                       third competent appraiser. If they               (1) a dollar amount is shown, then we will
                       are unable to agree on a third ap-                     pay the daily rental charge up to that
                       praiser within 30 days, then either                    dollar amount;
                       the owner or we may petition a                   (2) a percentage amount is shown, then
                       court that has jurisdiction to se-                     we will pay that percentage of the
                       lect the third appraiser.                              daily rental charge.
                  (c) Each party will pay the cost of its          b. Subject to the “Each Day” limit, the limit
                       own appraiser, attorneys, and ex-                shown under “Each Loss” is the most we
                       pert witnesses, as well as any other             will pay for Car Rental Expense incurred
                       expenses incurred by that party.                 as a result of any one loss.
                       Both parties will share equally the
                       cost of the third appraiser.           2. Travel Expenses
                  (d) The appraisers shall only deter-             The most we will pay for Travel Expenses in-
                       mine the actual cash value of the           curred by all insureds as a result of any one
                       covered vehicle. Appraisers shall           loss is $500.
                       have no authority to decide any        3. Rental Car – Repayment of Deductible Expense
                       other questions of fact, decide
                       any questions of law, or conduct            The most we will pay for Rental Car – Repay-
                       appraisal on a class-wide or class-         ment of Deductible Expense incurred as a re-
                       representative basis.                       sult of any one loss is $500.
                  (e) A written appraisal that is both        Nonduplication
                       agreed upon by and signed by any       We will not pay for any loss or expense under the
                       two appraisers, and that also con-     Physical Damage Coverages for which the insured
                       tains an explanation of how they       or owner of the covered vehicle has already received
                       arrived at their appraisal, will be    payment from, or on behalf of, a party who is legally
                       binding on the owner of the cov-       liable for the loss or expense.
                       ered vehicle and us.
                                                              Exclusions
                  (f) We do not waive any of our rights
                       by submitting to an appraisal.         THERE IS NO COVERAGE FOR:
              (2) The damaged covered vehicle must be         1. ANY COVERED VEHICLE THAT IS:
                  given to us in exchange for our pay-             a. INTENTIONALLY DAMAGED; OR
                  ment, unless we agree that the owner
                  may keep it. If the owner keeps the              b. STOLEN
                  covered vehicle, then our payment                BY OR AT THE DIRECTION OF AN INSURED;
                  will be reduced by the value of the         2. ANY COVERED VEHICLE WHILE IT IS
                  covered vehicle after the loss.                  RENTED TO OR LEASED TO OTHERS BY
        c. Return the stolen covered vehicle to its                AN INSURED;
              owner and pay, as described in 1.a. above,      3. ANY COVERED VEHICLE WHILE IT IS
              for any direct, sudden, and accidental               USED TO CARRY PERSONS FOR A
              damage that resulted from the theft.                 CHARGE. This exclusion does not apply to
     2. The most we will pay for transportation expenses           the use of a private passenger car on a share-
        under Comprehensive Coverage is $25 per day                the-expense basis;
        subject to an aggregate limit of $750 per loss.       4. ANY COVERED VEHICLE DUE TO:
     3. The most we will pay for loss to a non-owned               a. THEFT;
        trailer or a non-owned camper is $2,500.                   b. CONVERSION;
     Limits – Car Rental and Travel Expenses Coverage              c. EMBEZZLEMENT; OR
     1. Car Rental Expense                                         d. SECRETION
        The limit for Car Rental Expense is shown on               BY AN INSURED, A CONSIGNEE, AN
        the Declarations Page under “Limit – Car                   AGENT OF A CONSIGNEE, OR A PERSON
        Rental Expense – Each Day, Each Loss”.                     WHO OBTAINS POSSESSION OF THE
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         COVERED VEHICLE WITH THE PERMIS-                IS EMPLOYED IN OR ENGAGED IN
         SION OF A CONSIGNEE OR AGENT OF A               ANY WAY IN A CAR BUSINESS; OR
         CONSIGNEE;                                 b. USED IN ANY BUSINESS OR OCCUPA-
     5. LOSS TO YOUR CAR OR A NEWLY AC-                  TION OTHER THAN A CAR BUSINESS.
         QUIRED CAR IF AN INSURED VOLUN-                 This exclusion (12.b.) does not apply to a
         TARILY RELINQUISHES POSSESSION OF               private passenger car;
         THAT CAR TO A PERSON OR ORGANIZA-    13.   ANY PART OR EQUIPMENT OF A COVERED
         TION UNDER AN ACTUAL OR PRE-               VEHICLE IF THAT PART OR EQUIPMENT:
         SUMED SALES AGREEMENT;
                                                    a. FAILS OR IS DEFECTIVE; OR
     6. ANY COVERED VEHICLE TO THE EX-
         TENT OUR PAYMENT WOULD BENEFIT             b. IS DAMAGED AS A DIRECT RESULT OF:
         ANY CARRIER OR OTHER BAILEE FOR                 (1) WEAR AND TEAR;
         HIRE THAT IS LIABLE FOR LOSS TO
         SUCH COVERED VEHICLE;                           (2) FREEZING; OR
     7. LOSS TO ANY COVERED VEHICLE DUE                  (3) MECHANICAL, ELECTRICAL, OR
         TO FUNGI. THIS APPLIES REGARDLESS                     ELECTRONIC BREAKDOWN OR
         OF WHETHER OR NOT THE FUNGI RE-                       MALFUNCTION
         SULT FROM A LOSS THAT IS PAYABLE                OF THAT PART OR EQUIPMENT.
         UNDER ANY OF THE PHYSICAL DAM-
         AGE COVERAGES. WE WILL ALSO NOT            This exclusion does not apply if the loss is the
         PAY FOR ANY TESTING OR REMEDIATION         result of theft of the covered vehicle;
         OF FUNGI, OR ANY ADDITIONAL COSTS    14.   ANY PART OR EQUIPMENT:
         REQUIRED TO REPAIR ANY COVERED
         VEHICLE THAT ARE DUE TO THE EXIS-          a. THAT IS NOT LEGAL FOR USE IN OR
         TENCE OF FUNGI;                                 ON THE COVERED VEHICLE IN THE
                                                         JURISDICTION WHERE THE COV-
     8. LOSS TO ANY COVERED VEHICLE THAT                 ERED VEHICLE IS REGISTERED; OR
         RESULTS FROM:
                                                    b. THE USE OF WHICH IS NOT LEGAL IN
         a. NUCLEAR REACTION;                            THE JURISDICTION WHERE THE COV-
         b. RADIATION OR RADIOACTIVE CON-                ERED VEHICLE IS REGISTERED BE-
             TAMINATION FROM ANY SOURCE; OR              CAUSE OF HOW OR WHERE THAT
                                                         PART OR EQUIPMENT IS INSTALLED
         c. THE ACCIDENTAL OR INTENTIONAL                IN OR ON THE COVERED VEHICLE.
             DETONATION OF, OR RELEASE OF
             RADIATION FROM, ANY NUCLEAR            However, if there is a legal version of the part
             OR RADIOACTIVE DEVICE;                 or equipment that is necessary for the safe op-
                                                    eration of the covered vehicle, then we will pay
     9. LOSS TO ANY COVERED VEHICLE THAT            the cost that we would otherwise have paid to
         RESULTS FROM THE TAKING OF OR              repair the vehicle with the legal version of the
         SEIZURE OF THAT COVERED VEHICLE BY         part or equipment. We will not pay any cost
         ANY GOVERNMENTAL AUTHORITY;                necessary to modify the vehicle for installation
     10. LOSS TO ANY COVERED VEHICLE THAT           of the legal version of the part or equipment;
         RESULTS FROM WAR OF ANY KIND;        15.   TIRES. This exclusion does not apply if:
     11. YOUR CAR WHILE SUBJECT TO ANY:             a. loss is caused by missiles, falling objects,
         a. LIEN AGREEMENT;                              windstorm, hail, fire, explosion, earthquake,
                                                         water, flood, total or partial theft, malicious
         b. RENTAL AGREEMENT;                            mischief, vandalism, riot, civil commotion, or
         c. LEASE AGREEMENT; OR                          hitting or being hit by a bird or an animal; or
         d. SALES AGREEMENT                         b. loss caused by collision to another part of
                                                         the covered vehicle causes loss to tires;
         NOT SHOWN ON THE DECLARATIONS
         PAGE;                                16.   REMOVABLE PRODUCTS USED FOR
     12. ANY NON-OWNED CAR WHILE IT IS:             STORAGE OF AUDIO, VIDEO, OR OTHER
                                                    DATA, INCLUDING BUT NOT LIMITED
         a. BEING MAINTAINED OR USED BY             TO TAPES, DISCS, AND MEMORY
             ANY PERSON WHILE THAT PERSON           CARDS, NOR IS THERE COVERAGE FOR

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         THE RECONSTRUCTION OF DATA CON-                            sum of such amount and the limits of all other
         TAINED THEREIN;                                            similar coverage that applies as primary coverage.
     17. ANY EQUIPMENT USED TO DETECT OR                        4. Except as provided in 3. above, the physical
         INTERFERE WITH SPEED MEASURING                             damage coverages provided by this policy ap-
         DEVICES;                                                   ply as excess coverage.
     18. A CAMPER, INCLUDING ITS PARTS AND                          If similar coverage provided by one or more
         ITS EQUIPMENT, THAT IS:                                    sources other than the State Farm Companies
         a. DESIGNED TO BE MOUNTED ON A                             also applies as excess coverage for the same
              PICKUP TRUCK;                                         loss or expense, then the State Farm Compa-
         b. OWNED BY AN INSURED; AND                                nies will pay the proportion of the loss or ex-
                                                                    pense payable as excess that the maximum
         c. NOT SHOWN ON THE DECLARA-                               amount that may be paid by the State Farm
              TIONS PAGE; OR                                        Companies bears to the sum of such amount and
     19. ANY COVERED VEHICLE WHILE IT IS:                           the limits of all other similar coverage that ap-
         a. BEING PREPARED FOR, USED IN                             plies as excess coverage.
              PRACTICE FOR, OR OPERATED IN                      Financed Vehicle
              ANY RACING CONTEST, SPEED CON-
              TEST, HILL-CLIMBING CONTEST,                      1. If a creditor is shown on the Declarations Page,
              JUMPING CONTEST, OR ANY SIMILAR                       then any Comprehensive Coverage or Collision
              CONTEST; OR                                           Coverage provided by this policy applies to
         b. ON A TRACK DESIGNED PRIMARILY                           that creditor’s interest in your car. Coverage
              FOR RACING OR HIGH SPEED DRIVING.                     for the creditor’s interest is only provided for a
              This exclusion (19.b.) does not apply if the          loss that is payable to you.
              vehicle is being used in connection with an           However, if this policy is cancelled or nonre-
              activity other than racing, high speed driv-          newed, then we will provide coverage for the
              ing, or any type of competitive driving.              creditor’s interest until we notify the creditor of
     If Other Physical Damage Coverage or Similar                   the termination of such coverage. This coverage
     Coverage Applies                                               for the creditor’s interest is only provided for a
                                                                    loss that would have been payable to you if this
     1. If the same loss or expense is payable under more           policy had not been cancelled or nonrenewed.
         than one of the physical damage coverages pro-             The date such termination is effective will be at
         vided by this policy, then only the one coverage           least 10 days after the date we mail or electroni-
         that pays the most for that loss or expense applies.       cally transmit a notice of the termination to the
     2. If any of the physical damage coverages pro-                creditor. The mailing or electronic transmittal of
         vided by this policy and one or more other                 the notice will be sufficient proof of notice.
         policies issued to an insured by one or more of        2. If we pay such creditor, then we are entitled to
         the State Farm Companies apply to the same                 the creditor’s right of recovery against you to
         loss or expense, then only one policy applies.             the extent of our payment. Our right of recov-
         We will select a policy that pays the most for             ery does not impair the creditor’s right to re-
         the loss or expense.                                       cover the full amount of its claim.
     3. The physical damage coverages provided by               Our Payment Options
         this policy apply as primary coverage for a loss
         to your car.                                           1. Comprehensive Coverage and Collision
                                                                    Coverage
         If similar coverage provided by one or more
         sources other than the State Farm Companies                a. We may, at our option, make payment to
         also applies as primary coverage for the same loss              one or more of the following for loss to a
         or expense, then the State Farm Companies will                  covered vehicle owned by you:
         pay the proportion of the loss or expense payable               (1) You;
         as primary that the maximum amount that may be
         paid by the State Farm Companies bears to the                   (2) The repairer; or


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              (3) A creditor shown on the Declarations         2.   Emergency Road Service Coverage and Car
                  Page, to the extent of its interest.              Rental and Travel Expenses Coverage
         b.   We may, at our option, make payment to one            We may, at our option, make payment to one or
              or more of the following for loss to a covered        more of the following:
              vehicle not owned by you:
              (1) You;                                              a.   You;
              (2) The owner of such vehicle;                        b.   The insured who incurred the expense; or
              (3) The repairer; or                                  c.   Any party that provided the service for
              (4) A creditor, to the extent of its interest.             which payment is owed.

                  DEATH, DISMEMBERMENT AND LOSS OF SIGHT COVERAGE
                            AND LOSS OF EARNINGS COVERAGE
     DEATH, DISMEMBERMENT AND LOSS OF                          Death                                          $5,000
     SIGHT COVERAGE
                                                               Loss of both hands; both feet; all sight of    $5,000
     This policy provides Death, Dismemberment and             both eyes; one hand & one foot; or one
     Loss of Sight Coverage if “S” is shown under              hand or one foot & all sight of one eye
     “SYMBOLS” on the Declarations Page.
                                                               Loss of one hand or one foot; or all           $2,500
     Additional Definition                                     sight of one eye
     Insured means a person whose name is shown under          Loss of the thumb & a finger on one            $1,500
     “Death, Dismemberment and Loss of Sight Coverage          hand; or any three fingers
     – Persons Insured” on the Declarations Page.
                                                               Loss of any two fingers                        $1,000
     Insuring Agreement
     We will pay the highest applicable benefit shown in       The hand must be cut off through or above the wrist.
     the following Death, Dismemberment and Loss of            The foot must be cut off through or above the ankle.
     Sight Benefits Schedules if an insured:                   The whole thumb or finger must be cut off.
     1. dies; or                                               If the amount shown on the Declarations Page for the
                                                               insured is $10,000, then we will pay the applicable
     2. suffers dismemberment or permanent loss of             benefit shown below for death or for the described
          sight, as described in the schedule                  dismemberment or permanent loss of sight:
     as the direct result of an accident that involves the
     use of a land motor vehicle or any type of trailer as     Death                                         $10,000
     a vehicle and not due to any other cause.
                                                               Loss of both hands; both feet; all sight of   $10,000
     The insured must be occupying or be struck as a           both eyes; one hand & one foot; or one
     pedestrian by a land motor vehicle or any type of         hand or one foot & all sight of one eye
     trailer at the time of the accident. The death, dis-
     memberment, or permanent loss of sight must occur         Loss of one hand or one foot; or all           $5,000
     within 90 days after the date of the accident.            sight of one eye
     Benefit                                                   Loss of the thumb & a finger on one            $3,000
     The applicable benefit shown in the schedule is           hand; or any three fingers
     the most we will pay for any one insured in any
     one accident. Any benefit paid or payable for             Loss of any two fingers                        $2,000
     dismemberment or permanent loss of sight reduces
     the death benefit.                                        The hand must be cut off through or above the wrist.
                                                               The foot must be cut off through or above the ankle.
     DEATH, DISMEMBERMENT AND LOSS OF                          The whole thumb or finger must be cut off.
     SIGHT BENEFITS SCHEDULES
                                                               The benefits shown in the schedules are doubled for
     If the amount shown on the Declarations Page for the      an insured who at the time of the accident was oc-
     insured is $5,000, then we will pay the applicable        cupying a private passenger car and using a seat
     benefit shown below for death or for the described        belt in the manner recommended by the vehicle’s
     dismemberment or permanent loss of sight:                 manufacturer.
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     LOSS OF EARNINGS COVERAGE                                 1.   WHILE IN THE COURSE AND SCOPE OF
     This policy provides Loss of Earnings Coverage if “Z”          HIS OR HER EMPLOYMENT IN A CAR
     is shown under “SYMBOLS” on the Declarations                   BUSINESS;
     Page.                                                     2.   WHILE OCCUPYING, LOADING, OR
     Additional Definitions                                         UNLOADING:
     Insured means a person whose name is shown un-                 a. AN EMERGENCY VEHICLE IN THE
     der “Loss of Earnings Coverage – Persons Insured”                 COURSE AND SCOPE OF HIS OR HER
     on the Declarations Page.                                         EMPLOYMENT;
     Total Disability means the insured’s inability to              b. A VEHICLE, OTHER THAN AN
     work, either full or part time, in his or her occupa-             EMERGENCY VEHICLE, WHILE USED
     tion or any other similar occupation for which he or              IN THE:
     she is reasonably fitted by education, training, or               (1) INSURED’S BUSINESS; OR
     experience.                                                       (2) COURSE AND SCOPE OF HIS OR
     Weekly Earnings means 85% of all earnings for the                     HER EMPLOYMENT IN OTHER
     insured’s services before any deductions. When                        THAN A CAR BUSINESS.
     weekly earnings cannot be determined on a weekly                  This exclusion (2.b.) does not apply if the
     basis an average will be used. The average is 85%                 vehicle is a private passenger car;
     of the total earnings for the 52 weeks just prior to           c. A MILITARY VEHICLE; OR
     the accident divided by 52.
                                                                    d. A VEHICLE WHILE IT IS:
     Insuring Agreement
                                                                       (1) BEING PREPARED FOR, USED IN
     We will pay the insured his or her loss of weekly                     PRACTICE FOR, OR OPERATED IN
     earnings, which occur while the insured is living,                    ANY RACING CONTEST, SPEED
     due to continuous total disability that:                              CONTEST, HILL-CLIMBING CON-
                                                                           TEST, JUMPING CONTEST, OR
     1. is the direct result of bodily injury caused by                    ANY SIMILAR CONTEST; OR
          an accident that involves the use of a land mo-
          tor vehicle or any type of trailer as a vehicle              (2) ON A TRACK DESIGNED PRIMAR-
          and not due to any other cause. At the time of                   ILY FOR RACING OR HIGH SPEED
          the accident, the insured must be occupying or                   DRIVING. This exclusion (2.d.(2))
          be struck as a pedestrian by a land motor vehi-                  does not apply if the vehicle is being
          cle or any type of trailer; and                                  used in connection with an activity other
                                                                           than racing, high speed driving, or any
     2. starts within 20 days after the date of the acci-                  type of competitive driving;
          dent and lasts for a period of at least 30 con-
          secutive days. We will not pay for the first         3.   WHILE OCCUPYING, LOADING, UN-
          seven days of the 30 day period.                          LOADING, OR WHO IS STRUCK AS A PE-
                                                                    DESTRIAN BY:
     Limit
                                                                    a. A MOTOR VEHICLE THAT RUNS ON
     The most we will pay any one insured is:                          RAILS OR CRAWLER-TREADS;
     1. $250 for each full workweek of total disability; and        b. A MOTOR VEHICLE THAT IS DE-
     2. a pro rata portion of $250 for less than a full                SIGNED FOR USE PRIMARILY OFF
          workweek of total disability.                                PUBLIC ROADS WHILE OFF PUBLIC
                                                                       ROADS; OR
     Subject to the workweek limit, the most we will pay
     any one insured for all loss of weekly earnings due            c. A MOTOR VEHICLE OR ANY TYPE OF
     to any one accident is $15,000.                                   TRAILER, EITHER OF WHICH IS LO-
                                                                       CATED FOR USE AS A DWELLING OR
     We will pay once every two weeks the insured’s                    OTHER PREMISES; OR
     loss of weekly earnings owed.                             4.   FOR DEATH, DISMEMBERMENT, LOSS
     Exclusions – Death, Dismemberment and Loss of                  OF SIGHT, OR TOTAL DISABILITY THAT
     Sight Coverage and Loss of Earnings Coverage                   RESULTS FROM:
     DEATH, DISMEMBERMENT AND LOSS OF                               a. WAR OF ANY KIND;
     SIGHT COVERAGE AND LOSS OF EARNINGS                            b. NUCLEAR REACTION, RADIATION
     COVERAGE DO NOT APPLY TO AN INSURED:                              OR RADIOACTIVE CONTAMINATION
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               FROM ANY SOURCE, OR THE                          Our Payment Options – Death, Dismemberment
               ACCIDENTAL OR INTENTIONAL                        and Loss of Sight Coverage and Loss of Earn-
               DETONATION OF, OR RELEASE OF                     ings Coverage
               RADIATION FROM, ANY NUCLEAR
               OR RADIOACTIVE DEVICE;                           We may, at our option, make payment to one or
          c.   THE DISCHARGE OF A FIREARM;                      more of the following:
          d.   EXPOSURE TO FUNGI;                               1. The insured;
          e.   SUICIDE OR ATTEMPTED SUICIDE                     2. The insured’s surviving spouse;
               REGARDLESS OF WHETHER THE IN-                    3. A parent or guardian of the insured, if the in-
               SURED WAS SANE OR INSANE; OR                         sured is a minor or an incompetent person; or
          f.   DISEASE except pus-forming infection due         4. A person or organization authorized by law to
               to bodily injury sustained in the accident.          receive such payment.

                                                 INSURED’S DUTIES
     1.   Notice to Us of an Accident or Loss                   4.   Questioning Under Oath
          The insured must give us or one of our agents              Under:
          notice of the accident or loss as soon as rea-             a. Liability Coverage, each insured;
          sonably possible. The notice must give us:
          a. your name;                                              b. Medical Payments Coverage, Uninsured
                                                                          Motor Vehicle Coverage, Death, Dismem-
          b. the names and addresses of all persons in-                   berment and Loss of Sight Coverage, or
               volved in the accident or loss;                            Loss of Earnings Coverage, each insured,
          c. the hour, date, place, and facts of the acci-                or any other person or organization mak-
               dent or loss; and                                          ing claim or seeking payment; and
          d. the names and addresses of witnesses to                 c. Physical Damage Coverages, each insured
               the accident or loss.                                      or owner of a covered vehicle, or any other
                                                                          person or organization making claim or
     2.   Notice to Us of a Claim or Lawsuit                              seeking payment;
          a. If a claim is made against an insured, then             must, at our option, submit to an examination
               that insured must immediately send us                 under oath, provide a statement under oath, or
               every demand, notice, and claim received.             do both, as reasonably often as we require.
          b. If a lawsuit is filed against an insured, then          Such person or organization must answer ques-
               that insured must immediately send us every           tions under oath, asked by anyone we name,
               summons and legal process received.                   and sign copies of the answers. We may re-
                                                                     quire each person or organization answering
     3.   Insured’s Duty to Cooperate With Us                        questions under oath to answer the questions
          a. The insured must cooperate with us and,                 with only that person’s or organization’s legal
               when asked, assist us in:                             representative, our representatives, any person
                                                                     or persons designated by us to record the ques-
               (1) making settlements;                               tions and answers, and no other person present.
               (2) securing and giving evidence; and            5.   Other Duties Under the Physical Damage
               (3) attending, and getting witnesses to at-           Coverages
                     tend, depositions, hearings, and trials.        When there is a loss, you or the owner of the
          b. The insured must not, except at his or her              covered vehicle must:
               own cost, voluntarily:                                a. protect the covered vehicle from additional
               (1) make any payment to others; or                         damage. We will pay any reasonable ex-
               (2) assume any obligation to others                        pense incurred to do so that is reported to
                                                                          us;
               unless authorized by the terms of this policy.
          c. Any person or organization making claim                 b. make a prompt report to the police when
               under this policy must, when we require,                   the loss is the result of theft;
               give us proof of loss on forms we furnish.            c. allow us to:
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              (1) inspect any damaged property before                       (a) medical bills;
                   its repair or disposal;                                  (b) medical records;
              (2) test any part or equipment before that                    (c) wage, salary, and employment in-
                   part or equipment is removed or re-                           formation; and
                   paired; and
                                                                            (d) any other information we deem
              (3) move the covered vehicle at our ex-                            necessary to substantiate the claim.
                   pense in order to conduct such inspec-
                   tion or testing;                                         If an injured insured is a minor, un-
          d. provide us all:                                                able to act, or dead, then his or her le-
                                                                            gal representative must provide us
              (1) records;                                                  with the written authorization.
              (2) receipts; and                                             If the holder of the information re-
              (3) invoices                                                  fuses to provide it to us despite the au-
              that we request and allow us to make copies;                  thorization, then at our request the
              and                                                           person making claim or his or her le-
          e. not abandon the covered vehicle to us.                         gal representative must obtain the in-
                                                                            formation and promptly provide it to
     6.   Other Duties Under Medical Payments Cov-                          us; and
          erage, Uninsured Motor Vehicle Coverage,
          Death, Dismemberment and Loss of Sight                        (4) allow us to inspect the vehicle that the
          Coverage, and Loss of Earnings Coverage                           insured occupied in the accident;
          A person making claim under:                             b.   Uninsured Motor Vehicle Coverage must:
          a. Medical Payments Coverage, Uninsured                       (1) report an accident, involving a motor
              Motor Vehicle Coverage, Death, Dismem-                        vehicle whose owner and driver re-
              berment and Loss of Sight Coverage, or                        main unknown, to the police within 24
              Loss of Earnings Coverage must:                               hours and to us within 30 days;
              (1) notify us of the claim and give us all                (2) send us immediately a copy of all:
                   the details about the death, injury,                     (a) lawsuit papers if the insured files
                   treatment, and other information that                         a lawsuit against the party liable
                   we may need as soon as reasonably                             for the accident; and
                   possible after the injured insured is
                   first examined or treated for the in-                    (b) submissions to nonbinding arbi-
                   jury. If the insured is unable to give                        tration or any other form of alter-
                   us notice, then any other person may                          nate dispute resolution.
                   give us the required notice;                    c.   Loss of Earnings Coverage must:
              (2) be examined as reasonably often as we                 (1) make a claim under this policy;
                   may require by physicians chosen and
                   paid by us. A copy of the report will be             (2) report to us when that person has a to-
                   sent to the person upon written request;                 tal disability; and
              (3) provide written authorization for us to               (3) provide proof of continued total dis-
                   obtain:                                                  ability when we ask for it.

                                                GENERAL TERMS
     1.   When Coverage Applies                                    12:01 AM Standard Time at the address shown
                                                                   on the Declarations Page.
          The coverages provided by this policy are
          shown on the Declarations Page and apply to         2.   Where Coverage Applies
          accidents and losses that occur during the policy        The coverages provided by this policy are
          period. The policy period is shown on the Dec-           shown on the Declarations Page and apply to
          larations Page and is for successive periods of          accidents and losses that occur:
          six months each for which the renewal premium            a. in the United States of America and its terri-
          is paid. The policy period begins and ends at                 tories and possessions;
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          b.   in Canada; and                                               revised policy booklet, a revised Dec-
          c.   while a vehicle for which coverage is                        larations Page, or an endorsement.
               provided by this policy is being shipped            b. Change of Interest
               between the ports of the United States of              (1) No change of interest in this policy is
               America, its territories, its possessions,                   effective unless we consent in writing.
               and Canada.
                                                                      (2) Except under Death, Dismemberment
     3.   Newly Owned or Newly Leased Car                                   and Loss of Sight Coverage and Loss of
          If you want to insure a car newly owned by you                    Earnings Coverage, if a named insured
          with the State Farm Companies after that car                      dies, then the definition of insured un-
          ceases to be a newly acquired car, then you must                  der each of the coverages provided by
          either:                                                           this policy is changed to include:
          a. request we replace the car currently shown                     (a) any person with lawful custody of
               on the Declarations Page of this policy with                      your car, a newly acquired car, or
               the car newly owned by you and pay us any                         a temporary substitute car until a
               added amount due. If you make such request                        legal representative is qualified;
               while this policy is in force and:                                and then
               (1) before the car newly owned by you                        (b) the legal representative of the de-
                    ceases to be a newly acquired car,                           ceased named insured.
                    then that car newly owned by you will                   This only applies while such person is
                    be insured by this policy as your car                   maintaining or using your car, a
                    beginning on the date the car newly                     newly acquired car, or a temporary
                    owned by you is delivered to you. The                   substitute car.
                    added amount due will be calculated                     Policy notice requirements are met by
                    based on that date; or                                  mailing the notice to the most recent
               (2) after the car newly owned by you                         policy address that we have on record
                    ceases to be a newly acquired car,                      for the deceased named insured.
                    then that car newly owned by you will          c. Joint and Individual Interests
                    be insured by this policy as your car             If “you” consists of more than one person
                    beginning on the date and time you                or entity, then each acts for all to change or
                    make the request. The added amount                cancel the policy.
                    due will be calculated based on that
                    date; or                                       d. Change of Policy Address
          b. apply to the State Farm Companies for a                  We may change the named insured’s policy
               separate policy to insure the car newly                address as shown on the Declarations Page
               owned by you. Such policy will be issued               and in our records to the most recent ad-
               only if both the applicant and the vehicle             dress provided to us by:
               are eligible for coverage at the time of the           (1) you; or
               application.
                                                                      (2) the United States Postal Service.
     4.   Changes to This Policy
                                                              5.   Premium
          a. Changes in Policy Provisions
                                                                   a. Unless as otherwise provided by an alter-
               We may only change the provisions of this              native payment plan in effect with the
               policy by:                                             State Farm Companies with respect to the
               (1) issuing a revised policy booklet, a re-            premium for this policy, the premium is
                    vised Declarations Page, or an en-                due and payable in full on or before the
                    dorsement; or                                     first day of the policy period shown on the
                                                                      most recently issued Declarations Page or
               (2) revising this policy to give broader               Renewal Notice.
                    coverage without an additional pre-
                    mium charge. If any coverage pro-              b. The renewal premium for this policy will
                    vided by this policy is changed to give           be based upon the rates in effect, the cov-
                    broader coverage, then we will give               erages carried, the applicable limits, de-
                    you the broader coverage as of the                ductibles, and other elements that affect
                    date we make the change effective in              the premium that apply at the time of re-
                    the state of Nevada without issuing a             newal.
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          c.   The premium for this policy may vary           8.   Cancellation
               based upon the purchase of other insurance          a. How You May Cancel
               from the State Farm Companies.
          d. The premium for this policy is based upon                  You may cancel this policy by providing to
                                                                        us advance notice of the date cancellation
               information we have received from you or                 is effective. We may confirm the cancella-
               other sources. You must inform us if any
               information regarding the following is in-               tion in writing.
               correct or incomplete, or changes during            b. How and When We May Cancel
               the policy period, and you must answer                   We may cancel this policy by mailing or
               questions we ask regarding the following:                delivering a written notice to the most re-
               (1) Your car, or its use, including annual               cent policy address we have on record for
                    mileage;                                            the named insured. The notice will pro-
                                                                        vide the date cancellation is effective.
               (2) The persons who regularly drive your
                    car, including newly licensed family                (1) If we mail or deliver a cancellation notice:
                    members;                                                  (a) during the first 69 days following
               (3) Your marital status; or                                         this policy’s effective date; or
               (4) The location where your car is pri-                        (b) because the premium is not paid
                    marily garaged.                                                when due,
               If the above information or any other infor-                   then the date cancellation is effective
                                                                              will be at least 10 days after the date we
               mation used to determine the premium is in-                    mail or deliver the cancellation notice.
               correct, incomplete, changes during the
               policy period, or is not provided to us when                   Otherwise, the date cancellation is ef-
               we ask, then we may decrease or increase the                   fective will be at least 30 days after
                                                                              the date we mail or deliver the cancel-
               premium during the policy period. If we de-                    lation notice.
               crease the premium during the policy period,
               then we will provide a refund or a credit in             (2) After this policy has been in force for
               the amount of the decrease. If we increase                     more than 69 days, we will not cancel
                                                                              this policy before the end of the cur-
               the premium during the policy period, then                     rent policy period unless:
               you must pay the amount of the increase.
                                                                              (a) the premium is not paid when due; or
     6.   Renewal
                                                                              (b) we discover:
          We agree to renew this policy for the next pol-
          icy period upon payment of the renewal pre-                              (i) an act or omission; or
          mium when due, unless we mail or deliver a                               (ii) a violation of any condition of
          nonrenewal notice or a cancellation notice as                                 this policy,
          set forth in 7. and 8. below.                                            which occurred after the effective
     7.   Nonrenewal                                                               date of the policy and substantially
                                                                                   and materially increases the hazard
          If we decide not to renew this policy, then we                           insured against.
          will mail or deliver a nonrenewal notice to the          c. Return of Unearned Premium
          most recent policy address we have on record
          for the named insured, at least:                              If you cancel this policy, then premium
                                                                        may be earned on a short rate basis. If we
          a. 30 days before the end of the current policy               cancel this policy, then premium will be
               period if your car:                                      earned on a pro rata basis.
               (1) is not a commercial vehicle; and                     Any unearned premium may be returned
               (2) is not used in business; or                          within a reasonable time after cancellation.
                                                                        Delay in the return of any unearned pre-
          b. 60 days before the end of the current pol-                 mium does not affect the cancellation date.
               icy period if your car:
                                                              9.   Assignment
               (1) is a commercial vehicle; or
                                                                   No assignment of benefits or other transfer of
               (2) is used in business.                            rights is binding upon us unless approved by us.

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     10. Bankruptcy or Insolvency of the Insured                       (2) reimburse us to the extent of our
         Bankruptcy or insolvency of the insured or his                     payment.
         or her estate will not relieve us of our obliga-      13. Legal Action Against Us
         tions under this policy.
                                                                   Legal action may not be brought against, nor
     11. Concealment or Fraud                                      may arbitration be demanded of, us until there
         There is neither Liability Coverage above the             has been full compliance with all the provi-
         minimum limits required by NRS 485.3091 nor               sions of this policy. In addition, legal action
         any other coverage under this policy if you or            may only be brought against, or arbitration may
         any other person insured under this policy has            be demanded of, us regarding:
         made false statements with the intent to conceal
                                                                   a. Liability Coverage after the amount of
         or misrepresent any material fact or circum-                  damages an insured is legally liable to pay
         stance in connection with any claim under this
         policy. The person making such false statements               has been finally determined by:
         agrees to repay us for any payment we made.                    (1) judgment after an actual trial, and any
     12. Our Right to Recover Our Payments                                  appeals of that judgment if any ap-
                                                                            peals are taken; or
         Payments made from Medical Payments Cov-
         erage, Uninsured Motor Vehicle Coverage if                     (2) agreement between the claimant and
         the accident arose out of the operation, mainte-                   us with or without the use of nonbind-
         nance, or use of an underinsured motor vehi-                       ing arbitration as required by NRS
         cle, Death, Dismemberment and Loss of Sight                        38.250.
         Coverage and Loss of Earnings Coverage are                b.   Medical Payments Coverage if the legal
         not recoverable by us. Under all other cover-                  action relating to this coverage is brought
         ages the following apply:                                      against, or the arbitration relating to this
         a. Subrogation                                                 coverage is demanded of, us within six
                                                                        years immediately following the date of
              If we are obligated under this policy to                  the accident.
              make payment to or for a person or or-
              ganization who has a legal right to collect          c.   Uninsured Motor Vehicle Coverage if the in-
              from another person or organization, then                 sured or that insured’s legal representative:
              we will be subrogated to that right to the                (1) presents either an Uninsured Motor
              extent of our payment.                                         Vehicle Coverage claim to us; and
              The person or organization to or for whom we              (2) files a lawsuit or demands nonbinding
              make payment must help us recover our                         arbitration in accordance with the De-
              payments by:                                                  ciding Fault and Amount provision
              (1) doing nothing to impair that legal right;                 of the involved coverage.
              (2) executing any documents we may                        Except as provided in c.(2) above, no other
                  need to assert that legal right; and                  legal action may be brought against, nor
              (3) taking legal action through our represen-             any arbitration be demanded of, us relating
                  tatives when we ask.                                  to Uninsured Motor Vehicle Coverage for
                                                                        any other causes of action that arise out of
         b. Reimbursement                                               or are related to these coverages until there
              If we make payment under this policy and the              has been full compliance with the provi-
              person or organization to or for whom we                  sions titled Consent to Settlement and
              make payment recovers or has recovered from               Deciding Fault and Amount.
              another person or organization, then that per-       d.   Physical Damage Coverages if the legal
              son or organization to or for whom we make                action relating to these coverages is
              payment must:                                             brought against, or the arbitration relating
                                                                        to these coverages is demanded of, us
              (1) hold in trust for us the proceeds of any              within six years immediately following the
                   recovery; and                                        date of the accident or loss.

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     14. Choice of Law                                                 (2) Participating Policy provision found
         Without regard to choice of law rules, the law                    on the most recently issued Declara-
         of the State of:                                                  tions Page, if this policy was issued by
                                                                           any subsidiary or affiliate of the State
         a. Nevada will control, except as provided in                     Farm Mutual Automobile Insurance
              item b. below, in the event of any disagree-                 Company.
              ment as to the interpretation and application
              of any provision in this policy; and            15. Severability
         b. Illinois will control in the event of any dis-        If any provision of this policy is held invalid or
              agreement as to the interpretation and ap-          unenforceable by a court that has jurisdiction,
              plication of this policy’s:                         then:
              (1) Mutual Conditions provision found on            a. such provision will remain in full force to the
                   the most recently issued Declarations               extent not held invalid or unenforceable; and
                   Page, if this policy was issued by the
                   State Farm Mutual Automobile Insur-            b. all other provisions of this policy will re-
                   ance Company; or                                    main valid and enforceable.




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